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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

BOARD OF TRUSTEES OF THE IUOE LOCAL )
4 PENSION FUND, et al.,             )
                                    )
                 Plaintiffs,        )
                                    ) Civil Action No. 1:21-cv-10163-FDS
           v.                       )
                                    )
GINA ALONGI,                        )
                                    )
                 Defendant.         )

                        APPENDIX IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT




                                         Respectfully submitted,

Date: November 7, 2022                   s/ Jennifer L. Markowski
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Introduction

This handbook is prepared solely for the information and guidance of our employees. It
describes some basic operating practices, benefits and personnel policies at IUOE Local 4 Fringe
Benefit Funds Office (the Funds), and is intended to answer many employee questions.

This handbook may be used as a guide, but is not intended as a contract of employment.
Employment with the Funds is at-will and as such is terminable by the employee or the Funds at
any time and for any reason.

The Funds reserve the right to unilaterally change or rescind any of the provisions in this
handbook, with or without notice.

Employees with questions or concerns regarding policy and procedures should consult with Gina
M. Alongi, Administrator, or Laura-Jean Hickey, Assistant Administrator.

Service to Participants and Beneficiaries

Satisfied participants and their families are what we strive for. Employee actions and attitudes
have an immediate and lasting impact upon the membership. As an employee of the Funds, all
actions are a direct reflection of the office. Each employee has the responsibility to provide
courteous service and act in a manner consistent with ethical business practices.

Employee Responsibilities and Funds Office Rules

In order to maintain a fair and productive working environment, the Funds have established rules
of conduct which are consistent with the practices mature people expect from each other. They
are based on the consideration of rights, privileges and responsibilities of all individuals and are
designed to protect the Funds from careless and abusive conduct.

To ensure the general welfare of all employees and to maintain a harmonious atmosphere, we
have developed a set of guidelines that will be followed. These guidelines are subject to change
at any time. Violation of any of these guidelines may result in disciplinary steps up to and
including discharge:

1.   Excessive absenteeism;

2.   Habitual tardiness;

3.   Unsatisfactory work performance;

4.   Use, possession, sale/distribution or being under the influence of an illegal substance while
     on company premises or while otherwise engaged in Funds business;

5.   Insubordination;

6.   Falsification of records, dishonesty or fraud;


                                                                                              App.062
                                                                                     IUOE4 FED 5023
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7.        Negligent or unauthorized use of the Funds’ property;

8.        Disrespectful behavior or physical or verbal abuse of Funds employees, Union Hall
          employees, participants and beneficiaries, and/or their dependents, or visitors;

9.        Erratic behavior on the job;

10. Disclosure of confidential information to unauthorized person(s) and/or failure to abide by
    HIPAA and/or Massachusetts Data Regulation guidelines; and

11. Violation of the Funds’ rules or policies.

Note:        This list is not intended to be all-inclusive.

Weekly Timesheet

All employees (exempt or non-exempt) that work under the jurisdiction of more than one (1)
Fund must complete a weekly timesheet (located in the Funds Public Drive > TimeSheet) to be
turned in every Friday by 4 p.m. Timesheets are used to break down employees’ hours, (all
hours, including overtime), spent on particular Funds. Employees with questions or concerns
regarding this policy and procedure should consult with the Accounting Department.

Sexual Harassment

It is a goal of the Funds to promote a workplace that is free of sexual harassment. Sexual
harassment of employees occurring in the workplace or in other settings in which employees
may find themselves in connection with their employment is unlawful and will not be tolerated
by the organization. Further, any retaliation against an individual who has complained about
sexual harassment or retaliation against individuals for cooperating with an investigation of a
sexual harassment complaint is similarly unlawful and also will not be tolerated. To achieve our
goal of providing a workplace free from sexual harassment, the conduct that is described in this
policy will not be tolerated and we have provided a procedure by which inappropriate conduct
will be dealt with, if encountered by employees.

Because the Funds take allegations of sexual harassment seriously, we will respond promptly to
complaints of sexual harassment. If and when it is determined that such inappropriate conduct
has occurred, we will act promptly to eliminate the conduct and impose such corrective action as
is necessary, including disciplinary action where appropriate.

Please note that while this       policy sets forth the Funds’ goals of promoting a workplace that is
free of sexual harassment,        this policy is not designed or intended to limit our authority to
discipline or take remedial        action for workplace conduct which we deem unacceptable,
regardless of whether that        conduct meets the definition of sexual harassment.

     I.    Definition of Sexual Harassment

          In the Commonwealth of Massachusetts, the legal definition of sexual harassment is:
          “Sexual harassment” means sexual advances, requests for sexual favors, and verbal or
          physical conduct of a sexual nature when:
                                                                                                  App.063
                                                       4
                                                                                         IUOE pheoss
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            a)   submission to or rejection of such advances, requests or conduct is made either
                 explicitly or implicitly a term or condition of employment or as a basis for
                 employment decisions; or

            b)   such advances, requests of conducts have the purpose or effect of unreasonably
                 interfering with an individual's work performance by creating an intimidating,
                 hostile, humiliating or sexually offensive work environment.

Under these definitions, direct or implied request by a supervisor for sexual favors in exchange
for actual or promised job benefits such as favorable reviews, salary increases, promotions,
increased benefits, or continued employment also constitutes sexual harassment.

The legal definition of sexual harassment is broad. In addition to the examples outlined above,
other sexually oriented conduct (intended or not) is unwelcome and or has the effect of creating a
workplace environment that is hostile, offensive, intimidating, or humiliating to male or female
workers may also constitute sexual harassment.

While it is not possible to list all those additional circumstances that may constitute sexual
harassment, the following are some examples of conduct which if unwelcome, may constitute
sexual harassment depending upon the totality of the circumstances including the severity of the
conduct and its persuasiveness:

       e    Unwelcome sexual advances—whether they involve physical touching or not;
       e    Sexual epithets, jokes, written or oral references to sexual conduct, gossip regarding
            one’s sex life, comment on an individual’s body, comment about an individual’s sexual
            activity, deficiencies or prowess;
       e    Displaying sexually suggestive objects, pictures, cartoons, emails;
       e    Unwelcome leering, whistling, brushing against the body, sexual gestures, suggestive or
            insulting comments;
       e    Inquiries into one’s sexual experiences; or,
       e    Discussion of one’s sexual activities.

All employees should take special note that, as stated above, retaliation against an individual
who has complained about sexual harassment, and retaliation against individuals for cooperating
with an investigation or a sexual harassment complaint is unlawful and will not be tolerated by
this organization.

 II.       Complaints of Sexual Harassment

If any of the Funds’ employees believes that he or she has been subjected to sexual harassment,
the employee has the right to file a complaint with the IUOE Local 4 Fringe Benefit Funds
Office. This may be done in writing or orally.

If an employee would like to file a complaint, they may do so by either notifying Gina M.
Alongi, Administrator: Local 4 Funds Office, (508) 533-1400 x111 or by contacting Ms. Kathryn
S. Shea, Esq, 33 Harrison Ave, 7% Floor, Boston, MA 02111. Attorney Shea will also be
available to discuss any concerns an employee may have and provide information about the
Funds’ policy on sexual harassment as well as the complaint process.

                                                                                                   App.064
                                                                                        IUOE4 FED 5025
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III.   Sexual Harassment Investigation

If and when the Funds Office receives a complaint, it will promptly investigate the allegation in a
fair and expeditious manner. The investigation will be conducted in such a way as to maintain
confidentiality to the extent practicable under the circumstances. The investigation will include a
private interview with the person filing the complaint as well as with any witnesses. The Funds
will also interview the person alleged to have committed the act(s) of sexual harassment. When
the investigation is completed, the Funds will, to the extent appropriate, inform the person filing
the complaint and the person alleged to have committed the conduct, of the results of the
investigation.

If it is determined that inappropriate conduct has occurred, the Funds will act promptly to
eliminate the offending conduct, and where it is appropriate, will also impose disciplinary action.

IV.    Disciplinary Action

If it is determined that inappropriate conduct has been committed by one of the Funds
employees, the office will take such action as is appropriate under the circumstances. Such
action may range from counseling to termination of employment, but not limited to other forms
of disciplinary action as deemed appropriate under the circumstances.

 V.    State and Federal Remedies

In addition to the above, if an employee believes they have been subjected to sexual harassment,
they may file a formal complaint with either or both of the government agencies set forth below.
Using the Funds’ complaint process does not prohibit an employee from filing a complaint with
these agencies. Each of the agencies has a short time period for filing a claim:

            1)   The United States Equal Employment Opportunity Commission (EEOC)
                 Period in which to report claim: 300 days in most cases (subject to change;
                 please check applicable laws)

                 John F. Kennedy Federal Building
                 475 Government Center
                 Boston, MA 02203
                 Phone: (800) 669-4000
                 Fax: (617) 565-3196
                 WWW.CC0C.Z0V


            2)   The Massachusetts Commission Against Discrimination (MCAD)
                 Period in which to report claim: 300 days (subject to change; please check
                 applicable laws)

                 Boston Office:                       Worcester Office:
                 One Ashburton Place                  Worcester City Hall
                 6™ FI, Rm 601                        484 Main St, Rm 320
                 Boston, MA   02108                   Worcester, MA   01608
                 Ph: (617) 994-6000                   Ph: (508) 453-9630



                                                                                              App.065
                                                                                   IUOE4 FED 5026
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                 Springfield Office:                     New Bedford Office:
                 436 Dwight St                           800 Purchase St, Rm 501
                 2" F], Rm 220                           New Bedford, MA 02740
                 Springfield, MA 01103                   Ph: (508) 990-2390
                 Ph: (413) 739-2145

More information is available at: www.mass.gov/mcad

Note: This policy applies to all employees.

Equal Employment Opportunity

 The Funds Office is an Equal Opportunity employer and it is our policy:

1.   To recruit, hire, train and promote persons in all job classifications without regard to race,
     color, religion, age, sex, gender identity, national origin, ancestry, military or veteran status,
     sexual orientation, pregnancy, parental or maternity status, genetics, or disability;

2.   To base decisions on employment so as to further the principles of equal employment
     opportunities;

3.   To ensure that promotion decisions are in accord with the principles of equal employment
     opportunities;

4.   To ensure that all personnel actions, such as compensation, benefits, transfers, terminations,
     layoffs and returns, sponsored training, educational tuition assistance, social and recreational
     programs are administered without regard to race, color, religion, age, sex, gender identity,
     national origin, ancestry, military or veteran status, sexual orientation, pregnancy, parental or
     maternity status, genetics, or disability; and

5.   To ensure that all of our employees are aware of this policy.

It is a goal of the Funds to promote a workplace that is free of discrimination. Discrimination in
the workplace or in other settings in which employees may find themselves in connection with
their employment is unlawful and will not be tolerated by the organization. Further, any
retaliation against an individual who has complained about discrimination or retaliation against
individuals for cooperating with an investigation of a discrimination complaint is similarly
unlawful and also will not be tolerated. To achieve our goal of providing a workplace free from
discrimination, we have provided a procedure by which inappropriate conduct will be dealt with,
if encountered by employees. If any of the Funds’ employees believes that he or she has been
subjected to discrimination, the employee has the right to file a complaint with the [UOE Local 4
Fringe Benefit Funds Office. This may be done in writing or orally. If an employee would like
to file a complaint, they may do so by either notifying Gina M. Alongi, Administrator: Local 4
Funds Office, (508) 533-1400 x111 or by contacting Ms. Kathryn S. Shea, Esq, 33 Harrison Ave,
7% Floor, Boston, MA 02111. Attorney Shea will also be available to discuss any concerns an
employee may have and provide information about the Funds’ policy on discrimination as well
as the complaint process.



                                                                                                 App.066
                                                                                        IUOE4 FED 5027
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Safety

It is important that employees observe all office and common sense rules that apply to safety, for
themselves, as well as for others.   Accidents, unsafe conditions and injuries should be reported
immediately to Laura-Jean Hickey, Assistant Administrator or Greg Geiman, Associate
Administrator/In-House Counsel.

Attendance & Punctuality

As an employee of the Funds Office, all are expected to:

         (a) Report to work regularly and on time;
             Schedule personal commitments around the workday.

         (b) Notify the appropriate person(s) if unable to report to work, will be late or need to
             leave early, as soon as reasonably possible. Reporting to a co-worker is not
             acceptable; and

         (c) In the event that an employee is tardy, missed time must always be made up (see
             “Working Hours / Lunch / Break Periods”).

Excessive absence or tardiness will result in disciplinary action.

Personal Appearance

In general, all employees must present a neat and professional appearance. During business
hours or when representing the Funds, you are expected to present a neat, tasteful appearance
according to the requirements of your position and accepted social standards. The minimum
standard for dress at the Funds is Business Casual.     Casual business wear means clean, neat and
pressed professional clothing. Shirt, dress and skirt length should be at a length at which you can
sit comfortably in public, and mini-skirts, beach dresses, or any comparable clothing would be
inappropriate for the office.

Fridays have been designated as dressed-down days when the dress code can be relaxed. Attire
on Fridays can include jeans providing they are neat, clean and not tattered. Employees will not
take advantage of the casual dress designation by wearing unprofessional clothing, i.e.
sweatpants, graphic t-shirts & sweatshirts, yoga apparel, lounge wear, etc.

Please note that even though summer clothing can be more informal due to warm temperatures,
employees must maintain a professional look. Dress sandals are acceptable providing they are
not open backs or flip flops.

Working Hours / Lunch / Break Periods

The regular working hours of the Funds Office are 8:00 a.m. — 4:00 p.m. The work week is
Monday through Friday and normally consists of 37.5 hours. In the course of doing what fits
into an employee’s job description, overtime work may be necessary and must be pre-approved
by his/her Manager. In addition, all employees are authorized a lunch period during the normal
workday.
                                                                                              App.067
                                                   8
                                                                                      IUOE4 FED 5028
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All employees are expected to take only the amount of time set aside for such purposes unless
arrangements have been made in advance with their respective Manager. In all cases, scheduling
should be done so that there is always adequate coverage.

Morning and afternoon breaks are encouraged and should be done so in a manner not to distract
the office. During a typical workday, each employee is limited to a one-hour lunch period
(assuming a 30-minute lunch and two 15-minute breaks). Most employees choose to combine
the lunch and breaks to take a one hour lunch.

Employees that are absent from the office during the normal work hours of 8:00 a.m. to 4:00
p.m. (excepting normal break times) may be allowed to “make up” the missed time only by the
end of the pay period during which the work was missed. Such time may be made up by
working during normal break times and/or before or after normal work hours in pay period the
time was missed. Such an allowance is to be supervised by the employee’s Manager.

However, it is office policy that such absences must be (1) inconsistent and irregular and (2) less
than one-half of a normal work day. Any absences that exceed one-half of a normal work day
must be taken by the employee as personal, sick, or vacation time.

Further, employees may be allowed to work through their allotted break time and leave the office
at 3:00 p.m. Such an allowance is at the discretion of, and to be supervised by, the employee’s
Manager, and it is office policy that such an allowance must be irregular.

Enter Policy - All employees will be given a key fob programmed for access to the Funds Office
back door between 7:30 a.m. and 4:00 p.m. If an employee needs to enter the building outside
these times they must get their Manager’s approval and the fob will be temporarily
modified. Managers will be issued a unique alarm code and will have full access to the building.

Exit Policy - If an employee needs to stay in the building after 4:00 p.m. there must be a
Manager in the office. Managers must be sure all employees have exited the building upon
departure.

Privacy and Security Policy

The Funds is committed to safeguarding participants’ privacy by providing protection against
unauthorized access or use of confidential information.

The Funds maintain administrative, physical and technical safeguards that comply with the
Health Insurance Portability and Accountability Act (HIPAA) and the Massachusetts Data
Regulations, 201 CMR 17, to protect participants’ confidential information against unauthorized
access.

As an employee of the Funds you are required to follow a code of ethics and adhere to our
internal policies to protect the confidentially of participant information. The Funds will
maintain, and will continue to provide training on, prudent privacy and security standards and
procedures to protect confidential information. Failure to abide by the Funds’ internal policies
can sometimes result in termination. Standards and consequences are detailed in the HIPAA
Compliance Sanction Policy which are available in Onbase under “Employee Information.”


                                                                                            App.068
                                                                                    IUOE4 FED 5029
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Pay Period

All employees are paid each Tuesday. The Funds Office is required by law to make payroll
deductions for Federal and State Income Tax as well as Social Security Tax. Each employee
may also authorize other deductions such as Savings or 401(k). See the Accounting Department
for details.

Overtime Pay

Overtime pay will be paid to non-exempt employees at the rate of one and one half times the
regular rate of pay for all hours worked in excess of 7.5 hours per day. Overtime pay is paid for
periods of hours worked which are documented and approved by each Manager.

Prior authorization is required for all overtime pay.

Comp    Time

Exempt employees are not eligible for comp time unless they receive prior authorization from
the Administrator or Associate/Assistant Administrators. Such authorizations will normally be
limited to special projects.

Non-exempt employees are not eligible for comp time. Make up time must be discussed and
pre-approved with an employee’s Manager (see Working Hours Lunch/Break Periods).

Direct Deposit

Direct Deposit is available for our employees’ convenience.     See the Accounting Manager for
forms and details.

Inclement Weather

When the winter season arrives we must be prepared for weather that may impact our ability to
conduct business or affect personal safety. The office will remain open during bad weather days.

Due to severe weather, we may need to close before the end of the business day or declare
closure prior to the start of work. There also may be times when bad weather or road conditions
influence employees’ decisions not to come to work when the office is open.

Employees should call the Funds Office Snow Emergency Line at 508-533-1400 x101 after 6:30
a.m. for a report. During bad weather employees should not leave early until they have checked
the snow emergency message. The message will be changed between 6:00 a.m. and 6:30 a.m.

Whenever weather or road conditions impact your personal safety, we urge you to use your own
best judgment in making the decision to travel to the office or leave work before closing time.

Everyone’s circumstances are different, and family issues as well as commuting distances and
local road conditions are all variables.

   e    If you do not come into the office on an inclement weather day (and office is declared
        “open”) you will have to take a personal day or vacation day.
                                                                                                 App.069
                                                  10
                                                                                     IUOE4 FED 5030
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     e    Employees who make the commitment to come in during inclement weather may be entitled
          to additional personal time off at the Administrator or Associate/Assistant Administrator’s
          discretion.

     e    If you do not show up or you are on vacation during any office closure you will not be
          entitled to additional personal time to the extent it was given and you will be charged
          accordingly with the use of vacation or personal time.

In all circumstances, employees must inform their Manager when they are unable to come to
work or need to leave early.

There will be no public announcements on radio or television in regard to this matter.

Sick/Vacation/Personal Time

Sick Time — Hourly (Non-Exempt Employees)
All hourly employees will earn, at a rate of two (2) days at the beginning of each quarter, a total
of eight (8) sick days annually. Unused sick days will be bought back annually for non-exempt
(hourly) employees. If an employee is out of work for three (3) or more days, a Doctor’s note
may be required for payment of wages.

Unused sick time cannot be carried into the next calendar year. Sick days are not vacation days and
should only be used when needed, i.e., when you (or your child, spouse, parent or spouse’s parent) are
ill or injured or have a routine medical appointment; or to deal with domestic violence involving
yourself or your children. Excessive absences or patterns of absence could be grounds for disciplinary
action.

Sick Time — Salary

Salaried employees accumulate sick days at the rate of two (2) days per quarter, which will
accumulate towards a sick time bank. Salaried employees will not be reimbursed annually and
can only accumulate hours up to the 26 weeks available under the Loss of Time benefit.

Loss of Time

If an employee is unable to work because of a non-work related disabling illness or injury, she or
he may receive weekly accident and sickness benefits. Weekly accident and sickness benefits
provide employees with a continuing source of income while disabled. Short-term sick days
must be used first, followed by a 7-day waiting period for Loss of Time benefits to begin. (No
waiting period is required if illness is due to an accidental injury).

Benefits, if approved, will be provided at a rate of $500.00 (gross pay) per week for up to 26
weeks. During this time, eligibility for health benefits will also continue.

Vacation Policy

1.   Employee is hired prior to July 1:          One (1) week that year
2.   Employee is hired after July 1:             No vacation that year
3.   After first full year:                      Two (2) weeks
                                                    11                                             App.070
                                                                                       IUOE4 FED     5031
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4.   After five full years:                   Three (3) weeks
5.   Sixth through tenth year:                One (1) additional day per year
         After six years:                     16 days
         After seven years:                   17 days
         After eight years:                   18 days
         After nine years:                    19 days
         After ten years:                     Four (4) weeks (maximum vacation time allowable)

A maximum of five (5) unused vacation days may be carried over into the next calendar year.
Unused vacation days, (in excess of five), will be bought back annually.

In order to allow for adequate coverage, employees are encouraged to request vacation/personal
time off no less than two weeks in advance of the planned time off. It is up to each department
Manager to coordinate coverage with his/her employees.

Personal Days

Each employee earns one (1) personal day for every six months of employment (January through
June and July through December). A maximum of five (5) personal days may be accumulated.
Unused personal days, (in excess of five), will be bought back annually.

Holidays

        The following are paid holidays:

                January                       New Year’s Day
                February                      President’s Day
                April                         Patriot’s Day
                May                           Memorial Day
                July                          4th of July
                September                     Labor Day
                October                       Columbus Day
                November                      Veteran’s Day
                November                      Thanksgiving
                December                      Christmas

Tuition Reimbursement

Our tuition reimbursement program provides financial assistance to employees who wish to
further their education in regard to their job function with the Funds Office.

To be eligible for reimbursement, certain conditions must be met. Courses must be taken at an
accredited educational institution; an employee must have prior approval from the Administrator;
the courses elected must be directly related to their job; and a grade of “B” or better must be
received. If the course or exam is “pass or fail,” then a “pass” grade is required for
reimbursement. Reimbursable expenses include tuition, exam fees, and books and will not
exceed $1,000.00 in a calendar year.

Employees should take the responsibility to ascertain the tax status of all reimbursed money by
contacting their own financial advisors.
                                                                                             App.071
                                                 12
                                                                                    IUOE4 FED 5032
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Educational Training and Seminars

From time to time the Funds Office will provide training and resources to teach new skills which
is designed to strengthen employee performance. Some training will be held in-house, while a
number of seminars may be conducted at other sites within the Commonwealth. When
appropriate opportunities are offered or discussed, we encourage each employee to participate in
them. Attendance at such seminars must be directly related to an employee’s job function.

Electronic Communications Policy

The Funds Office infrastructure (“Infrastructure”) consists of network servers, desktop and
laptop computers, smart phone devices, Internet access, e-mail, voicemail. The Infrastructure is
the property of the Funds and access is given to employees to facilitate and enhance business
communications, job performance and productivity.

Limited personal use of the Funds’ electronic resources is     permissible, so long as it is in fact
reasonably limited in terms of time, cost, and is not for an   unlawful or inappropriate purpose.
The Funds Office would like to rely on the good judgment        and good citizenship of its employees
to manage usage but reserves the right to track any and all     electronic usage and will implement
measures that encourage or enforce good citizenship.
Limited personal use of the Funds’ Infrastructure is permissible for:
    e    Research, reading and limited personal e-mail as long as it is in fact reasonably limited in
         terms of time, and takes place on personal time.
    e    Under no circumstances are employees allowed to use the Funds’ resources for an
         unlawful or inappropriate purpose, for individual personal financial gain or for any
         purpose which interferes with, harms or puts at risk the Benefit Funds, their employees
         and beneficiaries, [IUOE Local 4, or contributing employers.
Use of the Infrastructure is not permissible for:
    e    Using, sending or posting confidential information or protected health information (PHI)
         for non-business use.
    e    Accessing systems not authorized to access.
    e    Unauthorized use, installation, copying or distribution of copyrighted, trademarked or
         patented materials or software.
    e    Sharing, sending or obtaining pornographic, sexually explicit, profane, harassing,
         discriminatory, or disparaging materials.
    e    Harassing, making fun of, or showing disrespect to fellow employees, participants,
         beneficiaries, contributing employers, or IUOE Local 4.
    e    Using another person's e-mail or network account without his or her express permission,
         or misrepresenting the identity of the sender of any message, (e.g., sending mail under
         someone else's e-mail account without permission of that person).
    e    Electronic forgery.
    e    Downloading music onto employees’ smartphone, iPod or other portable music devices.
    e    Playing or downloading music from internet sites, (e.g., Pandora).
                                                    13                                        App.072
                                                                                      IUOE4 FED 5033
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The Funds reserve the right to access and review any information that is stored in any fashion on
the Funds’ Infrastructure. The Funds also reserve the right to screen, intercept and delete stored
materials and will take any and all appropriate disciplinary action. The Funds reserve the right to
monitor incoming and outgoing telephone usage. To ensure quality member service, the Funds
have the right to record employee phone conversations, with an announcement to the caller and
receiver of the recording. Social Networking sites are prohibited in the office.

The Funds track and store information on employee usage of Internet utilization and provide
these reports to Funds management.

The policies and procedures can be located in Onbase under “Employee Information.”

Bereavement

In the event of the death of an immediate family member, each employee will be allowed three
(3) days off with pay, up to and including the day of the funeral. A member of the immediate
family is a spouse, spousal equivalent, child, mother, father, sister, brother or parent-in-law.

Each employee will be entitled to one (1) day off with pay to attend the funeral of a daughter-in-
law or son-in-law, grandchild, grandparent, or other legal relative.

Individual consideration is given in the case of a death of another not listed above.    If time is
allowed, it will generally be to attend services and then return to work.

Leave of Absence

On February 5, 1993, the Family and Medical Leave Act of 1993 (FMLA) was signed into law.
In general, the law requires employers with 50 or more employees to offer up to 12 weeks of
unpaid leave, during any 12-month period, to eligible employees for the birth or adoption of a
child, to care for a sick family member or for the employee’s own illness.

Although the Funds is not required to comply with the provisions of FMLA there will be, on
occasion, circumstances which will necessitate extended absences from work.

An employee must apply for a leave of absence in writing, with final approval determined by
Gina M. Alongi, Administrator. Leaves of Absence must be for a specified period of time and
will be without pay. The continuation of employee benefits is determined by the type and
duration of the approved leave.

If an employee fails to return to work on the date indicated on the approved leave request, and
arrangements have not been made to extend the leave, the employee will be considered to have
voluntarily terminated their own employment.

Upon an employee’s return from a leave of absence, the Funds Office is committed to making a
reasonable effort to re-establish the employee’s original job or a position of similar status and
pay, as business conditions permit.



                                                                                                App.073
                                                                                        IUOE4 FED 5034
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Maternity/Adoption Leave

Every full-time non-probationary employee is entitled to eight (8) weeks of unpaid
maternity/paternity leave for the purpose of the birth of a child or the adoption of a child under
18 years of age (or under 23 years of age if the child is mentally or physically disabled). While
on maternity or paternity leave, the employee will be eligible for Loss of Time Benefits.

The employee is expected to give two (2) weeks notice to the Funds of their expected departure
and a notice of an approximate date of return to their position.

The Funds will provide reasonable accommodations on request for employees who are pregnant
or nursing.

Jury Duty

Jury Duty is a civil obligation of all citizens. If an employee is required to serve   as a juror, the
Funds will pay the first three (3) days of jury duty at the employee’s normal pay.       If the case lasts
longer than three (3) days, then upon receipt of a jury slip or court summons, The       Funds will pay
the difference between the base rate of pay and the fees received from the courts.       An employee
must notify their Manager in advance of their absence.

Complaints

In all organizations there is the possibility that misunderstandings occur. This may result in an
employee feeling she or he has been treated unfairly. If an employee feels this has happened or
is happening, there is a need to alert someone. The Funds recognize the need for a definite
procedure for all employees to follow in order to facilitate the proper and timely handling of
complaints. This is not to be confused with an effort to change or establish company policy or
procedure.

All complaints and suggestions should be directed to Laura-Jean Hickey, Assistant
Administrator.

Smokin

The Massachusetts Smoke-Free Workplace Law mandates that enclosed workplaces with one or
more employees must be smoke-free. The intent of the law is to protect workers from
secondhand smoke. Although it would appear that neither the state nor the town mandate that
smokers stand a specific distance away from the building, the purpose of the state law is to avoid
having smoke migrate back into the workplace. To ensure compliance with the law and to be
respectfulto co-workers, it is Funds policy that anyone who chooses to smoke must exit the back
of the building and go across the parking lot to stand near the Training Center fence.

Performance Reviews

The Administrator or Associate/Assistant Administrators will review employees’ performance
informally on a continuing basis. In addition, at least once per calendar year, a formal review
will be conducted. Performance reviews are conducted to assess an employee’s progress and
commitment to their role(s) within the Funds Office. Reviews are, but not limited to, a critical
                                                  15                                             App.074
                                                                                       IUOE4 FED 5035
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tool to set goals for the upcoming year, to recognize positive efforts and to communicate any and
all professional struggles or accomplishments. Ultimately, reviews affect salary, promotions,
transfers and disciplinary considerations. Each employee will receive a Performance Review
Summary which will be reviewed with their respective Manager. The summary will be
discussed, agreed or disagreed upon, and finally, signed by both parties. In the event of a
disagreement with any part of the review, a second review will be done within five business
days. This Funds Office procedure allows for both parties to gather additional and necessary
detailed information regarding the dispute. The Performance Review becomes part of the
employee’s permanent personnel file.

Employment Records

The Funds Office believes in the right to privacy and assures each employee of that right, (inside
or outside the office), unless circumstances warrant otherwise. Each employee has the right to
review and make copies of their personnel file during normal business hours, upon written
request to Gina M. Alongi, Administrator.

Reference Policy

Any and all professional reference requests must be directed to Gina M. Alongi, Administrator.
Under no circumstances may another employee of the Funds Office act as an agent of the
organization and provide a professional reference for a current or former employee.

Bulletin Boards

Bulletin boards are a means of informing employees of information regarding changes and/or
general information. The bulletin board is located in the open area outside the Administrator’s
Office for employee convenience.

Benefits

As an employee of the Funds, each employee and their families are eligible to receive the same
benefits provided to the membership of Local 4. These benefits are designed to protect
employees and provide for their family’s financial security through a broad range of unexpected
events and extraordinary expenses.

Health & Welfare Plan Benefits

Effective January 1, 1999, coverage begins the first day of the month following the
commencement of employment. Effective January 1, 2014, continued eligibility for a newly
hired Office Employee of the Funds under the Basic Benefits Plan is contingent upon the Office
Employee working 150 or more credited hours in a calendar month, until such time as the Office
Employee has worked 1,800 hours or more in a calendar year. Once the newly-hired Office
Employee has worked the required 1,800 or more hours in a calendar year, the Office Employee
will be eligible for benefits under the Basic Eligibility Rule for the 12-month period beginning
the following March 1 through February 28 (or February 29 during a leap year). Further
continued eligibility after termination of employment will be based on the Health and Welfare
Fund's eligibility rules and in accordance with the applicable provisions of the Plan Document.
Please refer to the Summary Plan Description (SPD) for details of the Plan of Benefits.
                                                                                           App.075
                                                16
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Pension Plan Benefits

The Funds Office provides two Pension Plans in order to provide employees with the greatest
possible income during their eventual retirement years. Participation in these Plans is effective
with date of hire and is non-contributory.

IUOE Local 4 Pension Plan (Defined Benefit Plan) — The Funds contributes monthly
contributions on each employee’s behalf, which entitles them to a pension benefit upon vesting.
The number of years of service entitles employees to pension credit, which is multiplied bya
determined accrual rate. Upon vesting, benefits are paid at the Normal Retirement age of 62,
Early Retirement age of 52, or a Disability retirement at any age.

General Pension Plan — The second source of retirement income is from the General Pension
Plan. The Funds makes a contribution in an amount equal to 17.5% (2015) of an employee’s
salary (contributions are capped at $100,000.00).

Under both of these Plans, employees are fully vested after 5 years of continuous employment
with the Funds Office and will be eligible for Pension benefits at a regular, early or disability
retirement. Please refer to the Summary Plan Description (SPD) for details of the Plan of
Benefits.

Annuity and Savings Plan Benefits

The Annuity and Savings Plan is designed to supplement the aforementioned Pension Fund.             The
Funds Office contributes to each employee’s account for every hour worked. The Plan is
participant directed.

Participation in the 401(k) Plan is voluntary and contributions are made on a pre-tax basis. Each
employee is eligible to participate after one Hour of Service. Investments in the 401(k) are a
mirror image of investments in the Annuity Plan. Please refer to the Summary Plan
Description (SPD) for more details on the Plans outlined above.

Funds Office Management

For pointed questions or concerns regarding any of the above policies or procedures, employees
should contact one of the following Managers:

 Gina M. Alongi       Administrator                               x111    galongi@locald4funds.org
 Greg Geiman          Associate Administrator/In-House Counsel    x140    ggeiman@local4funds.org
 Laura-Jean Hickey    Assistant Administrator                     x116    Thickey@local4funds.or
 Rebecca Zaccardi     Accounting Manager                          x120    rzaccardi@local4funds.org
 Jennifer Dow         Eligibility Coordinator                     x126    jdow@locald4funds.org




                                                 17                                         App.076
                                                                                    IUOE4 FED 5037
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                         Exhibit 7




                                                              App.077
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           U.S. Department of Labor                   Employee Benefits Security Administration
                                                    J.F. Kennedy Faderal Building, Room 575                          ET
                                                   Boeton, MA 02203                                              i   EA)
                                                   Phane:                                                    ¢        £12
                                                                    (617) 565-9600                            N = y./
                                                   Telefax: (817) 565-6666
                                                                                                                 Ria


                SEP 16 a
         IUQE Local 4 Health & Welfare Plan
         177 Bedford Street
                                                                                                       EXHIBIT            95
         Lexington, MA       02420
         Att:      Mr. William Ryan, Trustee           ~~
                  Mr.   Join, C. Panaro, Trasiee
                                                                                                         ALONGI
                                                          _-                                           06/22/2022      BG
                  Mr.   Rodney A. Gillespie, Trustee
                                                                                                        Aaa             _—
                  Mr.   Bruce Wood, Trustee
                  Mr.   John J. Shavghnessy, Ir., Trustee
                  Mr. Peter White, Trustee
                  Ms, Gina M. Alongt, Fund Administrator

        RE:                              TUQE Local 4 Health & Welfare Plan
        EBSA Case Number:                31.026923(49)
                                                 ns     FR.
      . Dear Plan Fidusiaries: h
                                                 EC           TIE    a
pn—




        Ihaverreo       your siv
                              letters ed
                                       dated September 26, 2003, November 7, 2003, Nevember.25, 2003,
MN


        Décembeér 16, 2003 and March 8, 2004 conc        ernithe ng
                                                                  TUOELocal 4
       that were in response to my letter dated August 28, 2003. T understand Health and Welfare Fund
                                                                                 that you have
       held numerous teleconforences with Senior Investigator Muench
                                                                          in order to settle the issues
       raised by the Department.

      As I pointed out in my previous letter, the Department of Labor
                                                                      has responsibility for the
       enforcement of Title I of the Employee Retirement Income Security Act
                                                                               of 1974 (ERISA). Title
       I establishes standards governing the operation of caploy
                                                                  ee benefit plans such as the IUQE
       Local 4 Heulth and Welfare Fund (the “H          & W Plan™).

       As I noted, Senior Investigator Muench has concluded her
                                                                     investigation of the Plan and of your
       activities as its Plan Administrator. & Trustees. Based on
                                                                           the facts gathered during that
       investigation it appeared that, ag Plan fiduciaries, you violated
                                                                          your fiduciary obligations to (he
       Plan and violated several provisions of BRISA. The specif
                                                                 ic actions taken by you thal we believe
       violated ERISA wers detalled inmy       previous letter.                      ©      C7    TU
         s Detiet insl 6
      following    1gsugs:   oe pd    EARN




      CY        & TE TRe Fin Office Failed to Properly Allocate Salary & Common
                                                                                Expenses



                                                                                                            App.078
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      We understand that the Fund Office retained
                                                  the firm of Manzi & Associates, CPA to cond
      independent time and finction study                                                     uct an
                                             of the operations of the Fund Office; resolved to upda
      time and function study at six month intervals to ensur                                       te the
                                                              e that the allocation refzins objective and.
      accurate; adopted a formal Administrative Servi
                                                        ces Agreement and requested and received
      reimbursement from both the SAC and Fair Funds for
                                                               administrative expenses for the period
      1997 to the date that the new time/ function study allocation
                                                                     is implemented.
   The amount owed by the SAC & PAC and Fait Funds
                                                         through December 2002 together with
  interest was calculated to be $44,626.14 and $42,0
                                                    52.32, respectively. Additional amount due for
  the 2003 plan year have besn calculated for the SAC
                                                        & PAC and Fair Funds in the amounts of
  $9,751.20 ‘and $6,432.21, respectively and paid. The
                                                        amount recouped was divided among the
  Funds in accordance with the allocation percentage
                                                     s assigned at the time. Amounts repaid to the
* H & W Plan forthe period 1997-2008 total $44,340.55,

  Since December 2004, amounts due for administrative
                                                      expenses fiom the SAC, PAC and Fair
  Funds have been deducted monthly from their respective
                                                         contributions.                          ti
        III.     Failure to Properly Allocate the Crime Policy Expen
                                                                     se
 We understand that the $11,620 amount for the 2002 crime policy
                                                                 was incorr   ectly booked 100%,
 to the Health and Welfare Fund. According to Plan Admini
                                                           strator Alongi, this error has bec
 subsequently corrected. The correction resulted in $7,204
                                                          .40 being repaid 10 the H & W Plin,
      “IV.      .In-Office Yiassages

 Imprudent or prohibited in-office “Chair Magsage™ expen
                                                         ses apportioned among the variods
 plans have been     repaid in the
                                amount of $4,922.00. These repaid expenses were apportione
 back to the find in the proportion that they were origin                                   d
                                                          ally charged, The Health & Welfare Plan
 received $4,116.00.The practice of offering in-office “Chair Massages” to the
the expense of the ERISA funds has been discontinued.                          Fund Staff and at
                                                                                       ,
       V.       Petty Cash
The Petty Cash account was reimbursed in the amount of $56,346
                                                                . These repaid expenses were -
apportioned back to the fund in the proportion that they
                                                         were originally charged, The Health &
Welfare Plan received $2,411.48. An unpaid amount of $1,461.00
                                                                    has recently been remitted for
payment under the ULICO         policy. A copy of that request has been received. Once
Department receives proof of this repayment, it is prepar                              the
                                                          ed {0 close the investigation.
VI.         FailurR
            SE    e to Accou
                       AROUInt for Servi
                             LIOr  oervicces
                                          es Rende
                                             Rendered
                                                   red Under
                                                       Under T.egal
                                                             Tegal Retai
                                                                    Retainers
                                                                         ners
After the production of further information by the Funds
                                                               counsel, the Department is safisfied
that the Plan paid fair value for the legal services receiv
                                                            ed, However, going forward, the
Department understands that the Board of Trustees will
                                                             better documentits legal expense review,




                                                                                                      App.079
            Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 85 of 254



                  VII.   Travel Expenses-Repaid
 STN




           We acknowledge receipt of ULICO chec
                                                k    and allocation schedule that documents
           0f $637.93 on behalf of Atty. Flamm for impr                                     a repayment
                                                        udent travel expenses to this Plan,
          ‘We are also in receipt of cancelled chec
                                                    ks in the amount of $4,224.56 from Sega
          Coleman that represents repaid imprudent                                          l, Roitman &
                                                       trave] expenses; all of which have been allo
          to the health plan,                                                                       cated back

          VIII.     HIPAA Violations:

         1. Failure to Comply with and Notify Part
                                                   icipants of Special Eurollment Rights unde
                                                                                              r

         The Deparitnent has reviewed the terms of
                                                    the Plan and concluded that it is not necessar
         a special entollment notice because enrollment                                            y to have
                                                         is automatic.                               Co

                                                                             tion Exclusion Provisions




                                                                                     March 11, 2003 tg
                                                e Eighteenth Amendment has been receiv
                                                                                       ed.
       4. Failure to Comply with the Women’s
                                             Health & Cancer Rights Act (WHCRA)




       The Department understands that the plan fiduc
                                                     iaries are still pursuing corrective action on
       following issues:                                                                            the

          DL         Travel Expenses Pending

Ci
                                                                                                          App.080
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  Imprudent or prohibited expenses charged
                                           to the Plan a5 a travel expense have not been
  Fund Counsel has informed the Department that                                             repaid,
                                                  instead of billing the responsible trustees, as
   originally agreed, the Fund Office has recently decid
                                                         ed to submit a claim under their insorance
  carrier for reimbursement. A, copy of the ULICO claim
                                                             has been received in this office, Also, a
  new travel policy has been adopted which addre
                                                   sses the issues involved. Once the Department
  receives proof of these repayments, it is prepared to
                                                         close the investigation,
  The amounts at issue for all of the finds are as follows:

 1997-1998               $5,283.08
 1999-2000               $4,940.38
 2001-2002               $1,947.00


 X.      American Express Charges, “Miscellaneous” aud “Other” Expenses
 An agreement has been reached regarding imprudent or prohib
                                                             ited expens es charged to the +
Fund's American Express and apportioned as expenses amon      ithe g plans, A claim has
been submitted to the Fund’s insurance camier for repayment in varions
                                                                the amount of $5,420.00. These
repaid expenses will be appo rtionedback to the fundin the proportion that they were originally .
 charged. Orie the Department receives proof ofthese repaym
                                                            ents, it is prepared to close the
mvestigation.                                    VW,     A                                      :




"The Plan Doctiment and SPD have heen combined into ore
                                                        document currently in draft fofin.
Utitil the document is producedand distrib     dito participants, fhis issue will remain unresolved:          “
                                                                                                                  .
Upon receipt of documentation of all'of the corrective action
                                                               s I proposed with respect to the
specific violations detailed in my letter of August 28, 2003,
                                                               the Depar
action with respect to thesematters. You are cautioned, however, tment will take no further
further action with regard to these issues, the Department commi
                                                                      that by agreging to take no
                                                                  ts only itself and cannot in any
way restrain any other individual or governmental, agency
                                                             from taking any further action it may
deem ap ropriate   with respectto bitthese her  or sther
                                                   : matters,




                                                                                                    App.081
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                         Exhibit 8




                                                              App.082
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                                                    RN/IBIE,
                                                y




                   IUOE LOCAL 4 BENEFIT FUNDS
                    AGREED-UPON PROCEDURES




                                                               App.083
                                                       IUOE4 FED 0024
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                                     IUOE LOCAL 4 BENEFIT FUNDS

                                     AGREED-UPON PROCEDURES


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                                                                                               Page

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                     Schultheis & Panettieri                           LLP
                     -- Accountants and Consultants --

Please Reply to:
450 Wireless Boulevard
Hauppauge, NY 11788
Telephone: (631) 273-4778                       INDEPENDENT ACCOUNTANT'S REPORT
Fax:        (631)273-3488                      ON APPLYING AGREED-UPON PROCEDURES

21 Vernon Street
Floral Park, NY 11001        Boards of Trustees
Telephone: (516) 216-5695    IUOE Local 4 Benefit Funds
                             16 Trotter Drive
485A US Route 1 South
                             Medway, MA 02053
Suite 360
lselin, NJ 08830
Telephone: (732) 268-1301    We have performed the procedures enumerated, which were agreed to by
                             management of the IUOE Local 4 Pension, Health and Welfare, Annuity and Savings
http:/ /www.snpcpa.com       Plan, Cooperative Trust, and Apprenticeship and Training Funds (collectively, the
                             "Funds") solely to assist management of the Funds in evaluating whether or not
         PARTNERS            inappropriate transactions occurred under the supervision of the former Fund
Carol Westfall, CPA          Administrator, Gina Alongi. The period subject to analysis was January 1, 2017
Vincent F. Panettieri, CPA
                             through June 30, 2020. Where applicable, periods were expanded or contracted based
Max Capone, CPA
                             on consultation with management. This agreed-upon procedures engagement was
James M. Heinzman, CPA
Donna Panettieri, CPA
                             conducted in accordance with attestation standards established by the American
Peter M. Murray, CPA
                             Institute of Certified Public Accountants. Management of the Funds is responsible for
Sharon M. Haddad, CPA        the books and records, tax filings, internal controls, and the sufficiency of the
Gary Waldren, CPA            procedures. Consequently, we make no representation regarding the sufficiency of the
Alexander Campo, CPA.CITP    procedures described below either for the purpose for which this report has been
Jennifer Evans, CPA          requested or for any other purpose.
Richard B. Silvestro, CPA
Jamie L. Krainski, CPA       A. Procedure: Prepare an analysis of wages paid to the former Fund Administrator
Vincent A. Gelpi, CPA
                                and all Fund Office employees under the supervision of the former Fund
                                Administrator including, but not limited to, an analysis of any additional payments
        DIRECTORS
                                made.
Stephen Bowen
Anthony Sgroi
William R. Shannon             Findings: Exceptions were found as a result of applying the procedure. See attached
William Austin                 Exhibit A- 1 detailing wages paid to all Fund Office employees for the period January
Kimberly Miller                1, 2017 through June 30, 2020. 2020 rate increases appeared consistent to amounts
Michael Fox                    approved by the Boards of Trustees; however, we were unable to confirm individual
Viorel Kuzma                   increases to documented Trustee approval for the years 2018 and 2019.

                               During our interviews and analysis of payroll, we noted the following inconsistencies
                               in vacation buyouts and additional paid time of the former Fund Administrator and
                               her sister resulting in excess payments totaling $53,490 as follows (see Appendix A-
                               2)

                                     Commencing in 2013, the former Fund Administrator received an additional two
                                     weeks' vacation per year for which we were unable to obtain documented
                                     Trustee approval.




                                                                                                                   1
                                                                                                       App.085
                                                                                             IUOE4 FED 0026
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                                                         IUOE Local 4 Benefit Funds Agreed-Upon Procedures




        From 2015 through 2019, the former Fund Administrator granted her sister 3hours
        additional paid time off for which we were unable to obtain documented Trustee
        approval.

        From 2015 through 2019, the former Fund Administrator's sister received 38.5 hours
        additional vacation buyouts as a result of spreadsheet errors.

        The Fund Office Employee Handbook states that unused vacation days will be bought
        back annually. From 2015 through 2020, we noted ten (10) instances where partial
        vacation buyouts to the former Fund Administrator and her sister were paid during the
        year, rather than at the end of the calendar year when other Fund Office employees'
        vacation buyouts were processed. It is our understanding that these payments were
        directed by the former Fund Administrator and only the former Fund Administrator and
        her sister were granted this opportunity.

   During our analysis of vacation and sick time taken by the former Fund Administrator, we
   noted numerous instances where it appears probable that all vacation, sick, and personal time
   was not recorded on the Funds' "Employee Absence Tracking" reports, thereby resulting in
   incorrect amounts reported for sick time taken and potentially resulting in excess vacation
   buyouts (see Appendix A-3). Due to the lack of records available, we remain unable to
   quantify potential vacation buyout overpayments.

B. Procedure: Prepare an analysis of benefit fund contributions paid on behalf of the former
   Fund Administrator and all Fund Office employees under the supervision of the former Fund
   Administrator.

   Findings: Exceptions were found as a result of applying the procedure.

   We noted minimal variances in Annuity Fund contributions for individuals who work less than
   40 hours per week (see Exhibit B-1). We have notified the current Fund Administrator of our
   findings and have been informed that applicable agreements will be updated accordingly.

C. Procedure:     Prepare an analysis of expense reimbursements to the former Fund
   Administrator and all Fund Office employees under the supervision of the former Fund
   Administrator.

   Findings: No exceptions were found as a result of applying the procedure.

   We noted reimbursements totaling $15,421, all of which appeared reasonable (see Exhibit C-
   1). We also noted, however, the unusual practice of the Funds' independent auditor reviewing,
   approving, and directing payment for reimbursements. Independent auditors are prohibited
   from being part of the internal controls for an entity they audit as doing so may impair their
   independence. Furthermore, we noted a reimbursement for airfare made in connection with
   a conference which was not held due to COVID-19 and remain uncertain whether a credit
   remains.




                                                                                                App.086
                                                                                      IuOE4   FED oo2
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                                                          IUOE Local 4 Benefit Funds Agreed-Upon Procedures




D. Procedure: Prepare an analysis of credit card charges incurred by the former Fund
   Administrator and all Fund Office employees under the supervision of the former Fund
   Administrator.

   Findings: No significant exceptions were noted as result of applying the procedure (see
   Exhibit D-1) with specific items "of interest" noted.

E. Procedure: Prepare an analysis of expenditures made on behalf of, and reimbursements
   received from, the Massachusetts Coalition of Taft-Hartley Trust Funds, Inc. (the "Coalition").

   Findings: No exceptions were noted as a result of applying the procedure. The Fund Office
   provided copies of all invoices to the Coalition. Amounts received from the Coalition were
   minimal and consisted primarily of rent and postage reimbursements (See Exhibit E-1). We
   were unable to determine if additional costs were incurred and not allocated and/or invoiced
   properly.

F. Procedure: Review benefits and claims paid by the Funds on behalf of the former Fund
   Administrator and former IT Director for compliance with benefit plan provisions.

   Findings: We analyzed the medical (including major medical, prescription drug, and dental)
   claims for the former Fund Administrator and former IT Director for which no exceptions were
   noted.

   We reviewed the Annuity Fund loan and benefits paid to the former Fund Administrator and
   former IT Director noting the following items:

         It is our understanding that the former Fund Administrator did not normally approve
         benefit and loan applications; however, we noted several instances where the former
         Fund Administrator approved her own applications and those of her sister (the former IT
         Director). Furthermore, we noted unusual hardship distributions and inconsistent
         application of notarization and approval protocols (See Exhibit F-1).

G. Procedure: Perform employee interviews as necessary to determine reasonableness of
   salary and benefit allocations to the Coalition.

   Findings: Exceptions were found as a result of applying the procedure. We noted significant
   weaknesses in controls surrounding cost allocations to the Coalition, where the former Fund
   Administrator also served as the Executive Director.

   In 2004, the former Fund Administrator received correspondence from the U.S. Department
   of Labor which stated that she (as Fund Administrator) and the Trustees had violated their
   fiduciary obligations for failure to properly allocate salaries and common expenses. We noted
   that it appears the Funds have an adequate system to track and request reimbursement for
   postage (for which an identifying code is entered in the postage machine whenever mail is
   processed on behalf of the Coalition); however, the Funds do not have an adequate system
   to track labor, related taxes, and benefit costs incurred on behalf of the Coalition. In fact,
   timesheets were designed in a manner in which Fund Office employees were unable to
   allocate time to the Coalition. Furthermore, Fund Office employees were tacitly directed not
   to allocate time to the Coalition. Finally, the former Fund Administrator, whose allocation would
   be most significant and most sensitive, did not maintain a timesheet as required of all other
   employees.


                                                                                                   App.087
                                                                                       uOE4 FED o028
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Based on our interviews and analysis of Fund Office employees' emails, it is apparent that the
Coalition's operations were tightly integrated with the Fund Office and many of the Fund Office
employees performed duties for the Coalition with no reimbursement. It appears Fund Office
employees' Coalition efforts increased gradually to 2020, at which time significant Fund Office
resources were being directed to the Coalition's inaugural "Wellness Fair'' for which no time
was tracked, allocated, or invoiced to the Coalition.

It appears four (4) Fund Office employees received some compensation directly from the
Coalition (the Assistant Administrator, the Accounting and Operations Manager, the former IT
Director, and the former Fund Administrator).

     The Assistant Administrator indicated that she received compensation for twenty (20)
     hours per month (at a reduced rate of $25-$30 per hour) for her Coalition efforts and
     used her best efforts to make up any time performing Coalition duties during lunch and
     before or after normal business hours (8:00AM to 4:00PM) but estimated that an
     additional 30% of her efforts for the Coalition occurred during normal business hours for
     which she received compensation and benefits from the Funds with no reimbursement
     from the Coalition.

     The Accounting and Operations Manager indicated that she received less than $600 per
     year from the Coalition for which she performed few duties, and although some of her
     Coalition duties were performed during lunch, most (estimated at 1%) were performed
     during normal business hours for which she received compensation and benefits from
     the Funds with no reimbursement from the Coalition.

     During our analysis of documents included in emails, we noted monthly payments of
     $500 from the Coalition to "Alongi Associates" for "Web Maintenance" and noted
     correspondence indicating these services were performed during normal business
     hours. During our interviews, we verified that these were, in fact, payments to Rosemarie
     Alongi for IT services which appear to have been performed during normal business
     hours for which she received compensation and benefits from the Funds with no
     reimbursement from the Coalition.

     By 2019, in addition to the $329,000 of wages, taxes, and benefits received from the
     Funds, the former Fund Administrator was receiving $46,000 a year in compensation
     from the Coalition and repeatedly represented on the Coalition's Forms 990 that she
     spent 10 hours per week performing duties on behalf of the Coalition. To evaluate if
     these efforts were performed during normal business hours (for which she received
     compensation and benefits from the Funds with no reimbursement from the Coalition)
     or outside of normal business hours, we analyzed incoming and outgoing calls from the
     former Fund Administrator's office phone, entry times from the former Fund
     Administrator's key fob noting times she entered the Fund Office, and cell phone calls
     from February 11, 2020 through July 23, 2020. Based on the following analyses, it
     appears the former Fund Administrator worked significantly less than the required seven
     hours per day and performed her duties as Executive Director of the Coalition during the
     reduced hours she was at the Fund Office.




                                                                                               App.088
                                                                                                     4
                                                                                  IUOE4 FED 0029
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                                                     IUOE Local 4 Benefit Funds Agreed-Upon Procedures




There is no record of the former Fund Administrator entering the Fund Office prior to 8:00AM
from 2015 through 2019. It appears she began arriving at 8:00AM in January 2020 when
requested to do so (See Exhibit G-1 for an analysis of building entry times for the period
September 2015 through March 2020).

     For the period September 2016 through July 2020, incoming and outgoing calls to and
     from the former Fund Administrator's office phone were commonly between the hours
     of 9:30AM and 4:00PM until January 2020 at which time they occurred between 8:00AM
     and 4:00PM (See Exhibit G-2 for an analysis of outgoing office telephone calls for the
     period September 2016 through July 2020).

     For the period September 2015 through July 2020, the former Fund Administrator's
     outgoing email activity followed a similar pattern as the outgoing phone calls whereby
     most of the activity occurred between 10:00AM and 4:00PM. Our analysis also revealed
     numerous emails during that time with a subject line referencing the Coalition, a very
     large majority of which occurred during times when the former Fund Administrator was
     receiving compensation from the Funds (See Exhibit G-3 for an analysis of outgoing
     emails for the period September 2015 through July 2020).

     Entry times were consistent with the former Fund Administrator's outgoing email and
     phone activity, thereby validating the data used in the analysis (See Exhibit G-4 for a
     comparison of telephone records, email activity, and entry times for the period October
     2015 through July 2020). Our findings are consistent with representations made during
     discussions with other Fund Office employees.

     Analysis of the former Fund Administrator's cell phone records for the period February
     11, 2020 through July 23, 2020 (the only period for which data was accessible) indicated
     that (1) there were very few business phone calls made to/from the former Fund
     Administrator's cell phone prior to the COVID-19 pandemic and (2) a large majority of
     business calls made and received by the former Fund Administrator were most
     commonly during normal business hours (See Exhibit G-5 for an analysis of cell phone
     calls for the period February 11, 2020 through July 23, 2020).

Absent contemporaneous timesheets, consideration of the former Fund Administrator's
apparent failure to work seven-hour days, and her apparent performance of Coalition duties
while employed by the Funds yields an estimated balance due from the former Fund
Administrator of $280,408 for work not performed and an estimated value of $460,704 for
Coalition work performed while engaged by the Funds (See Exhibit G-6).

We reviewed hundreds of emails documenting Coalition work performed by various persons
during normal Fund Office business hours. Work performed included scheduling and planning
all Coalition events and meetings, preparing all meeting materials, performing surveys on
behalf of the Coalition, maintaining the books and records of the Coalition, maintaining the
Coalition's website and continuously updating service provider and membership data, and
orchestrating the inaugural Wellness Fair. Additionally, we interviewed several Fund Office
employees who validated our findings. It appears eight (8) Fund Office employees ( other than
the former Fund Administrator) regularly performed functions on behalf of the Coalition with
no reimbursement received. Absent contemporaneous timesheets, based on our analysis of
emails and employee interviews, it appears payroll, taxes, and related benefit costs incurred
by the Funds for the period January 1, 2015 through June 30, 2020 amounted to $688,173
(See Exhibit G-7).


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The Coalition was charged rent at a rate of $47.81 per month based on the assumption that
only one office cubicle (63.75 square feet) was being occupied by the Coalition, when in fact,
it appears there was an entire office being used by the Coalition and there was no
consideration for rent associated with the several persons who regularly performed duties for
the Coalition. Furthermore, it appears the rate per square foot was not updated when the
Fund Office leases were renewed. Occupancy analysis for the period January 1, 2015
through June 30, 2020 indicates that actual rent paid on behalf of the Coalition was
approximately $24,457 greater than amounts invoiced and received (See Exhibit G-8 for an
analysis of rent attributed to the Coalition for the period January 1, 2015 through June 30,
2020).

Other Items:

During our interviews, Fund Office employees alleged several questionable events of the
former Fund Administrator. Such events included directing Fund Office employees to return
personal internet purchases, make family dinner reservations, purchase undergarments, and
tend to a horse at the former Fund Administrator's barn. Additionally, the former Fund
Administrator allegedly directed a Fund Office employee to rig a wellness raffle to ensure that
she herself would "win" an Apple watch purchased by the IUOE Local 4 Health and Welfare
Fund and directed several Fund Office employees to misreport a celebratory lunch, paid for
by the Funds, for a newly married staff member as a "Vitech Super Users Meeting".
Furthermore, the former Fund Administrator allegedly kept gift cards from Funds' service
providers (from Ruth Chris Steak House and Blue Cross) and utilized American Express
award points for her personal benefit.

We were not engaged to and did not conduct an examination or review engagement, the
objective of which would be the expression of an opinion or conclusion, respectively, on the
extent of questionable transactions, payments, expenditures, misappropriation and/or other
irregularities that may have occurred. Accordingly, we do not express such an opinion or
conclusion. Had we performed additional procedures, other matters might have come to our
attention that would have been reported to you.

This report is intended solely for the information and use of the management of the Funds and
is not intended and should not be used by anyone other than those specified parties.




SCHULTHEIS & PANETTIERI, LLP
Hauppauge, New York

REPORT DATE: April 21, 2021




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                          Exhibit 9




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                       In the Matter of:
                 Ginamarie Alongi, et al. vs
       Iuoe Local 4 Health & Welfare Fund, et al.




                  Gina Marie Alongi Vol I
                         May 24, 2022




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Ginamarie Alongi, et al. vs                Confidential             Gina Marie Alongi
Iuoe Local 4 Health & Welfare Fund, et al.                               May 24, 2022
                                                                                                                                                        Page 3

  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS                                      ·1· ·APPEARANCES (Continued):
  ·2· ·Norfolk, ss.· · · · · · · ·Superior Court                                       ·2
  ·3· · · · · · · · · · · · · · · Civil Action No. 2182CV00125                         ·3· ·Representing the Defendants:
  ·4· ·**************************************************                              ·4· · · · ·O'DONOGHUE & O'DONOGHUE LLP
  ·5· ·GINAMARIE ALONGI AND ROSEMARIE ALONGI,· · · · · ·*                              ·5· · · · ·5301 Wisconsin Avenue, NW, Suite 800
  ·6· · ·Plaintiffs· · · · · · · · · · · · · · · · · · ·*                              ·6· · · · ·Washington, DC 20015
  ·7· · ·vs.· · · · · · · · · · · · · · · · · · · · · · *                              ·7· · · · ·BY:· CHARLES W. GILLIGAN, ESQ.
  ·8· ·IUOE LOCAL 4 HEALTH & WELFARE FUND; IUOE LOCAL 4 *                              ·8· · · · · · · DANIEL KEENAN, ESQ.
  ·9· ·PENSION FUND; IUOE LOCAL 4 ANNUITY & SAVINGS· · ·*                              ·9· · · · ·(202) 362-0041
  10· ·FUND; HOISTING AND PORTABLE ENGINEERS LOCAL 4· · *                              10· · · · ·E-mail:· cgilligan@odonoghuelaw.com
  11· ·APPRENTICESHIP & TRAINING FUND; JOINT LABOR-· · ·*                              11
  12· ·MANAGEMENT COOPERATION TRUST; AND WILLIAM D.· · ·*                              12· ·In Attendance:· William D. McLaughlin
  13· ·MCLAUGHIAN, INDIVIDUALLY AND IN HIS CAPACITY· · ·*                              13· · · · · · · · · ·Greg Geiman
  14· ·AS CHAIRMAN OF THE BOARDS OF TRUSTEES,· · · · · ·*                              14· · · · · · · · · ·Rosemarie Alongi
  15· · ·Defendants· · · · · · · · · · · · · · · · · · ·*                              15
  16· ·**************************************************                              16
  17· · · · · · · DEPOSITION OF:· GINA MARIE ALONGI                                    17
  18· · · · · · · · · · BOWDITCH & DEWEY, LLP                                          18
  19· · · · · · · · · ·200 Crossing Boulevard                                          19
  20· · · · · · · · · Framingham, Massachusetts                                        20
  21· · · · · · · · · ·May 24, 2022· 9:45 a.m.                                         21
  22· · · · · · · · · · · · · Volume I                                                 22
  23· · · · · · · · · · ·Kristen M. Edwards                                            23
  24· · · · · · · · · · · ·Court Reporter                                              24


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  ·1· ·APPEARANCES:                                                                    ·1· · · · · · · · · · · · · I N D E X
  ·2                                                                                   ·2
  ·3· ·Representing the Plaintiffs:                                                    ·3· ·WITNESS:· · · · · · · · · · · · · · · GINA MARIE ALONGI
  ·4· · · · ·BOWDITCH & DEWEY, LLP                                                     ·4
  ·5· · · · ·200 Crossing Boulevard, Suite 300                                         ·5· ·EXAMINATION BY:· · · · · · · · · · · · · · · · · ·PAGE:
  ·6· · · · ·Framingham, MA 01702                                                      ·6· ·Ms. Markowski· · · · · · · · · · · · · · · · · · · · 5
  ·7· · · · ·BY:· TIMOTHY P. VAN DYCK, ESQ.                                            ·7
  ·8· · · · · · · JACOB A. TOSTI, ESQ.                                                 ·8
  ·9· · · · ·(617) 757-6537· fax (508) 929-3137                                        ·9· ·EXHIBIT:· · · · · · · · · · · · · · · · · · · · · PAGE:
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  11                                                                                   11
  12· ·Representing the Defendants:                                                    12
  13· · · · ·FREEMAN, MATHIS & GARY LLP                                                13
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                                                            O'Brien & Levine, A Magna Legal Services Company                                                     ·
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Ginamarie Alongi, et al. vs                Confidential             Gina Marie Alongi
Iuoe Local 4 Health & Welfare Fund, et al.                               May 24, 2022
                                                   Page 25                                                                     Page 27

  ·1· ·and employer remittance processing, who were you          ·1· · · · · A.· · ·Yes.
  ·2· ·reporting to?                                             ·2· · · · · Q.· · ·What was your next role within the Funds?
  ·3· · · · · A.· · ·John Donahey.                               ·3· · · · · A.· · ·Office manager.
  ·4· · · · · Q.· · ·What was your next role after that?         ·4· · · · · Q.· · ·When did you become office manager?
  ·5· · · · · A.· · ·Eligibility.                                ·5· · · · · A.· · ·I don't recall.
  ·6· · · · · Q.· · ·What were your responsibilities in          ·6· · · · · Q.· · ·For how long did you serve as office
  ·7· ·connection with eligibility?                              ·7· ·manager?
  ·8· · · · · A.· · ·Certifying eligibility.                     ·8· · · · · A.· · ·I don't recall.
  ·9· · · · · Q.· · ·Certifying eligibility for benefits?        ·9· · · · · Q.· · ·Who did you report to when you were the
  10· · · · · A.· · ·Yes.                                        10· ·office manager?
  11· · · · · Q.· · ·For how long did you have that role?        11· · · · · A.· · ·John Donahey.
  12· · · · · A.· · ·I don't recall.                             12· · · · · Q.· · ·And for the entire time you reported to
  13· · · · · Q.· · ·When you had that role, did you continue    13· ·John Donahey, was he the administrator?
  14· ·to report to John Donahey?                                14· · · · · A.· · ·Yes.
  15· · · · · A.· · ·Yes.                                        15· · · · · Q.· · ·And what was your next role at the Funds?
  16· · · · · Q.· · ·What was your next role at the Funds?       16· · · · · A.· · ·I don't recall, but I believe that was it
  17· · · · · A.· · ·Accounting.                                 17· ·once I got to office manager.
  18· · · · · Q.· · ·What was your position or your title?       18· · · · · Q.· · ·And then you became the administrator
  19· · · · · A.· · ·I would gather all of the general ledger    19· ·after that?
  20· ·entries, you know --                                      20· · · · · A.· · ·Yes, in 1996.
  21· · · · · Q.· · ·Your title, did you have a title when you   21· · · · · Q.· · ·And you replaced John Donahey?
  22· ·were involved with accounting?                            22· · · · · A.· · ·Yes, he retired.
  23· · · · · A.· · ·I don't recall.                             23· · · · · Q.· · ·And how did it come to be that you
  24· · · · · Q.· · ·And, I think, you started to talk about     24· ·stepped into the role of administrator?

                                                   Page 26                                                                     Page 28

  ·1· ·your responsibilities when you were working in            ·1· · · · · A.· · ·Well, I had the most experience.· I was
  ·2· ·accounting.· What were you responsible for?               ·2· ·loyal.
  ·3· · · · · A.· · ·Accounts payable.                           ·3· · · · · Q.· · ·Did the Funds look -- do you know if the
  ·4· · · · · Q.· · ·Is there like collections?                  ·4· ·Funds looked outside of?
  ·5· · · · · A.· · ·Not collections.· Preparing general         ·5· · · · · A.· · ·No.
  ·6· ·ledger entries.· We had an outside accountant at the      ·6· · · · · Q.· · ·So when you say you had the most
  ·7· ·time that I would have to give that information to.       ·7· ·experience, you mean within the Funds you had the most
  ·8· · · · · Q.· · ·Any other responsibilities in that role?    ·8· ·experience.
  ·9· · · · · A.· · ·I don't recall.                             ·9· · · · · A.· · ·Yes.
  10· · · · · Q.· · ·And you continued to report to John         10· · · · · Q.· · ·Did anyone recommend you to be the next
  11· ·Donahey?                                                  11· ·administrator?
  12· · · · · A.· · ·Yes.                                        12· · · · · A.· · ·John Donahey.
  13· · · · · Q.· · ·And do you recall roughly the time period   13· · · · · Q.· · ·Anybody else?
  14· ·that you were involved in accounting for the Funds?       14· · · · · A.· · ·There may have been consultants I was
  15· · · · · A.· · ·I don't recall.                             15· ·dealing with at the time.
  16· · · · · Q.· · ·What was your next role after that?         16· · · · · Q.· · ·Anybody --
  17· · · · · A.· · ·I was handling the pensions, processing     17· · · · · A.· · ·With The Health and Welfare Fund.
  18· ·pensions, processing pension payments, calculating        18· · · · · Q.· · ·Anybody you can recall by name?
  19· ·benefits.                                                 19· · · · · A.· · ·Al Brightman.
  20· · · · · Q.· · ·Did you have a title when you were doing    20· · · · · Q.· · ·Anybody else?
  21· ·that?                                                     21· · · · · A.· · ·John Cotton.
  22· · · · · A.· · ·I don't recall what it was.                 22· · · · · Q.· · ·Anybody else?
  23· · · · · Q.· · ·Did you continue to report to John          23· · · · · A.· · ·That's all I can remember at this point.
  24· ·Donahey?                                                  24· · · · · Q.· · ·Was there a process that you wentApp.138
                                                                                                                     through


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  ·1· · · · · A.· · ·She was a receptionist.                     ·1· ·get your own fucking job."
  ·2· · · · · Q.· · ·And for the Funds?                          ·2· · · · · A.· · ·Yes.
  ·3· · · · · A.· · ·Yes.                                        ·3· · · · · Q.· · ·And approximately when did you fire her?
  ·4· · · · · Q.· · ·When was she a receptionist?                ·4· · · · · A.· · ·I don't recall.
  ·5· · · · · A.· · ·I don't recall.                             ·5· · · · · Q.· · ·Did Lou Rasetta ever sexually harass
  ·6· · · · · Q.· · ·During the time that you worked there?      ·6· ·Laura-Jean Hickey?
  ·7· · · · · A.· · ·Yes.                                        ·7· · · · · · · · ·MR. VAN DYCK:· Objection.· You may
  ·8· · · · · Q.· · ·Did you ever hear that Lou had had sex      ·8· · · · · answer.
  ·9· ·with Christine Walsh?                                     ·9· · · · · · · · ·THE WITNESS:· There was a memo written by
  10· · · · · A.· · ·No.                                         10· · · · · Greg in 2014 that Laura-Jean complained to Greg
  11· · · · · Q.· · ·Did you ever hear that Lou and Christine    11· · · · · about Lou kissing her.
  12· ·Walsh were dating?                                        12· · · · · Q.· · ·(By Ms. Markowski)· So my question to you
  13· · · · · A.· · ·Never heard that.                           13· ·was:· Did Lou Rasetta ever sexually harass Laura-Jean
  14· · · · · Q.· · ·Never from anybody in the office?           14· ·Hickey?
  15· · · · · A.· · ·No.                                         15· · · · · · · · ·MR. VAN DYCK:· It's what you know.· Not
  16· · · · · Q.· · ·Did you ever witness anything between       16· · · · · what you heard.· What do you know?
  17· ·them that appeared to you to be flirting?                 17· · · · · · · · ·THE WITNESS:· Laura-Jean claimed it and
  18· · · · · A.· · ·No.                                         18· · · · · then took it back, so I don't know what that is.
  19· · · · · Q.· · ·Did anyone in the office ever talk about    19· · · · · Q.· · ·(By Ms. Markowski)· Let's just back up
  20· ·them dating?                                              20· ·for a minute.· You say Laura-Jean claimed it.· Did
  21· · · · · A.· · ·No.                                         21· ·Laura-Jean speak to you about the fact she believed Lou
  22· · · · · Q.· · ·At some point did you fire Christine        22· ·Rasetta had sexually harassed her?
  23· ·Walsh?                                                    23· · · · · A.· · ·She never spoke to me about it.
  24· · · · · A.· · ·Yes.                                        24· · · · · Q.· · ·So how did you come to learn that she --

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  ·1· · · · · Q.· · ·Why did you fire Christine Walsh?           ·1· · · · · A.· · ·Greg.
  ·2· · · · · A.· · ·Because she was disrespectful towards me.   ·2· · · · · Q.· · ·Greg told you that the complaint had been
  ·3· · · · · Q.· · ·How so?                                     ·3· ·made.
  ·4· · · · · A.· · ·I was on a conference call for several      ·4· · · · · A.· · ·Yes.
  ·5· ·hours and I reached out to the receptionist to get me a   ·5· · · · · Q.· · ·Who was in charge of investigating
  ·6· ·bottle of water, which was Christine at the time.· As I   ·6· ·complaints of sexual harassment at that time?
  ·7· ·was on the conference call, I put the person on hold      ·7· · · · · A.· · ·They would have come to me or Kate Shea.
  ·8· ·and she told me to get my own fucking water.              ·8· · · · · Q.· · ·You would agree with me that you're
  ·9· · · · · Q.· · ·What happened next?                         ·9· ·identified in the employee handbook for the Funds as
  10· · · · · A.· · ·After I got off the conference call, I      10· ·one of the people that individuals who feel they have
  11· ·went out to the reception area, sat down and I said,      11· ·been sexually harassed can go to and make a report to;
  12· ·"What did you say?"· She said, "Get your own fucking      12· ·is that fair to say?
  13· ·water."· And I said, "Go find your own fucking job."      13· · · · · A.· · ·Yes.
  14· · · · · Q.· · ·So you fired her on the spot.               14· · · · · Q.· · ·So when you were told that Laura-Jean
  15· · · · · A.· · ·I had Greg fire her.                        15· ·Hickey believed that Lou Rasetta had sexually harassed
  16· · · · · Q.· · ·Why did you have Greg fire her?             16· ·her, what did you do to figure out if that was true?
  17· · · · · A.· · ·He was in charge of that.                   17· · · · · · · · ·MR. VAN DYCK:· Objection as to form.· You
  18· · · · · Q.· · ·But hadn't you told her to go find her      18· · · · · may answer.
  19· ·own fucking job?                                          19· · · · · · · · ·THE WITNESS:· I told Greg when Greg
  20· · · · · A.· · ·After I told her that, I told Greg to       20· · · · · mentioned it to me that I was concerned, and
  21· ·escort her out.                                           21· · · · · that we needed to call Kate Shea.
  22· · · · · Q.· · ·So you fired her.                           22· · · · · Q.· · ·(By Ms. Markowski)· Did you speak to
  23· · · · · A.· · ·Yes.                                        23· ·Laura-Jean?
  24· · · · · Q.· · ·That's what that meant when you said "go    24· · · · · A.· · ·No.                                 App.139

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  ·1· ·would invite Local 4 folks to?                                    ·1· · · · · Q.· · ·(By Ms. Markowski)· Well, let's start
  ·2· · · · · A.· · ·For a time -- for a period of time, maybe           ·2· ·with compensation.· Did he ever make decisions that
  ·3· ·a couple of parties a year.                                       ·3· ·impacted your compensation?
  ·4· · · · · Q.· · ·And did you have those parties at your              ·4· · · · · A.· · ·Yes.
  ·5· ·house in Westborough?                                             ·5· · · · · Q.· · ·And how was Lou involved in setting your
  ·6· · · · · A.· · ·Yes, I did.                                         ·6· ·compensation?
  ·7· · · · · Q.· · ·And you said for a period of time.· From            ·7· · · · · A.· · ·Typically the procedure was that Lou and
  ·8· ·when to when did you have a couple of parties a year?             ·8· ·I would sit down and I would have a recommendation on
  ·9· · · · · A.· · ·I don't recall the dates.                           ·9· ·payroll increases, and I would have to get his approval
  10· · · · · Q.· · ·Was it before or after you became                   10· ·first and then I would go to senior management trustee,
  11· ·administrator when you first started having the                   11· ·Jack Shaughnessy, to have it approved and then we would
  12· ·parties?                                                          12· ·have their decision ratified by the full board at the
  13· · · · · A.· · ·I don't recall.· Actually, I'm sorry, I             13· ·next meeting.
  14· ·moved into the house in 2001, became administrator in             14· · · · · Q.· · ·So did you sit down with Lou on a yearly
  15· ·1996, so it was after I became administrator.                     15· ·basis?
  16· · · · · Q.· · ·And is the first time you had a party for           16· · · · · A.· · ·Yes.
  17· ·Fund employees, was that after you moved into the house           17· · · · · Q.· · ·Did that begin when he became business
  18· ·in Westborough?                                                   18· ·manager?
  19· · · · · A.· · ·Several years later.                                19· · · · · A.· · ·Yes.
  20· · · · · Q.· · ·And you said a couple of times a year.              20· · · · · Q.· · ·And you spoke about all Fund employees'
  21· ·What were the occasions that you would have parties;              21· ·compensation, including your own?
  22· ·was it like a summertime celebration, Christmas                   22· · · · · A.· · ·Yes.
  23· ·celebration?                                                      23· · · · · Q.· · ·And then you said you went to Jack
  24· · · · · A.· · ·I had a pig roast just to have a pig                24· ·Shaughnessy after that?

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  ·1· ·roast and invited my neighbors and some Local 4 Fund              ·1· · · · · A.· · ·Yes.
  ·2· ·office employees.                                                 ·2· · · · · Q.· · ·And why did you go to Jack Shaughnessy?
  ·3· · · · · Q.· · ·Did you invite everybody in the office or           ·3· · · · · A.· · ·He was senior management trustee.· We had
  ·4· ·just some employees?                                              ·4· ·to have a vote by both parties.
  ·5· · · · · A.· · ·Everyone.                                           ·5· · · · · Q.· · ·And would you tell Lou Rasetta what you
  ·6· · · · · Q.· · ·What other occasions did you have?· You             ·6· ·thought your increase in compensation should be?
  ·7· ·mentioned you had a pig roast.· What were the others?             ·7· · · · · A.· · ·Would I tell him?
  ·8· · · · · A.· · ·I believe I had a retirement party for              ·8· · · · · Q.· · ·Yes.
  ·9· ·Bill Ryan when he retired.                                        ·9· · · · · A.· · ·I wouldn't tell him what I thought I
  10· · · · · Q.· · ·And did Lou Rasetta attend any of the               10· ·should get.· I would wait for him to tell me.
  11· ·parties you had?                                                  11· · · · · Q.· · ·So he would suggest the number to you?
  12· · · · · A.· · ·Yes.                                                12· · · · · A.· · ·Right.· I would have percentages for each
  13· · · · · Q.· · ·And during any one of the parties that              13· ·of the employees so he could clearly see, and I was
  14· ·you had, was that a time you and Lou were either dating           14· ·always the last person to be discussed.
  15· ·or having some kind of a sexual relationship?                     15· · · · · Q.· · ·Would you have a percentage for yourself?
  16· · · · · A.· · ·I don't remember.                                   16· · · · · A.· · ·Would I have a recommendation for
  17· · · · · Q.· · ·Lou Rasetta also sat on the board; is               17· ·percentage?
  18· ·that right?                                                       18· · · · · Q.· · ·Yes.
  19· · · · · A.· · ·He was the chairman.                                19· · · · · A.· · ·No.
  20· · · · · Q.· · ·And as chairman of the board, did he make           20· · · · · Q.· · ·Only for the other employees.
  21· ·any decisions that impacted your benefits?                        21· · · · · A.· · ·Yes.
  22· · · · · · · · ·MR. VAN DYCK:· Objection.· You may                  22· · · · · Q.· · ·*· And during the time that you were
  23· · · · · answer.                                                    23· ·either dating or in some kind of a sexual relationship
  24· · · · · · · · ·THE WITNESS:· My benefits?                                                                           App.140
                                                                         24· ·with Lou, was there ever one of these sit-down meetings


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  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS                                  ·1· ·APPEARANCES CONT'D:
  ·2· ·NORFOLK, SS.· · · · · · · · · · · · · · ·SUPERIOR COURT                     ·2· ·Also present:
  ·3· · · · · · · · · · · · · · ·CIVIL ACTION NO.: 2182CV00125                     ·3· · · · · Daniel Keenan, Esq.
  ·4                                                                               ·4· · · · · Christopher J. Redd, Esq.
  ·5· ·**********************************************                              ·5· · · · · Jacob Tosti, Esq.
  ·6· ·GINAMARIE ALONGI AND ROSEMARIE ALONGI,· · · ·*                              ·6· · · · · Rose Marie Alongi
  ·7· · · · · · · · · · · · · ·Plaintiffs· · · · · ·*                              ·7· · · · · William D. McLaughlin
  ·8· ·vs.· · · · · · · · · · · · · · · · · · · · · *                              ·8· · · · · Gregory Geimen
  ·9· ·IUOE LOCAL 4 HEALTH & WELFARE FUND, et al,· ·*                              ·9
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  17· · · · · · · · · · BOWDITCH & DEWEY, LLP                                      17
  18· · · · · · · · · ·200 Crossing Boulevard                                      18
  19· · · · · · · Framingham, Massachusetts· 010702                                19
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  ·2· ·Representing the Plaintiffs:                                                ·2
  ·3· · · · · BOWDITCH & DEWEY, LLP                                                ·3· ·WITNESS:· · · · · · · · · · · · · · · GINA MARIE ALONGI
  ·4· · · · · 200 Crossing Boulevard                                               ·4
  ·5· · · · · Framingham, Massachusetts· 010702                                    ·5· ·EXAMINATION BY:· · · · · · · · · · · · · · · · · ·PAGE:
  ·6· · · · · BY:· TIMOTHY P. VAN DYCK, ESQ.                                       ·6· ·Ms. Markowski· · · · · · · · · · · · · · · · · · · · 4
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  ·8· · · · · E-mail: tvandyck@bowditch.com                                        ·8
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  22· · · · · E-mail: cgilligan@odonoghuelaw.com                                   22· ·(Exhibits retained by Ms. Markowski)
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  ·1· · · · · MS. MARKOWSKI:· I just don't agree with                      ·1· · · · · A.· · ·I forget.· But he did.
  ·2· ·that.· But, you know, that's okay.                                  ·2· · · · · Q.· · ·Was that 2020?
  ·3· · · · · MR. VAN DYCK:· Well, you didn't disagree                     ·3· · · · · A.· · ·I thought it was January of 2020.
  ·4· ·with it earlier when I said.                                        ·4· ·Sometime around that period of time.
  ·5· · · · · MS. MARKOWSKI:· I just want to keep                          ·5· · · · · Q.· · ·All right.· And was that part of a
  ·6· ·going.                                                              ·6· ·discussion during a meeting with Mr. McLaughlin?
  ·7· · · · · MR. VAN DYCK:· But no, I don't because                       ·7· · · · · A.· · ·Yes.
  ·8· ·then we have a long time.· And so, I'm trying to                    ·8· · · · · Q.· · ·And what did he say to you about your
  ·9· ·figure out from you how much longer you have.                       ·9· ·hours?
  10· · · · · MS. MARKOWSKI:· I recommend we go until                      10· · · · · A.· · ·That I need to start coming in at
  11· ·five and see if we can finish it.                                   11· ·eight o'clock in the morning.
  12· · · · · MR. VAN DYCK:· Do you think you can?                         12· · · · · Q.· · ·And in January of 2020, when did the
  13· · · · · MS. MARKOWSKI:· I cannot say --                              13· ·funds office open?
  14· · · · · MR. VAN DYCK:· I'm not saying there's                        14· · · · · A.· · ·Eight o'clock.· Eight to four.
  15· ·hard cutoff.· Five, 5:15.· But if this thing is                     15· · · · · Q.· · ·And were the other fund employees
  16· ·going to keep going until six or seven at night,                    16· ·expected to be in at 8:00 a.m.?
  17· ·let's stop now.                                                     17· · · · · A.· · ·Yes.· But we had flex hours, flex time
  18· · · · · MS. MARKOWSKI:· I'd like to try to get it                    18· ·for some people.
  19· ·done by, you know, maybe, a little after five.                      19· · · · · Q.· · ·Who had flex hours?
  20· ·I think five is aggressive but I'd like to try                      20· · · · · A.· · ·Greg, because he had to get his kids on
  21· ·to get it done.· But we have to come back for                       21· ·the school bus.
  22· ·another day, Tim, because other people have to                      22· · · · · Q.· · ·So what time did Mr. Geiman arrive; what
  23· ·ask questions --                                                    23· ·time was he expected to arrive?
  24· · · · · MR. VAN DYCK:· No, no.· I'd like to                          24· · · · · A.· · ·So as soon as they got the kids on the

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  ·1· · · · · finish up with you today, if we can.· If you                 ·1· ·bus.
  ·2· · · · · think you can finish around five, then, we'll                ·2· · · · · Q.· · ·Okay.
  ·3· · · · · keep going, and I think I hear you saying that.              ·3· · · · · A.· · ·You know, I don't know.· You know, it was
  ·4· · · · · · · · ·MS. MARKOWSKI:· I'm going to try to do                ·4· ·different each day.· So, you know, he would come in
  ·5· · · · · it.· But I'm not making any promises, Tim.                   ·5· ·whenever he wanted.
  ·6· · · · · That's the best I can do.                                    ·6· · · · · Q.· · ·And prior to you coming in at
  ·7· · · · · · · · ·MR. VAN DYCK:· You drive a hard bargain.              ·7· ·eight o'clock, Mr. Geiman was usually at the office
  ·8· · · · · Well, I think, then, we should keep going.· You              ·8· ·before you?
  ·9· · · · · know, ask the witness, you know, whether she                 ·9· · · · · A.· · ·No, because he had to put the kids on the
  10· · · · · needs a break.                                               10· ·bus.
  11· · · · · · · · ·THE WITNESS:· Can we take a break?                    11· · · · · Q.· · ·Okay.· And again, just focusing on the
  12· · · · · · · · ·MS. MARKOWSKI:· We can take a break.                  12· ·time period, not after when Mr. McLaughlin asked you to
  13· · · · · Absolutely.                                                  13· ·come in at 8:00 a.m. in the morning, but prior to that,
  14                                                                       14· ·when you were coming in later in the morning. I
  15· · · · · · · · ·(A recess was taken)                                  15· ·thought -- and I don't wan to revisit it -- but I
  16                                                                       16· ·thought your testimony, yesterday, was that most days
  17· · · · · Q.· · ·(By Ms. Markowski)· At some point, did                17· ·Mr. Geiman was, in fact, in the office before you.
  18· ·Mr. McLaughlin speak with you about your hours and when             18· · · · · A.· · ·After a certain period of time.· I think,
  19· ·you needed to be in the office?                                     19· ·once the kids started -- I think they were being home
  20· · · · · A.· · ·Yes.                                                  20· ·schooled so he was able to get in earlier.· I'm not
  21· · · · · Q.· · ·When did that occur?                                  21· ·sure about that.· But when Billy said that he wanted
  22· · · · · A.· · ·January -- I'm sorry.· I forget the                   22· ·everyone in the office at eight, it was like an oh shit
  23· ·month.                                                              23· ·from Greg.· Like, how am I going to do this.· But I
  24· · · · · Q.· · ·Okay.· Do you remember the year?                      24· ·will try and do it, try and get in at eight.
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  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS                                  ·1· ·APPEARANCES:
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  24· · · · · · · · · · · ·Court Reporter                                          24


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  ·2· ·Also present:                                                               ·2
  ·3· · · · · Daniel Keenan, Esq.                                                  ·3· ·WITNESS:· · · · · · · · · · · · · · · GINA MARIE ALONGI
  ·4· · · · · Christopher J. Redd, Esq.                                            ·4
  ·5· · · · · Jacob Tosti, Esq.                                                    ·5· ·EXAMINATION BY:· · · · · · · · · · · · · · · · · ·PAGE:
  ·6· · · · · Rose Marie Alongi                                                    ·6· ·Mr. Gilligan· · · · · · · · · · · · · · · · · · · · ·6
  ·7· · · · · William D. McLaughlin                                                ·7
  ·8· · · · · Gregory Geiman, Esq.                                                 ·8
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  ·1· · · · · Q.· · ·Did you ever try and create a job                · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·2· ·description at any point?                                      ·1· · · · · Q.· · ·No one else?
  ·3· · · · · A.· · ·Well, recently, when we were talking             ·2· · · · · A.· · ·No one else.
  ·4· ·about -- and this is going back to -- prior to my              ·3· · · · · Q.· · ·Would you say, though, that you, as the
  ·5· ·termination.· All of a sudden a couple of job                  ·4· ·administrator, were ultimately responsible for the work
  ·6· ·descriptions appeared.                                         ·5· ·of all the employees?
  ·7· · · · · Q.· · ·When you say they appeared, do you know          ·6· · · · · A.· · ·Ultimately, yes.
  ·8· ·their origins?                                                 ·7· · · · · Q.· · ·Okay.· And how many employees,
  ·9· · · · · A.· · ·I think fund counsel created them.· You          ·8· ·approximately, did the fund office have between 2015
                                                                      ·9· ·and 2020?
  10· ·know, sent them to me, you know, when we were talking
                                                                      10· · · · · A.· · ·It fluctuated.
  11· ·about the employment agreement.
                                                                      11· · · · · Q.· · ·Can you give me a ballpark?
  12· · · · · Q.· · ·You think that you're not sure, though?
                                                                      12· · · · · A.· · ·Ten to 15.
  13· · · · · A.· · ·I'm not sure.
                                                                      13· · · · · Q.· · ·Okay.
  14· · · · · Q.· · ·Okay.· Is it correct to say the
                                                                      14· · · · · A.· · ·I'm not really sure.
  15· ·administrator is in charge of the day-to-day operations
                                                                      15· · · · · Q.· · ·Okay.· All right.· And as the
  16· ·of the fund?
                                                                      16· ·administrator, what were your responsibilities with
  17· · · · · A.· · ·Yes.                                             17· ·respect to the board of the boards of trustees?
  18· · · · · Q.· · ·Okay.· And did all of the fund's                 18· · · · · A.· · ·My responsibilities?
  19· ·employees, ultimately, report to you?                          19· · · · · Q.· · ·Yes.
  20· · · · · A.· · ·Could you specify the time period?               20· · · · · A.· · ·To report to them.· You know, financial
  21· · · · · Q.· · ·Let's say, in the last five years that           21· ·status of the plan, any issues with service providers,
  22· ·you were the administrator, so 2015 to 2020?                   22· ·any recommendations that I had.
  23· · · · · A.· · ·The only employees that reported directly        23· · · · · · · · ·What we would do is, we would have, you
  24· ·to me was Greg and Laura-Jean.                                 24· ·know, service providers come in.· You know, if there

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· ·were particular issues with them they would go in front        ·1· ·annuity/401K?
  ·2· ·of board, you know, if there was a need to terminate           ·2· · · · · A.· · ·Yes.· When it was a straight DC plan,
  ·3· ·them.                                                          ·3· ·KPMG was the recordkeeper.· They were -- I think we
  ·4· · · · · · · · ·I would, basically, review any and all           ·4· ·were the first multiemployer plan that KPMG
  ·5· ·negotiations I did on behalf of the funds.· You know,          ·5· ·administered a DC plan for.
  ·6· ·specifically for the health & welfare fund, the pension        ·6· · · · · · · · ·And then, they went out of business.· You
  ·7· ·fund.· You know, investment managers.· We had a whole          ·7· ·know, they didn't do the recordkeeping anymore, so we
  ·8· ·roster full of investment managers that constantly             ·8· ·had to find someone else.· So that's when we went to
  ·9· ·changed.                                                       ·9· ·Putnam Investments.
  10· · · · · · · · ·For the annuity plan, you know, it was a         10· · · · · Q.· · ·So you had Putnam as recordkeeper?
  11· ·DC plan, a defined contribution plan, which, ultimately        11· · · · · A.· · ·And then, MassMutual.· Putnam had some
  12· ·was converted to a profit-sharing plan that allowed a          12· ·issues, you know, in the press.· And we felt obligated
  13· ·401K component.                                                13· ·to terminate them.
  14· · · · · Q.· · ·Okay.                                            14· · · · · Q.· · ·All right.· I take it, being the
  15· · · · · A.· · ·First 401K plan in the multiemployer             15· ·administrator's a full-time job?
  16· ·environment.                                                   16· · · · · A.· · ·It's more than a full-time job.
  17· · · · · Q.· · ·And you said it was -- became a                  17· · · · · Q.· · ·And at the time of your termination, do
  18· ·self-directed plan as well?                                    18· ·you recall your annual compensation?
  19· · · · · A.· · ·It was participant-directed before we            19· · · · · A.· · ·Approximately, 258.
  20· ·added the profit-sharing feature.· You know, it wasn't         20· · · · · Q.· · ·And in addition to that salary, did you
  21· ·easy to convert that to a profit-sharing plan and add          21· ·receive any benefits?
  22· ·the 401K feature, and to monitor all the various               22· · · · · A.· · ·Yes.
  23· ·selections by the membership and the employers.                23· · · · · Q.· · ·Can you detail those benefits for me?
  24· · · · · Q.· · ·Did you have a recordkeeper for the              24· · · · · A.· · ·Health & welfare, pension, contributions       App.146

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  ·1· ·was?                                                           ·1· ·page of Exhibit 98, the second paragraph.· I see a
  ·2· · · · · A.· · ·Social Action Committee.                         ·2· ·indication that, "Oh by the way, Roberta rounded the
  ·3· · · · · Q.· · ·Do you know what that is?                        ·3· ·SAC and the Fair to .45 percent versus .4444 percent?
  ·4· · · · · A.· · ·It was a small contribution, I believe,          ·4· · · · · A.· · ·Mm-hmm.
  ·5· ·of two cents per hour, at the time.· You know,                 ·5· · · · · Q.· · ·Is that indicative of the
  ·6· ·voluntarily on the part of a Local 4 member.· And it           ·6· ·investigators -- the level of detail they wanted in
  ·7· ·was a political fund for the union.                            ·7· ·these allocations?
  ·8· · · · · Q.· · ·And Ms. Alongi, looking at these -- if           ·8· · · · · A.· · ·It was.· But I think they just had it out
  ·9· ·you can read on page three -- it looks to me like the          ·9· ·for the non-ERISA funds, the union funds, to be honest
  10· ·allocations are set forth in percentages that go out a         10· ·with you.
  11· ·couple spots right at the decimal point; is that               11· · · · · Q.· · ·What makes you say that?
  12· ·correct?                                                       12· · · · · A.· · ·Well, because they just -- I don't think
  13· · · · · A.· · ·I can't see it.· I can't read it.· So I'm        13· ·they really liked us administering the benefit.
  14· ·assuming you're correct.                                       14· ·Administering those funds, I thought, in my opinion.
  15· · · · · Q.· · ·If you look -- let's look at the very            15· · · · · Q.· · ·Was there anything, in particular, that
  16· ·first -- where it indicates "unrounded 47.11 percent";         16· ·leads you to that conclusion?
  17· ·does that look right to you?                                   17· · · · · A.· · ·That they should -- the union should be
  18· · · · · A.· · ·Yes.                                             18· ·doing it themselves.
  19· · · · · Q.· · ·Okay.· And was that something that               19· · · · · Q.· · ·Did you have any discussions directly
  20· ·Department of Labor was insisting upon, that level of          20· ·with Ms -- is it Munch (phonetically)?
  21· ·precision?                                                     21· · · · · A.· · ·Muench.
  22· · · · · A.· · ·I believe so.                                    22· · · · · Q.· · ·Muench.· Did you have any direct
  23· · · · · Q.· · ·Okay.· And maybe the -- to make this a           23· ·discussions with her regarding that issue?
  24· ·slightly easier exercise -- turning back to the first          24· · · · · A.· · ·About the dues?

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· · · · · Q.· · ·Yes.                                             ·1· ·funds behalf?
  ·2· · · · · A.· · ·Handling it?                                     ·2· · · · · A.· · ·Other than initially when this was going
  ·3· · · · · Q.· · ·Yeah.                                            ·3· ·on, you know, when I was dealing with her, I think what
  ·4· · · · · A.· · ·I believe she had asked a lot of the --          ·4· ·happened was she was interacting with special counsel
  ·5· ·you know, why they weren't handling it themselves.· Her        ·5· ·and Mary Sullivan directly.
  ·6· ·experience showed that a lot of unions, basically, you         ·6· · · · · Q.· · ·None of the trustees were interacting
  ·7· ·know, handled their own dues checkoff.                         ·7· ·with her, were they?
  ·8· · · · · Q.· · ·Did you speak often with Ms. Muench,             ·8· · · · · A.· · ·No, not at all.
  ·9· ·during this process?                                           ·9· · · · · Q.· · ·And Laura-Jean wasn't interacting with
  10· · · · · A.· · ·I don't recall.                                  10· ·them?
  11· · · · · Q.· · ·With respect to the fund's interest, were        11· · · · · A.· · ·No.
  12· ·you the primary spokesperson, in terms of dealing with         12· · · · · Q.· · ·Okay.· Thank you.
  13· ·the Department of Labor during this particular                 13
  14· ·investigation?                                                 14· · · · · · · · ·(Exhibit 99, E-mail, August 1, 2003,
  15· · · · · · · · ·MR. VAN DYCK:· Objection as to form.· You        15· · · · · · · · ·marked)
  16· · · · · may answer.                                             16
  17· · · · · · · · ·THE WITNESS:· As I said earlier,                 17· · · · · Q.· · ·(By Mr. Gilligan)· Ms. Alongi, have you
  18· · · · · Laura-Jean would get the documents together. I          18· ·had an opportunity to review what's been marked
  19· · · · · would share them with special counsel.                  19· ·Exhibit 99?
  20· · · · · Mary Sullivan would review them.· We would go to        20· · · · · A.· · ·Yes.
  21· · · · · the trustees, and we would make the submission.         21· · · · · Q.· · ·Can you identify that document for me?
  22· · · · · Q.· · ·(By Mr. Gilligan)· In terms of, though,          22· · · · · A.· · ·It's a letter -- an e-mail to
  23· ·the interaction with the Department of Labor                   23· ·Roberta Muench from special counsel, Joyce Mader, dated
  24· ·investigator, who would speak to her on the Local 4            24· ·August 1, 2003 with a cc to me and Mary Sullivan.            App.147

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  ·1· · · · · · · · ·MR. GILLIGAN:· And by the way, for the           ·1· · · · · Q.· · ·So, to you, this was indicative of the
  ·2· · · · · record, that is the spelling of Ms. Muench's            ·2· ·fact that activity for any given fund might be
  ·3· · · · · name M-U-E-N-C-H.                                       ·3· ·substantially different year to year, based on
  ·4· · · · · Q.· · ·(By Mr. Gilligan)· Correct?                      ·4· ·regulatory or legal compliance?
  ·5· · · · · A.· · ·Yes.                                             ·5· · · · · A.· · ·Well, I wouldn't say substantially. I
  ·6· · · · · Q.· · ·Okay.· There you go.· I'd like to turn           ·6· ·would say, that, depending upon who's working on it,
  ·7· ·your attention to the third paragraph of Ms. Mader's           ·7· ·how many people, employees, and what the allocation is.
  ·8· ·e-mail.· And specifically, the second sentence thereof.        ·8· · · · · Q.· · ·But it's fair to say, that the enactment
  ·9· ·It says, "Gina and Mary are concerned that the                 ·9· ·by Congress of a new statute or the enactment of -- by
  10· ·allocation does not take into account the considerable         10· ·Department of Labor or one of the regulatory agencies
  11· ·time spent on HIPAA compliance for the welfare fund."          11· ·of new regulations can impact the amount of work done
  12· ·Do you know what Ms. Mader's alluding to there?                12· ·on a given fund from year to year?
  13· · · · · A.· · ·I don't.· I can say that, you know, when         13· · · · · A.· · ·Again, depending upon what's involved,
  14· ·HIPAA was enacted, you know, there was a lot of                14· ·you know, if that he is a mailing or if it's more than
  15· ·correspondence that we had to send and comply with for         15· ·that.· Depends on what the enactment is and the work
  16· ·the health & welfare fund.· So maybe, you know, for            16· ·that's involved, and who's doing it.
  17· ·that specific period of time that the allocation had to        17· · · · · Q.· · ·So it would directly correlate to how
  18· ·be tinkered with for the health & welfare fund only.           18· ·much employee activity was generated by the given law
  19· · · · · Q.· · ·So you were concerned, is a fair                 19· ·or regulation?
  20· ·assessment, you were concerned about the possibility           20· · · · · A.· · ·Yes.
  21· ·that the allocation for the welfare fund was being             21· · · · · Q.· · ·Okay.· And how would that be captured?
  22· ·skewed by regulatory activity like HIPAA compliance?           22· · · · · A.· · ·In the time sheets.
  23· · · · · A.· · ·Yes.· Any major change to one of the             23· · · · · Q.· · ·Thank you.
  24· ·funds.                                                         24· · · · · A.· · ·Currently.· So at this period of time

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· ·there were time sheets, pre-Department of Labor.               ·1· · · · · Q.· · ·And what's the subject matter of that?
  ·2· · · · · Q.· · ·Okay.· Very good.· And do you know when          ·2· · · · · A.· · ·Outstanding issues from the DOL audit.
  ·3· ·time sheets -- well, you know, let's wait on that for a        ·3· · · · · Q.· · ·And this is at list of 14 items you say
  ·4· ·minute.· One more thing.                                       ·4· ·are ongoing on this audit at the time?
  ·5· · · · · · · · ·Exhibit 99, the second paragraph,                ·5· · · · · A.· · ·That were outstanding, yes.
  ·6· ·Ms. Mader indicates, "Next week, while I'm gone, please        ·6· · · · · Q.· · ·I see a reference in the first bullet
  ·7· ·copy any correspondence to Gina and Mary so that they          ·7· ·point to admin. allocation.· And it's -- there's a
  ·8· ·may start working on it immediately"; do you know what         ·8· ·parenthetical indicating "Manzi time study."· Can you
  ·9· ·she's referring to there?                                      ·9· ·tell me what that is?
  10· · · · · A.· · ·No, I don't.                                     10· · · · · A.· · ·Manzi & Associates did the admin.
  11· · · · · Q.· · ·Okay.                                            11· ·allocation so I don't know, specifically, what the
  12                                                                  12· ·reference is, the outstanding issue.· But they,
  13· · · · · · · · ·(Exhibit 100, E-mail, August 4, 2003,            13· ·previously, did the percentages for the allocation.
  14· · · · · · · · ·marked)                                          14· · · · · Q.· · ·And do you know how they were doing that
  15                                                                  15· ·particular time study?
  16· · · · · Q.· · ·(By Mr. Gilligan)· Ms. Alongi, you've            16· · · · · A.· · ·The Manzi time study?
  17· ·been handed what's been marked Exhibit 100.· Have you          17· · · · · Q.· · ·Yes.
  18· ·had a chance to review that?                                   18· · · · · A.· · ·This is before the time sheets, correct?
  19· · · · · A.· · ·Yes.                                             19· · · · · Q.· · ·I can't answer that for you.
  20· · · · · Q.· · ·And can you identify that document for           20· · · · · A.· · ·Okay.· Well, I'm assuming -- well --
  21· ·me?                                                            21· · · · · Q.· · ·Don't assume.· You're going to get in
  22· · · · · A.· · ·It's an e-mail to Mary Sullivan from me,         22· ·trouble.
  23· ·copied to special counsel, Joyce Mader, dated                  23· · · · · A.· · ·I know.· Well, I can't answer the
  24· ·August 4, 2003.                                                24· ·question either until I get further clarification,           App.148

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  ·1· · · · · if I was heavily involved.· But I was involved          ·1· ·take a minute and examine what has been marked
  ·2· · · · · as everyone else was.                                   ·2· ·Exhibit 104, which is a four-page document.· And I'd
  ·3· · · · · Q.· · ·(By Mr. Gilligan)· Well, "as everyone            ·3· ·ask you to look at all those pages.· And when you've
  ·4· ·else was."· When you say "everyone else," who are you          ·4· ·finished that, let me know?
  ·5· ·referencing?                                                   ·5· · · · · A.· · ·Done.
  ·6· · · · · A.· · ·Mary Sullivan and special counsel,               ·6· · · · · Q.· · ·Okay.· Can you identify what's been
  ·7· ·Joyce Mader.                                                   ·7· ·marked Exhibit 104?
  ·8· · · · · Q.· · ·So other than the two attorneys, who are         ·8· · · · · A.· · ·It's an e-mail to Mary Sullivan from me,
  ·9· ·handling this for a legal perspective, would there have        ·9· ·copied to Ed Manzi, Joyce Mader, December dated
  10· ·been any one else who was more involved in this process        10· ·December 29, 2003.
  11· ·than you?                                                      11· · · · · Q.· · ·And can you tell me the subject matter of
  12· · · · · A.· · ·On the calculation end,                          12· ·that e-mail?
  13· ·Manzi & Associates?                                            13· · · · · A.· · ·There is no subject matter.
  14· · · · · Q.· · ·Anyone else.                                     14· · · · · Q.· · ·Okay.· Could you tell me what the e-mail
  15· · · · · A.· · ·In-house accountant -- CPA.                      15· ·discusses?
  16· · · · · Q.· · ·But from the a Local 4 funds perspective,        16· · · · · A.· · ·The proposed time sheet that we would
  17· ·you were the point person on this, correct?                    17· ·give to the fund employees.
  18· · · · · A.· · ·Yes.                                             18· · · · · Q.· · ·And who developed that time sheet?
  19· · · · · Q.· · ·Okay.· Very good.                                19· · · · · A.· · ·Excuse me.
  20                                                                  20· · · · · Q.· · ·Who developed that time sheet?
  21· · · · · · · · ·(Exhibit 104, E-mail, December 29, 2003,         21· · · · · A.· · ·I'm not sure who developed it.
  22· · · · · · · · ·marked)                                          22· · · · · Q.· · ·Is it you -- you're transmitting this
  23                                                                  23· ·time sheet, correct, to the other -- to other
  24· · · · · Q.· · ·(By Mr. Gilligan)· Ms. Alongi, if you            24· ·professionals; is that right?

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· · · · · A.· · ·Yes, it was a draft.                             ·1· ·was changed, if the trustees adopted it.· I don't know
  ·2· · · · · Q.· · ·Okay.· And you were seeking their                ·2· ·the specific details of it.
  ·3· ·feedback on this?                                              ·3· · · · · Q.· · ·Okay.· Did you create this document, or
  ·4· · · · · A.· · ·Yes.                                             ·4· ·did you ask someone to create it for you?
  ·5· · · · · Q.· · ·So having done that, is this a time sheet        ·5· · · · · A.· · ·I think you asked me that question.
  ·6· ·that you created?                                              ·6· · · · · · · · ·MR. VAN DYCK:· I think he's referring
  ·7· · · · · · · · ·MR. VAN DYCK:· Objection.· Asked and             ·7· · · · · just to this page.
  ·8· · · · · answered.· You can answer it again.                     ·8· · · · · Q.· · ·(By Mr. Gilligan)· I'm sorry.· This
  ·9· · · · · · · · ·THE WITNESS:· I don't know who created           ·9· ·particular aspect of Exhibit 104, the fourth page with
  10· · · · · it.                                                     10· ·the heading "Proposed Time Sheet Solution"?
  11· · · · · Q.· · ·(By Mr. Gilligan)· Do you recall asking          11· · · · · A.· · ·This does not look like a document I
  12· ·anyone to create it -- possibly create the time sheet          12· ·created.
  13· ·for you?                                                       13· · · · · Q.· · ·Okay.· Is it a document you may have
  14· · · · · A.· · ·I'm not sure who I asked.· If it was --          14· ·asked someone else to create?
  15· ·if it came from our accountant, or if it came from             15· · · · · A.· · ·I just can't recall who did it and if I
  16· ·Rose, Laura-Jean.· I'm not sure who I asked to do it.          16· ·asked someone.
  17· · · · · Q.· · ·Turning to the last page of the                  17· · · · · Q.· · ·Okay.· That is fine.· No don't -- I
  18· ·Exhibit 104, I see some bold lettering saying,                 18· ·mean --
  19· ·"proposed time sheet solution."· Do you recognize that         19· · · · · A.· · ·I'm --
  20· ·particular aspect of this document?                            20· · · · · · · · ·MR. VAN DYCK:· You don't need to
  21· · · · · A.· · ·I don't.                                         21· · · · · apologize for not remembering.
  22· · · · · Q.· · ·Have you seen this before?                       22· · · · · Q.· · ·(By Mr. Gilligan)· So you're not sure if
  23· · · · · A.· · ·Well, I've seen it.· But I don't recall,         23· ·this particular time sheet or this particular
  24· ·specifically, who did it, what we did with it, if it           24· ·methodology was ultimately adopted; is that                  App.149
                                                                                                                                          your


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  ·1· ·testimony?                                                     ·1· ·sheet?
  ·2· · · · · A.· · ·Some form of it was.· I don't know if it         ·2· · · · · A.· · ·I don't recall.
  ·3· ·was adopted verbatim what's on here.· But yes.                 ·3· · · · · Q.· · ·Do you recall when you -- the way you've
  ·4· · · · · Q.· · ·Okay.· So whether it was this specific           ·4· ·indicated that, or the way you've testified, makes me
  ·5· ·method or time sheet, at some point, time sheets were          ·5· ·believe at some point you ceased filling out a time
  ·6· ·implemented for the fund office employees?                     ·6· ·sheet; is that correct?
  ·7· · · · · A.· · ·Yes.                                             ·7· · · · · A.· · ·Yes.
  ·8· · · · · Q.· · ·And would it have been right around this         ·8· · · · · Q.· · ·Do you have any sense of when that may
  ·9· ·time, the beginning of 2004?                                   ·9· ·have occurred?
  10· · · · · A.· · ·I don't recall.                                  10· · · · · A.· · ·My best estimate is sometime in 2008.
  11· · · · · Q.· · ·So sometime around the beginning of 2004,        11· ·And that's just an estimate.
  12· ·is it fair to say, all fund employees were instructed          12· · · · · Q.· · ·What are you basing that estimate on?
  13· ·to begin filling out daily time sheets?                        13· · · · · A.· · ·That, you know, Manzi & Associates
  14· · · · · A.· · ·Yes.                                             14· ·determined, around that time, that the numbers or the
  15· · · · · Q.· · ·Okay.· Did everyone in the office fill           15· ·percentages to the funds allocation, based on time
  16· ·out those time sheets?                                         16· ·sheets, did not change significantly.
  17· · · · · A.· · ·Yes.                                             17· · · · · Q.· · ·And so, what was the consequence of that
  18· · · · · Q.· · ·How about you?                                   18· ·finding by Manzi?
  19· · · · · A.· · ·I did for period of time.                        19· · · · · A.· · ·Could you further explain your question?
  20· · · · · Q.· · ·Do you know what time period you would           20· · · · · Q.· · ·Yeah, sure.· So you said Manzi was
  21· ·have done that?                                                21· ·finding there wasn't significant change from year to
  22· · · · · A.· · ·I don't recall.                                  22· ·year; is that what you're saying?
  23· · · · · Q.· · ·Do you have a sense of for how long a            23· · · · · A.· · ·Right.
  24· ·period of time you may have filled out a daily time            24· · · · · Q.· · ·Did anyone else cease filling out a time

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  ·1· ·sheet, as of 2008, other than yourself?                        ·1· · · · · Q.· · ·Okay.· In the absence of time sheets, how
  ·2· · · · · A.· · ·No.                                              ·2· ·was your costs to the various funds going to be
  ·3· · · · · Q.· · ·Why not?                                         ·3· ·allocated?
  ·4· · · · · A.· · ·They were required to do it.                     ·4· · · · · A.· · ·Because my job consisted of, basically,
  ·5· · · · · Q.· · ·Weren't you required to do it?                   ·5· ·doing the same thing, you know, every day.· With
  ·6· · · · · A.· · ·My time had been consistent, unless there        ·6· ·respect to these funds, you know, I knew -- okay, with
  ·7· ·was a specific project that we were working on.· And we        ·7· ·the health & welfare fund, how much time, you know, was
  ·8· ·did make an adjustment for that year, when we                  ·8· ·allocated.
  ·9· ·dismantled the claims operation, I believe, in 2015.           ·9· · · · · · · · ·I had a whole claims operation that was
  10· ·You know there was a increase, at some point, in that          10· ·doing the majority of the work.· So my role was
  11· ·allocation to the health & welfare fund.                       11· ·somewhat limited to, you know, the trustees and
  12· · · · · · · · ·So when I stopped doing time sheets, the         12· ·preparing for trustees meetings.
  13· ·allocation was reviewed by Manzi and the trustees.· And        13· · · · · · · · ·You know, for the pension fund, you know,
  14· ·no one made a comment with respect to me doing time            14· ·was a little bit more involved with respect, you know,
  15· ·sheets.                                                        15· ·there was a whole host of investment managers.· And the
  16· · · · · Q.· · ·Back up for a minute.· As the                    16· ·annuity fund somewhat limited.· And the dues and the
  17· ·administrator, you provide services to all of the funds        17· ·SAC, same thing, issuing a check monthly.
  18· ·in the Local 4 fund office?                                    18· · · · · Q.· · ·Well, didn't you testify earlier, that
  19· · · · · A.· · ·Yes.                                             19· ·things like HIPAA could skew the amount of effort
  20· · · · · Q.· · ·And, also, to some degree, to the various        20· ·you're putting in for a given fund in any given year?
  21· ·non-ERISA entities?                                            21· · · · · A.· · ·Absolutely.
  22· · · · · A.· · ·To some degree.                                  22· · · · · Q.· · ·And how about something like the Pension
  23· · · · · Q.· · ·Is that a fairly small part of your time?        23· ·Protection Act of 2006?
  24· · · · · A.· · ·Fairly small.                                    24· · · · · A.· · ·As the administrator, I would -- youApp.150


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  ·1· ·know, if there was a mailing or whatever the                   ·1· ·memoranda and -- from counsel -- about what steps the
  ·2· ·responsibility was for the administration, I had a             ·2· ·fund had to take to comply with the -- with the new
  ·3· ·staff.· The staff recorded their time involved, if             ·3· ·statute?
  ·4· ·there was a specific mailing.                                  ·4· · · · · A.· · ·Well, you know, we had a fund counsel. I
  ·5· · · · · Q.· · ·Okay.· You're referencing mailings.· But         ·5· ·had compliance attorney working.· You know, so that was
  ·6· ·with respect to a statute like the Pension Protection          ·6· ·some something that they would review.
  ·7· ·Act, isn't there more to it than mailings; there was,          ·7· · · · · Q.· · ·Right.· I understand counsel is playing a
  ·8· ·kind of, a host of change as to how pension plans              ·8· ·role.· But aren't you, as the administrator,
  ·9· ·operated following that legislation, correct?                  ·9· ·interacting with counsel and working with them to make
  10· · · · · A.· · ·Correct.· And that's why we had plan             10· ·sure the fund is in compliance with the new statute?
  11· ·professionals.                                                 11· · · · · A.· · ·Well, can you give me an example?
  12· · · · · Q.· · ·But wouldn't you, as the administrator,          12· · · · · Q.· · ·Sure.· Weren't there a variety of new
  13· ·have to, kind of, amp up your level of interaction with        13· ·notices that would go out with the Pension Protection
  14· ·the professionals in order to implement policies that          14· ·Act?
  15· ·comply with this new statute.                                  15· · · · · A.· · ·To whom?
  16· · · · · · · · ·MR. VAN DYCK:· Objection.· You may               16· · · · · Q.· · ·To the participants.
  17· · · · · answer.                                                 17· · · · · A.· · ·So that would be a mailing.
  18· · · · · · · · ·THE WITNESS:· It would be the same as            18· · · · · Q.· · ·Yeah, that's a mailing.· But that's not
  19· · · · · with the health & welfare fund and any of the           19· ·just a mailing that -- let me ask you this, I mean, the
  20· · · · · other funds.· You know, it would be limited time        20· ·mailings's not creating itself, right; there's got to
  21· · · · · that I spent.                                           21· ·be some discussion of what has to go in the mailing?
  22· · · · · Q.· · ·(By Mr. Gilligan)· I mean, wouldn't you          22· · · · · A.· · ·Okay.· So that would be a draft of the
  23· ·be given -- and again, let's use the example the               23· ·correspondence that was being mailed?
  24· ·Pension Protection Act.· Wouldn't you be reviewing             24· · · · · Q.· · ·Yep.

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  ·1· · · · · A.· · ·Okay.· So if the consultants/actuary,            ·1· · · · · A.· · ·Well, again, mailings, correspondence
  ·2· ·whomever sent that to legal counsel, you know, so it           ·2· ·from the consultants.
  ·3· ·would be a document that I would review, or in-house           ·3· · · · · Q.· · ·Changes to benefits?
  ·4· ·counsel, or our compliance attorney at the time would          ·4· · · · · A.· · ·Which would be a mailing, right?
  ·5· ·review.· So what would it be, you know, a few-minute           ·5· · · · · Q.· · ·But didn't the Affordable Care Act impose
  ·6· ·review of a document and then turned over to, you know,        ·6· ·a number of requirements on funds, in terms of changes
  ·7· ·the clerical staff to send out.                                ·7· ·to eligibility, changes to benefits?· Things of that
  ·8· · · · · Q.· · ·And some of these statutes, I think, are         ·8· ·sort.
  ·9· ·pretty complex, we'd all agree.· And wouldn't review of        ·9· · · · · A.· · ·Well, that's why we paid the consultants,
  10· ·what hoops the fund was jumping through, you know,             10· ·to advise the trustees.· The trustees, probably, were
  11· ·entail a couple minutes of your time?                          11· ·advised at the time and, you know, it was on the
  12· · · · · A.· · ·Well, I'm not sure what I would do versus        12· ·agenda.
  13· ·the paid professionals, the actuaries and consultants,         13· · · · · Q.· · ·Okay.· But the consultants don't
  14· ·were doing with respect to the Pension Protection Act.         14· ·administer the fund, right?
  15· · · · · Q.· · ·Let's move to a different legislative            15· · · · · A.· · ·No.· But at the end of the day, whatever
  16· ·example, then.· The Affordable Care Act, you're                16· ·was decided with respect to communication material, you
  17· ·familiar with it?                                              17· ·know, would go out.
  18· · · · · A.· · ·Mm-hmm.                                          18· · · · · Q.· · ·And wouldn't you be involved in that
  19· · · · · Q.· · ·That was a rather substantial piece of           19· ·process?
  20· ·legislation, in terms of the operation of your health &        20· · · · · A.· · ·Reviewing the documents.
  21· ·welfare fund, correct?                                         21· · · · · Q.· · ·Okay.· And would you also be reviewing
  22· · · · · A.· · ·Mm-hmm.                                          22· ·implementation steps?
  23· · · · · Q.· · ·And again, didn't that entail a host of          23· · · · · A.· · ·With the change in the eligibility rules
  24· ·compliance steps that the fund had to take?                    24· ·or a benefits change?                                        App.151

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  ·1· · · · · Q.· · ·Sure.· So, for instance, all the children        ·1· ·time allotment to the pension fund would be greater;
  ·2· ·of the members up to the age of 26 are now eligible for        ·2· ·and in the year in which the Affordable Care Act was
  ·3· ·benefits, correct?                                             ·3· ·passed, your allotment of time for the health & welfare
  ·4· · · · · A.· · ·Right.                                           ·4· ·fund would have been increased?
  ·5· · · · · Q.· · ·So that's a big change, correct?                 ·5· · · · · · · · ·MR. VAN DYCK:· Objection as to form.· You
  ·6· · · · · A.· · ·But what did I specifically have to do           ·6· · · · · can answer.
  ·7· ·with that, though?                                             ·7· · · · · · · · ·THE WITNESS:· No.
  ·8· · · · · Q.· · ·Well, wouldn't you, as the administrator,        ·8· · · · · Q.· · ·(By Mr. Gilligan)· No?
  ·9· ·be assuring that plan documents were updated, notices          ·9· · · · · A.· · ·Because of the professional people that I
  10· ·given, all the other steps to actually implement this          10· ·had working under me and the outside actuaries,
  11· ·legal change?                                                  11· ·consultants and counsel.
  12· · · · · A.· · ·That's why I had two in-house attorneys.         12· · · · · Q.· · ·So if you cease filling out these time
  13· · · · · Q.· · ·And who were those?                              13· ·sheets, how was the allocation to the various funds for
  14· · · · · A.· · ·Greg Geiman and Alice Kurtz.                     14· ·your time determined?
  15· · · · · Q.· · ·And are you testifying that your                 15· · · · · A.· · ·The accounting firm, whether it was
  16· ·activities, vis-a-vis, each fund, wouldn't change in           16· ·Ed Manzi or Jeannie, would meet with me at the end of
  17· ·any respect with the passage of something as                   17· ·the year.· And we would determine whether there were
  18· ·significant as the Affordable Care Act?                        18· ·any significant changes in the allocation.
  19· · · · · A.· · ·I understand that it was significant.            19· · · · · · · · ·You know, as I mentioned earlier, you
  20· ·But so was the Pension Protection Act.                         20· ·know, we had one change, which was significant, when I
  21· · · · · Q.· · ·Okay.                                            21· ·made the recommendation in 2015 to the board of
  22· · · · · A.· · ·You know so...                                   22· ·trustees of the health & welfare fund to dismantle the
  23· · · · · Q.· · ·So wouldn't it be fair to say, that the          23· ·the health & welfare fund claims adjudication --
  24· ·year that the Pension Protection Act was passed, your          24· · · · · Q.· · ·Okay.

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· · · · · A.· · ·-- in house.                                     ·1· ·question me.
  ·2· · · · · Q.· · ·What was the process you went through            ·2· · · · · Q.· · ·And when they questioned you, how long
  ·3· ·with Manzi to allocate your time?                              ·3· ·did that process take?
  ·4· · · · · A.· · ·They would do the spreadsheet, you know,         ·4· · · · · A.· · ·I don't recall.
  ·5· ·which was consistent with the prior year.· Asked me if         ·5· · · · · Q.· · ·Was it a day-long interview?· What it,
  ·6· ·there were any adjustments and whether it was --               ·6· ·you know, 15 minutes?· An hour?· Best estimate of that?
  ·7· ·whether any changes had to be made to it.                      ·7· · · · · A.· · ·I can't remember.
  ·8· · · · · Q.· · ·And you said they did this once a year?          ·8· · · · · Q.· · ·And who would conduct that conversation
  ·9· · · · · A.· · ·Well, for a period of time we were               ·9· ·with you, was it Ms. Mikal?
  10· ·resetting the admin. allocation every six months.              10· · · · · A.· · ·Yes.
  11· · · · · Q.· · ·Okay.                                            11· · · · · Q.· · ·But you have no idea the amount of the
  12· · · · · A.· · ·And then we went to annually.                    12· ·amount of time in your day it would take for you to
  13· · · · · Q.· · ·And when you're having these discussions         13· ·have that conversation?
  14· ·-- let's back up one second.· So at this point, Manzi          14· · · · · A.· · ·No.
  15· ·has become the funds auditors; is that correct?· This          15· · · · · Q.· · ·Particularly at the point where this is
  16· ·is 2008.                                                       16· ·be done once a year, how can you recall the volume of
  17· · · · · A.· · ·Yes. I don't know what period of time.           17· ·day-to-day work you were doing for each specific fund?
  18· · · · · Q.· · ·I mean, you're confident Manzi was --            18· · · · · A.· · ·Because my job didn't change.· You know,
  19· · · · · A.· · ·Oh definitely.                                   19· ·unless, of course, you know, it was one of those
  20· · · · · Q.· · ·Okay.· And when you had these either             20· ·legislative changes.· But, basically, I would do the
  21· ·twice a year or annual discussions with them, did those        21· ·same thing, same time of month every day.
  22· ·occur in person or over the phone?                             22· · · · · Q.· · ·How can that be, that your months are
  23· · · · · A.· · ·I believe both.· If they happened to be          23· ·static year after year; that done seem possible to me?
  24· ·doing the audit at the time, in the office, they would         24· · · · · · · · ·MR. VAN DYCK:· Objection as to form.·          App.152
                                                                                                                                           You


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  ·1· · · · · may answer.                                             ·1· · · · · lines of, you know, whether it was necessary
  ·2· · · · · · · · ·THE WITNESS:· Well, you know, I know my          ·2· · · · · because it was time-consuming.
  ·3· · · · · job.· You know, I obviously did it well.· And,          ·3· · · · · · · · ·You know, these time sheets that the
  ·4· · · · · you know, my responsibilities didn't change.            ·4· · · · · employees were completing weren't very accurate,
  ·5· · · · · Q.· · ·(By Mr. Gilligan)· So you were involved          ·5· · · · · okay, because things were getting allocated to
  ·6· ·in this Department of Labor process, the end product of        ·6· · · · · certain buckets, which is a way of just
  ·7· ·which is the administrator shared services agreement           ·7· · · · · recording time.· You know, so we had to change
  ·8· ·and agreement for people to maintain time sheets to            ·8· · · · · the time sheet form to make it more specific,
  ·9· ·allocation expenses, correct?                                  ·9· · · · · you know, in the later years.· So when, you
  10· · · · · A.· · ·Right.                                           10· · · · · know, we first -- or when I first started doing
  11· · · · · Q.· · ·Was it the essence of the dispute with           11· · · · · it the numbers weren't changing.
  12· ·the Department of Labor and the resolution that                12· · · · · Q.· · ·(By Mr. Gilligan)· You indicate you must
  13· ·specific data was needed regarding the work for each           13· ·have had a discussion with someone about this.· Do you
  14· ·specific fund so no fund was subsidizing the other             14· ·recall such a conversation?
  15· ·fund?                                                          15· · · · · A.· · ·I don't.
  16· · · · · A.· · ·Right.                                           16· · · · · Q.· · ·So you probably, then, don't recall with
  17· · · · · · · · ·MR. VAN DYCK:· Objection.                        17· ·whom that conversation would have occurred, or do you?
  18· · · · · Q.· · ·(By Mr. Gilligan)· Okay.· So you concur          18· · · · · A.· · ·I don't.
  19· ·on that.· And my question is, given that framework, why        19· · · · · Q.· · ·Okay.· Did you ever have a conversation
  20· ·would you have ceased keeping time sheets?                     20· ·with the trustees regarding your ceasing to keep time
  21· · · · · · · · ·MR. VAN DYCK:· Objection.· Asked and             21· ·sheets?
  22· · · · · answered.· You can answer.                              22· · · · · A.· · ·I don't recall.
  23· · · · · · · · ·THE WITNESS:· Basically, you know, I must        23· · · · · Q.· · ·Do you ever recall bringing it up in any
  24· · · · · have had a discussion with someone along the            24· ·trustees' meeting, or have the board act on or approve

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· ·such a change?                                                 ·1· · · · · significant.· I think, in one of last e-mails
  ·2· · · · · A.· · ·We would have the change in the admin.           ·2· · · · · you showed me from Attorney Mader, she said, my
  ·3· ·allocation brought to the board every six months, so           ·3· · · · · recommendation would be.· It was her
  ·4· ·annually, for them to approve it.                              ·4· · · · · recommendation that we implement a time sheet
  ·5· · · · · Q.· · ·So you would bring the new allocation to         ·5· · · · · system.
  ·6· ·the board for their approval.· Was there a discussion          ·6· · · · · Q.· · ·(By Mr. Gilligan)· And such a time sheet
  ·7· ·with the board regarding the method by which those             ·7· ·system was, in fact, adopted, correct?
  ·8· ·numbers were arrived at?                                       ·8· · · · · A.· · ·Yes.
  ·9· · · · · A.· · ·They never asked, no.                            ·9· · · · · Q.· · ·Okay.· And, in fact, you produced, at
  10· · · · · Q.· · ·Okay.· And to the board's knowledge,             10· ·some point, or circulated a proposed time sheet in a
  11· ·everyone was filling out time sheets in accordance with        11· ·proposed manner in which time would be kept in the
  12· ·the agreement with Department of Labor, correct?               12· ·office, correct?
  13· · · · · · · · ·MR. VAN DYCK:· Objection as to form.             13· · · · · A.· · ·Yes.
  14· · · · · · · · ·THE WITNESS:· I'm not sure board new that        14· · · · · Q.· · ·And isn't it true that the Administrative
  15· · · · · time sheets were being done.· The accounting            15· ·Shared Service Agreement requires that each employee
  16· · · · · firm, typically, calculated the admin.                  16· ·account for their time across funds?
  17· · · · · allocation for this fund and other funds that           17· · · · · · · · ·MR. VAN DYCK:· Objection as to form.
  18· · · · · they service.· So I'm not sure if the board knew        18· · · · · · · · ·THE WITNESS:· Yes.
  19· · · · · that there were time sheets.                            19· · · · · Q.· · ·(By Mr. Gilligan)· * Okay.· And is that
  20· · · · · Q.· · ·(By Mr. Gilligan)· I mean, weren't the           20· ·also true that that is required as per the employee
  21· ·time sheets a significant aspect of the resolution             21· ·handbook for Local 4 fund employees?
  22· ·reached for the Department of Labor and the audit?             22· · · · · · · · ·MR. VAN DYCK:· Objection as to form.
  23· · · · · · · · ·MR. VAN DYCK:· Objection as to form.             23· · · · · · · · ·You can answer, if you know.
  24· · · · · · · · ·THE WITNESS:· I don't know if it was             24· · · · · · · · ·THE WITNESS:· What was the question?           App.153

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  ·1· · · · · · · · ·MR. GILLIGAN:· Can you read the question         ·1· ·correct?
  ·2· · · · · back, please?                                           ·2· · · · · A.· · ·Yes.
  ·3                                                                  ·3· · · · · Q.· · ·Okay.· And you were an employee of the
  ·4· · · · · · · · ·* (Question read)                                ·4· ·Local 4 funds, correct?
  ·5                                                                  ·5· · · · · A.· · ·Yes.
  ·6· · · · · · · · ·(Exhibit 105, Handbook, marked)                  ·6· · · · · Q.· · ·And you were an employee who worked for
  ·7                                                                  ·7· ·more than one fund, correct?
  ·8· · · · · Q.· · ·(By Mr. Gilligan)· Ms. Alongi, you've            ·8· · · · · A.· · ·Yes.
  ·9· ·been handed what's been marked Exhibit 105.· I was             ·9· · · · · Q.· · ·So based on that, why would you not then
  10· ·wondering if you could identify that document for me?          10· ·be filling out such a time sheet?
  11· · · · · A.· · ·This is the fund office employee                 11· · · · · A.· · ·Because my job duties didn't change.
  12· ·handbook.                                                      12· ·And, you know, in the job descriptions that were
  13· · · · · Q.· · ·And if you would, please, would you turn         13· ·prepared, nothing said anything about time sheets in
  14· ·to page four of Exhibit 105.· And if you look at --            14· ·those two job descriptions.· You know, this employee
  15· ·toward the top third of the -- page four -- there's a          15· ·handbook was prepared for my office staff.· We had
  16· ·heading Weekly Time Sheet.                                     16· ·nothing, you know, for the the employees.· So this is
  17· · · · · A.· · ·Mm-hmm.                                          17· ·basically -- was done for the benefit of the employees.
  18· · · · · Q.· · ·And am I correct, that it indicates              18· · · · · Q.· · ·But weren't you one of the employees?
  19· ·there, under all employees, exempt or nonexempt, that          19· · · · · A.· · ·I was.
  20· ·work under the jurisdiction of more than one fund must         20· · · · · Q.· · ·Okay.· And you reference job
  21· ·complete a weekly time sheet located in the fund's             21· ·descriptions.· What are you alluding it there?
  22· ·public drive."                                                 22· · · · · A.· · ·There were two job descriptions that were
  23· · · · · A.· · ·I see that.                                      23· ·prepared.· One, the content was pretty involved with
  24· · · · · Q.· · ·And that indicates all employees,                24· ·respect to my roles.· And the other one, a summary of

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   ·1· · · · · Q.· · ·Okay.· Were those -- well, number one,
  ·1· ·my job responsibilities and duties.· And nowhere, in my        ·2· ·what that employment contract ever entered into?
  ·2· ·specific job responsibility, was there a creation of a         ·3· · · · · A.· · ·No.
  ·3· ·time sheet.                                                    ·4· · · · · Q.· · ·And were those job descriptions ever
  ·4· · · · · Q.· · ·Okay.                                            ·5· ·officially adopted by the funds?
  ·5· · · · · A.· · ·A time sheet.                                    ·6· · · · · · · · ·MR. VAN DYCK:· Objection as to form.
  ·6· · · · · Q.· · ·Those job descriptions, am I right that          ·7· · · · · · · · ·THE WITNESS:· Adopted by the funds or the
  ·7· ·those were circulated in conjunction with discussions          ·8· · · · · trustees or --
  ·8· ·of your getting an employment contract with the Local 4        ·9· · · · · Q.· · ·(By Mr. Gilligan)· The trustees.
  ·9· ·funds?
                                                                      10· · · · · A.· · ·No, because we didn't enter into an
  10· · · · · A.· · ·Yes.
                                                                      11· ·agreement.· But those two job description documents
  11· · · · · Q.· · ·And when did that take place?
                                                                      12· ·have been around for a while.
  12· · · · · A.· · ·I'm not sure.
                                                                      13· · · · · Q.· · ·You're saying, they were not created in
  13· · · · · Q.· · ·Well, would it have been on or after
                                                                      14· ·conjunction with the discussions about an employment
  14· ·May 1st of 2018?
                                                                      15· ·contract for you?
  15· · · · · A.· · ·Possibly.
                                                                      16· · · · · A.· · ·I think they were edited.
  16· · · · · Q.· · ·Well, let me see if I can refresh your
  17· ·recollection.· Those discussions occurred after you and        17· · · · · Q.· · ·Do you know when those job descriptions
  18· ·Mr. McLaughlin had the blowup on May 1, 2018; does             18· ·were created, initially?
  19· ·that --                                                        19· · · · · A.· · ·My best estimate is, when we did a series
  20· · · · · A.· · ·Yes.                                             20· ·of compensation studies, the staff or I had to do job
  21· · · · · Q.· · ·-- ring a bell?· And following that, you         21· ·descriptions.· And I think, one or both of them,
  22· ·were looking for the security of an employment                 22· ·documents, in part, were created at some point and then
  23· ·contract; is that correct?                                     23· ·edited later.
  24· · · · · A.· · ·Yes.                                             24· · · · · Q.· · ·You said a job study.              App.154

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  ·1· ·management letters?                                           ·1· ·and what to look for.
  ·2· · · · · A.· · ·Yes, they did.                                  ·2· · · · · Q.· · ·Fair to say, you were the highest paid
  ·3· · · · · Q.· · ·And when they did that, they didn't             ·3· ·person working for the funds when you were there,
  ·4· ·present those to the trustees in person?                      ·4· ·correct?
  ·5· · · · · A.· · ·No.· They would give me the management          ·5· · · · · A.· · ·Yes.
  ·6· ·rep. letter.· And then, I would take it to the specific       ·6· · · · · Q.· · ·And is it also fair to say, your salary
  ·7· ·boards and point out anything that was of concern.            ·7· ·and benefits constitute a significant part of the funds
  ·8· · · · · Q.· · ·So, basically, you would present any            ·8· ·collective over all administrative expenses?
  ·9· ·management letters.· And would you present the audit to       ·9· · · · · · · · ·MR. VAN DYCK:· Objection.
  10· ·the trustees?                                                 10· · · · · · · · ·THE WITNESS:· Yes.
  11· · · · · A.· · ·I would.                                        11· · · · · Q.· · ·(By Mr. Gilligan)· And I want -- I want
  12· · · · · Q.· · ·Okay.· Was that true with KPMG as well?         12· ·to just be crystal clear on a point.· Was the issue of
  13· · · · · A.· · ·Based on my memory, I never saw KPMG.           13· ·your not -- discontinuing filling out time sheets --
  14· ·They never came in the office.· And the reports that          14· ·ever presented to the trustees at a meeting?
  15· ·they distributed, I believe that was the same process.        15· · · · · A.· · ·I never presented it.
  16· ·That they would send the reports in multiple cartons,         16· · · · · Q.· · ·Who else would have, if anyone; you would
  17· ·and I would distribute them to the trustees and do the        17· ·be the only person who'd present such a thing, right?
  18· ·report.                                                       18· · · · · A.· · ·It would have been in the management
  19· · · · · Q.· · ·You, yourself, you're not a CPA, correct?       19· ·letter or the audit.
  20· · · · · A.· · ·No, I'm not.· But I do have a CPA that          20· · · · · Q.· · ·Do you recall, specifically, at any time,
  21· ·works for me.· And I spend hours and hours analyzing          21· ·that there was a management letter or a reference in
  22· ·the financial statements and did take classes at              22· ·the annual audit to your ceasing to do daily time
  23· ·Bentley on managerial accounting.· So I'm pretty              23· ·sheets?
  24· ·comfortable with balance sheets and income statements         24· · · · · A.· · ·I don't recall.

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  ·1· · · · · · · · ·MR. GILLIGAN:· Can we take five minutes?        ·1· · · · · A.· · ·Oh I remember it now.
  ·2· · · · · · · · ·MR. VAN DYCK:· Yeah.· Lunch is not here         ·2· · · · · Q.· · ·Okay.· Based on what we've discussed, can
  ·3· · · · · yet.                                                   ·3· ·you characterize what the issue was for me?
  ·4                                                                 ·4· · · · · A.· · ·I believe the hardship distributions were
  ·5· · · · · · · · ·(A recess was taken)                            ·5· ·coming out of the wrong bucket source.
  ·6                                                                 ·6· · · · · Q.· · ·Okay.
  ·7· · · · · Q.· · ·(By Mr. Gilligan)· Back on.· So                 ·7· · · · · A.· · ·That it was coming out of the annuity
  ·8· ·Ms. Alongi, it's my understanding that in 2011, 2012,         ·8· ·versus the 401K.
  ·9· ·the annuity fund had an issue with the IRS; do you            ·9· · · · · Q.· · ·And do you recall -- and that's
  10· ·recall that?                                                  10· ·impermissible, right?
  11· · · · · A.· · ·I'm trying to recall it.· But my mind is        11· · · · · A.· · ·Yes, yes.
  12· ·blank right now.                                              12· · · · · Q.· · ·What you're referring to, the annuity,
  13· · · · · Q.· · ·Let me see if I can jog your memory.· Was       13· ·that's strictly employer contribution --
  14· ·there an IRS audit, possibly, of the annuity fund?            14· · · · · A.· · ·The employer source versus the employee
  15· · · · · A.· · ·Give me a little more, please.                  15· ·source.
  16· · · · · Q.· · ·Was there ever an issue with respect to         16· · · · · Q.· · ·And the 401K component is a wage deferral
  17· ·the manner in which the annuity fund was providing            17· ·that's elective for the employee?
  18· ·hardship distributions?                                       18· · · · · A.· · ·Yes.
  19· · · · · A.· · ·I'm sorry, my mind is blank.                    19· · · · · Q.· · ·And it's your understanding that any
  20· · · · · Q.· · ·Okay.· Try to be even more specific.· My        20· ·hardship distributions must come from that 401K bucket,
  21· ·understanding of the annuity fund, is it has a employer       21· ·correct?
  22· ·contribution component?                                       22· · · · · A.· · ·Yes.
  23· · · · · A.· · ·Yes.                                            23· · · · · Q.· · ·Okay.· So can you tell me with that as,
  24· · · · · Q.· · ·Okay.                                           24· ·sort of, background, what the issue was with IRS on
                                                                                                                                App.155

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  ·1· · · · · A.· · ·The suspension of benefits issue?           ·1· ·amount of time in a given year you spent on the pension
  ·2· · · · · Q.· · ·Yeah.· With Slevin & Hart?                  ·2· ·fund versus the other funds?
  ·3· · · · · A.· · ·I don't remember.· If you can give me       ·3· · · · · A.· · ·Again, I had consultants in-house
  ·4· ·some more information, I'll remember.· But I --           ·4· ·counsel, two attorneys, and, you know, an assistant
  ·5· · · · · · · · ·MR. VAN DYCK:· It's okay, if you don't      ·5· ·that did the majority of the work.
  ·6· · · · · remember.                                          ·6· · · · · Q.· · ·And who was the assistant?
  ·7· · · · · Q.· · ·(By Mr. Gilligan)· Do you recall the fund   ·7· · · · · A.· · ·Laura-Jean.
  ·8· ·having to pay additional benefits to people, as a         ·8· · · · · Q.· · ·Okay.· So Ms. Alongi, I'm looking at some
  ·9· ·result of this particular mishap?                         ·9· ·time allocations that Manzi has produced to us, which
  10· · · · · A.· · ·Yes.                                        10· ·have been shared with your counsel.· And it looks to me
  11· · · · · Q.· · ·Okay.                                       11· ·like 2014, the last quarter of 2014, September through
  12· · · · · A.· · ·I remember that.                            12· ·November 2014, you're attributing 29 percent of your
  13· · · · · Q.· · ·And do you recall the magnitude of that     13· ·time to the health & welfare fund, 48.7776 percent of
  14· ·correction?                                               14· ·your time to the pension fund; and 12.4667 percent of
  15· · · · · A.· · ·I know the amount was substantial. I        15· ·your time to the annuity fund; does that sound
  16· ·don't know what the exact amount was.                     16· ·plausible?
  17· · · · · Q.· · ·Would something on the order of             17· · · · · · · · ·MR. VAN DYCK:· I just -- the witness
  18· ·16 million sound correct to you?                          18· · · · · doesn't have the document in front of her.
  19· · · · · A.· · ·Yes.                                        19· · · · · · · · ·MR. GILLIGAN:· Yeah, no.· Let's put it in
  20· · · · · Q.· · ·Okay.· And with that, sort of, by way of    20· · · · · front of her.· Let's mark this as --
  21· ·background, do you recall dealing with Mr. Endick on      21· · · · · · · · ·MR. VAN DYCK:· I'm sure you're accurately
  22· ·the issue and its resolution?                             22· · · · · representing --
  23· · · · · A.· · ·My mind is blank.                           23· · · · · · · · ·MR. GILLIGAN:· Yeah.· No, no.· Why don't
  24· · · · · Q.· · ·Okay.· And that wouldn't have changed the   24· · · · · we get that marked.

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  ·1· · · · · · · · ·(Exhibit 106, Time Study, marked)           ·1· · · · · A.· · ·When Manzi said that there were small
  ·2                                                             ·2· ·adjustments to the admin. allocation percentages, in
  ·3· · · · · Q.· · ·(By Mr. Gilligan)· And again, Ms. Alongi,   ·3· ·2008, I believe.
  ·4· ·could you identify Exhibit 106; have you ever seen this   ·4· · · · · Q.· · ·Was there any correspondence on that, or
  ·5· ·document before?                                          ·5· ·anything in writing that you recall from that period?
  ·6· · · · · A.· · ·Yes.                                        ·6· · · · · A.· · ·From Manzi?
  ·7· · · · · Q.· · ·Okay.· And can you tell me what that        ·7· · · · · Q.· · ·From Manzi?
  ·8· ·document is?                                              ·8· · · · · A.· · ·Saying that?
  ·9· · · · · A.· · ·It's a time study prepared by, I think,     ·9· · · · · Q.· · ·Yes.
  10· ·Becky Zaccardi did the first pass at the calculation,     10· · · · · A.· · ·I thought there was something.· I just
  11· ·and then would send it over to Nancy to calculate it      11· ·don't know where it is or what it was.· I thought I
  12· ·further.                                                  12· ·read something.
  13· · · · · Q.· · ·How would Becky Zacardi take the first      13· · · · · Q.· · ·All right.· So when Becky Zaccardi would
  14· ·pass at this -- coming up with these calculations?        14· ·do this, would she talk to you at all; did she
  15· · · · · A.· · ·From the time sheets.                       15· ·interview you at all, about the distribution of your
  16· · · · · Q.· · ·And this is a period of time when you've    16· ·time?
  17· ·ceased doing time sheets yourself, correct?               17· · · · · A.· · ·No.· She didn't interview me.· But she
  18· · · · · A.· · ·I don't know when that was.                 18· ·knew I wasn't doing time sheets.
  19· · · · · Q.· · ·Well, do you think you were keeping time    19· · · · · Q.· · ·My question is directed at how would
  20· ·sheets in September through November 2014?                20· ·Becky have known how to apportion your time.
  21· · · · · A.· · ·I don't remember.                           21· · · · · A.· · ·I think what she did was she looked at
  22· · · · · Q.· · ·I believe you've testified you think you    22· ·the prior -- was it a three-month or six-month study?
  23· ·stopped keeping the time sheets, maybe, in 2008; does     23· ·And then, once it went to Jeannie, you know, that's
  24· ·that jog your memory?                                     24· ·when things would start being questioned. App.156


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  ·1· · · · · Q.· · ·And do you know what that process was              ·1· ·could identify that document?
  ·2· ·between Becky and Jeannie, or were you privy to that?            ·2· · · · · A.· · ·It's a time study done for April through
  ·3· · · · · A.· · ·No.· The only thing I actually received,           ·3· ·September, to be allocated the first of the year, 2016.
  ·4· ·you know, because they'd go back and forth with it, the          ·4· · · · · Q.· · ·And let me draw your attention to the
  ·5· ·only thing I received was the final, or what was                 ·5· ·allocation of your time in Exhibit 107 versus the same
  ·6· ·considered to be the final for review.                           ·6· ·thing in Exhibit 106.· Do you know notice the
  ·7· · · · · Q.· · ·And when you got the final, was there any          ·7· ·difference?
  ·8· ·conversation had with you, by either Becky Zaccardi or           ·8· · · · · A.· · ·Mm-hmm.
  ·9· ·Jeannie Mikal, about your time allocation?                       ·9· · · · · Q.· · ·And what is that difference?
  10· · · · · A.· · ·Well, you know, it was either Becky                10· · · · · A.· · ·The pension plan went up almost
  11· ·and/or Jeannie depending upon when.· They would say,             11· ·10 percent.
  12· ·does this look accurate, does this reflect.                      12· · · · · Q.· · ·And was there a change on any of the
  13· · · · · Q.· · ·And then, how would you make that                  13· ·other funds of that similar magnitude?
  14· ·determination yourself?                                          14· · · · · A.· · ·That health & welfare fund.
  15· · · · · A.· · ·Based on the allocation to the other               15· · · · · Q.· · ·And what happened with the health &
  16· ·funds.· You know, whether it's consistent, you know, in          16· ·welfare fund?
  17· ·the prior years.                                                 17· · · · · A.· · ·It went down the 10 percent.
  18· · · · · · · · ·MR. GILLIGAN:· Let's mark this 107.                18· · · · · Q.· · ·And to what do you attribute that?
  19                                                                    19· · · · · A.· · ·I think what happened was, in 2015, we
  20· · · · · · · · ·(Exhibit 107, Time Study, marked)                  20· ·dismantled the health & welfare fund claims office.
  21                                                                    21· · · · · Q.· · ·Okay.
  22· · · · · Q.· · ·(By Mr. Gilligan)· And Ms. Alongi, I'd             22· · · · · A.· · ·So because I spent a lot of time, you
  23· ·ask you to keep 106 handy as well.· I'm handing you              23· ·know, doing that particular responsibility, in 2015, we
  24· ·what's been marked Exhibit 107.· And I'd ask if you              24· ·increased the health & welfare fund, you know, by that

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  ·1· ·10 percent.                                                      ·1· ·some of these duties, because we lost the health &
  ·2· · · · · Q.· · ·Well, did you increase it in Exhibit 106,          ·2· ·welfare manager.
  ·3· ·or decrease it in Exhibit 107, I guess, is my question?          ·3
  ·4· · · · · A.· · ·Well, it was decreased in 107 to 19                ·4· · · · · · · · ·(Exhibit 108, Time Study, marked)
  ·5· ·percent.                                                         ·5
  ·6· · · · · Q.· · ·Yes.                                               ·6· · · · · Q.· · ·(By Mr. Gilligan)· Ms. Alongi, you've
  ·7· · · · · A.· · ·From 29 percent.                                   ·7· ·been handed what's been marked as Exhibit 108.· Can you
  ·8· · · · · Q.· · ·Right.· And you're saying the elimination          ·8· ·identify that document?
  ·9· ·of the claims payment department accounts for that?              ·9· · · · · A.· · ·It's a time study for the period
  10· ·I'm not trying to put words in your mouth.                       10· ·June 2016 through October 2016 to be allocated
  11· · · · · A.· · ·I believe so.· You know, in 2015, you              11· ·January 1st of 2017.
  12· ·know, is when we dismantled the claims operation.                12· · · · · Q.· · ·So that the allocation from that study
  13· · · · · Q.· · ·And is it true, that, when you dismantled          13· ·period is going to be used to determine a
  14· ·the claims operation, you also got rid of your health &          14· ·administrative expense distribution for the entirety of
  15· ·welfare manager?                                                 15· ·the next calendar year, correct, right?
  16· · · · · A.· · ·Yes.                                               16· · · · · A.· · ·Yes.
  17· · · · · Q.· · ·So wouldn't it actually stand to reason            17· · · · · Q.· · ·Okay.· And looking at your own
  18· ·that your responsibilities might have increased because          18· ·allocations, Exhibit 108 is identical to Exhibit 107,
  19· ·the work that the health & welfare manager was doing is          19· ·correct?
  20· ·no longer being done?                                            20· · · · · A.· · ·Yes.
  21· · · · · A.· · ·No.                                                21· · · · · Q.· · ·And these calculations, I mean, they
  22· · · · · Q.· · ·No?                                                22· ·are -- with respect to, say, the pension fund, they are
  23· · · · · A.· · ·Because at that same period of time Greg           23· ·very detailed.· 58.7776 percent.· You see that?
  24· ·and Laura-Jean had asked to be promoted to assist me in          24· · · · · A.· · ·Mm-hmm.
                                                                                                                                 App.157

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Iuoe Local 4 Health & Welfare Fund, et al.                               June 22, 2022
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  ·1· ·meetings, how often were those held?                                ·1· ·to the coalition meetings and discuss these legislative
  ·2· · · · · A.· · ·Maybe, the same.· I can't really recall.              ·2· ·updates.
  ·3· ·But, maybe, three or four a year.                                   ·3· · · · · Q.· · ·And then, you would -- you were also
  ·4· · · · · Q.· · ·In the duties that are set forth or                   ·4· ·charged with arranging for scheduled speakers of
  ·5· ·services, subpart B indicates "advise the members of                ·5· ·interest coalition, did you to that?
  ·6· ·coalition of legislation events and issues of                       ·6· · · · · A.· · ·Yes.
  ·7· ·importance to them."                                                ·7· · · · · Q.· · ·And then, "represent the coalition on all
  ·8· · · · · A.· · ·Yes.                                                  ·8· ·matters requested by the executive board," what would
  ·9· · · · · Q.· · ·How would you do that?                                ·9· ·that entail?
  10· · · · · A.· · ·We might have a presentation from Segal               10· · · · · A.· · ·If the executive board had a specific
  11· ·or another firm.· For example, you know, on Cadillac                11· ·project, you know, we discussed, you know, this big
  12· ·tax, you know, Pension Protection Act.· Whatever the                12· ·wellness event, which, you know, wasn't the first.· We
  13· ·subject was, we would have an outside professional come             13· ·had done many events in the past.· But a subject like
  14· ·in.                                                                 14· ·that, the executive board would discuss it first, make
  15· · · · · Q.· · ·And I see one of the other -- we skip to              15· ·the decision financially, if we had the money in the
  16· ·D, for some reason.· But "to educate legislative and                16· ·budget.· And then, bring it to the regular board to
  17· ·executive federal and statement governments on matters              17· ·review.
  18· ·of importance," did you do that?                                    18· · · · · Q.· · ·Did you maintain the records of the
  19· · · · · A.· · ·What I would do is, you know, go to                   19· ·coalition; did you do that?
  20· ·the -- I worked closely with Frank Callahan from the                20· · · · · A.· · ·Laura-Jean did that.
  21· ·Mass. building trades.· And what we would do is, if he              21· · · · · Q.· · ·Laura-Jean did that.· Did the coalition
  22· ·was having a conference, I made sure I was there,                   22· ·have an agreement with Laura-Jean?
  23· ·reported back to the coalition members, if it was any               23· · · · · A.· · ·No.
  24· ·topic of significance.· I'd have Frank Callahan come in             24· · · · · Q.· · ·So is it fair to say, you're the one who

                                                                Page 131                                                           Page 132

  ·1· ·assigned that work to Laura-Jean?                                   ·1· · · · · A.· · ·Yes.
  ·2· · · · · A.· · ·Yes.                                                  ·2· · · · · Q.· · ·Okay.· Did the coalition have office
  ·3· · · · · · · · ·MR. VAN DYCK:· Objection.                             ·3· ·space anywhere?
  ·4· · · · · Q.· · ·(By Mr. Gilligan)· "Filed required                    ·4· · · · · A.· · ·The coalition had office space,
  ·5· ·reports with regulatory agencies."· Did you to that?                ·5· ·throughout the years prior to me taking over in 2007,
  ·6· · · · · A.· · ·I didn't do it specifically.                          ·6· ·Lou Malzone from Local SEIU, Stationary Engineers Local
  ·7· · · · · Q.· · ·Who did?                                              ·7· ·operating engineers -- or Stationary Engineers Local
  ·8· · · · · A.· · ·Rebecca Zacardi.                                      ·8· ·877 was the executive director, there was an office
  ·9· · · · · Q.· · ·And do you know what those reports were?              ·9· ·somewhere?
  10· · · · · A.· · ·It was the Form 990.                                  10· · · · · · · · ·Prior to Lou Malzone, it was
  11· · · · · Q.· · ·And Rebecca Zaccardi is a Local 4 fund                11· ·Dave McGinnis from the plumbers was the executive
  12· ·office employee?                                                    12· ·director of the coalition.
  13· · · · · A.· · ·CPA, yes.                                             13· · · · · · · · ·So, you know, going back in history, you
  14· · · · · Q.· · ·She's a CPA.· But she works with the                  14· ·know, each fund administrator, you know, maintained an
  15· ·Local 4 funds?                                                      15· ·office with coalition records in the trust fund.
  16· · · · · A.· · ·Yes.                                                  16· · · · · Q.· · ·So in your case, these records were kept
  17· · · · · Q.· · ·And, of course, Laura-Jean Hickey also                17· ·in the Local 4 fund office?
  18· ·works for Local 4 funds?                                            18· · · · · A.· · ·Yes.
  19· · · · · A.· · ·Yes.                                                  19· · · · · Q.· · ·And turning to paragraph four of the
  20· · · · · Q.· · ·And as far as Ms. Hickey maintaining the              20· ·agreement, this was -- indicates you are being paid
  21· ·records of the coalition at your discretion, those                  21· ·20,000 annually for that work?
  22· ·records were kept where?                                            22· · · · · A.· · ·Yes.
  23· · · · · A.· · ·At the fund office.                                   23· · · · · Q.· · ·And looking at paragraph six, this
  24· · · · · Q.· · ·The Local 4 fund office, correct?                                                                     App.158
                                                                           24· ·agreement was, as we've discussed, a three-year


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                       In the Matter of:
                 Ginamarie Alongi, et al. vs
       Iuoe Local 4 Health & Welfare Fund, et al.




                 Gina Marie Alongi Vol IV
                          July 14, 2022




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Iuoe Local 4 Health & Welfare Fund, et al.                               July 14, 2022
                                                                                                                                                    Page 3

  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS                                  ·1· ·APPEARANCES CONT'D:
  ·2· ·NORFOLK, SS.· · · · · · SUPERIOR COURT                                      ·2· ·Also present:
  ·3· · · · · · · · · · · · · ·CIVIL ACTION NO.: 2182CV00125                       ·3· · · · · Daniel Keenan, Esq.
  ·4                                                                               ·4· · · · · Christopher J. Redd, Esq.
  ·5· ·**********************************************                              ·5· · · · · Jacob Tosti, Esq.
  ·6· ·GINAMARIE ALONGI AND ROSEMARIE ALONGI,· · · ·*                              ·6· · · · · Rose Marie Alongi
  ·7· · · · · · · · · · · · · ·Plaintiffs· · · · · ·*                              ·7· · · · · Gregory Geiman, Esq.
  ·8· ·vs.· · · · · · · · · · · · · · · · · · · · · *                              ·8
  ·9· ·IUOE LOCAL 4 HEALTH & WELFARE FUND, et al,· ·*                              ·9
  10· · · · · · · · · · · · · ·Defendants· · · · · ·*                              10
  11· ·**********************************************                              11
  12                                                                               12
  13                                                                               13
  14                                                                               14
  15· · · · · ·CONT'D DEPOSITION OF: GINA MARIE ALONGI                             15
  16· · · · · · · · · · · · · VOLUME IV                                            16
  17· · · · · · · · · · BOWDITCH & DEWEY, LLP                                      17
  18· · · · · · · · · ·200 Crossing Boulevard                                      18
  19· · · · · · · Framingham, Massachusetts· 010702                                19
  20· · · · · ·July 14, 2022· · · · · · · · 10:08 a.m.                             20
  21                                                                               21
  22                                                                               22
  23· · · · · · · · · · · Brenda M. Ginisi                                         23
  24· · · · · · · · · · · ·Court Reporter                                          24


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  ·1· ·APPEARANCES:                                                                ·1· · · · · · · · · · · · · I N D E X
  ·2· ·Representing the Plaintiffs:                                                ·2
  ·3· · · · · BOWDITCH & DEWEY, LLP                                                ·3· ·WITNESS:· · · · · · · · · · · · · · · GINA MARIE ALONGI
  ·4· · · · · 200 Crossing Boulevard                                               ·4
  ·5· · · · · Framingham, Massachusetts· 010702                                    ·5· ·EXAMINATION BY:· · · · · · · · · · · · · · · · · ·PAGE:
  ·6· · · · · BY:· TIMOTHY P. VAN DYCK, ESQ.                                       ·6· ·Mr. Gilligan· · · · · · · · · · · · · · · · · · · · ·5
  ·7· · · · · (617) 757-6536                                                       ·7
  ·8· · · · · E-mail: tvandyck@bowditch.com                                        ·8· ·EXHIBITS:· · · · · · · · · · · · · · · · · · · · ·PAGE:
  ·9· ·Representing the Defendants:                                                ·9· ·Exhibit 170, E-mail, July 12, 2017...................6
  10· · · · · FREEMAN MATHIS & GARY LLP                                            10· ·Exhibit 171, E-mail, August 19, 2016.................9
  11· · · · · 60 State Street, Suite 600                                           11· ·Exhibit 172, E-mail, October 19, 2016...............13
  12· · · · · Boston, Massachusetts· 02109                                         12· ·Exhibit 173, Email, February 28,2019................15
  13· · · · · BY:· JENNIFER L. MARKOWSKI, ESQ.                                     13· ·Exhibit 174, E-mail, July 22, 2015..................17
  14· · · · · (617) 963-5975                                                       14· ·Exhibit 175, E-mail, April 25, 2016.................22
  15· · · · · E-mail: jmarkowski@fmglaw.com                                        15· ·Exhibit 176, E-mail, July 3, 2019...................24
  16· ·Representing the IUOE LOCAL 4:                                              16· ·Exhibit 177, E-mail, October 16, 2019...............28
  17· · · · · O'DONOGHUE & O'DONOGHUE LLP                                          17· ·Exhibit 178, E-mail, January 21, 2020...............31
  18· · · · · 5301 Wisconsin Avenue, NW, Suite 800                                 18· ·Exhibit 179, E-mail, January 23, 2020...............34
  19· · · · · Washington, DC· 20015                                                19· ·Exhibit 180, Letter.................................36
  20· · · · · BY:· CHARLES W. GILLIGAN, ESQ.                                       20· ·Exhibit 181, E-mail, January 30, 2020...............41
  21· · · · · (202) 362-0041                                                       21· ·Exhibit 182, Trust Agreement........................63
  22· · · · · E-mail: cgilligan@odonoghuelaw.com                                   22· ·Exhibit 183, Time Sheet.............................94
  23                                                                               23· ·Exhibit 184, E-mail, April 23, 2018................111
  24                                                                               24· ·(Mr. Tosti retained exhibits)
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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· · · · · A.· · ·Yes.                                             ·1· ·director of the Mass. coalition in 2007?
  ·2· · · · · Q.· · ·Okay.· Do you recall ever putting a trust        ·2· · · · · A.· · ·Yes.
  ·3· ·amendment on the agenda for any health & welfare fund          ·3· · · · · Q.· · ·And to your knowledge, was Mr. Rasetta
  ·4· ·meetings?                                                      ·4· ·already the business manager of Local 4 at that time?
  ·5· · · · · A.· · ·I remember putting it on one of the              ·5· · · · · A.· · ·Yes.
  ·6· ·agendas.· I don't know what fund.· And I know it was           ·6· · · · · Q.· · ·Okay.
  ·7· ·based on a conversation I had with fund counsel,               ·7· · · · · A.· · ·Because, you know, he was proud of my
  ·8· ·Kate Shea, about oh we need to do an amendment for             ·8· ·appointment.
  ·9· ·this.                                                          ·9· · · · · Q.· · ·Okay.· That is consistent with what I
  10· · · · · Q.· · ·Okay.· Do you have an approximate time           10· ·thought so -- okay.· And you've testified, previously,
  11· ·frame?                                                         11· ·you and Mr. Rasetta had a sexual relationship?
  12· · · · · A.· · ·I don't.· And I think it could have been         12· · · · · A.· · ·Yes.
  13· ·more than one amendment over the years.                        13· · · · · Q.· · ·And how long were you in a sexual
  14· · · · · Q.· · ·Did the amendment, in any way that you're        14· ·relationship with Mr. Rasetta?
  15· ·thinking of, alter the provisions of article six of the        15· · · · · · · · ·MR. VAN DYCK:· Objection.· Asked and
  16· ·health & welfare trust?                                        16· · · · · answered.· You may answer again.
  17· · · · · A.· · ·I don't recall.                                  17· · · · · · · · ·THE WITNESS:· Can I get clarification
  18· · · · · Q.· · ·But as you sit here today, the vacation          18· · · · · with respect to that?
  19· ·time, to your knowledge, was never presented to the            19· · · · · Q.· · ·(By Mr. Gilligan)· Sure.· I'll try within
  20· ·full board of trustees, correct?                               20· ·the realms of, you know, my own embarrassment level.
  21· · · · · · · · ·MR. VAN DYCK:· Objection.                        21· ·But no absolutely.· What can I clarify for you?
  22· · · · · · · · ·THE WITNESS:· I don't recall it could            22· · · · · A.· · ·When you say "sexual relationship," you
  23· · · · · have.· I don't recall specifically.                     23· ·know, at one point we had a personal relationship and
  24· · · · · Q.· · ·(By Mr. Gilligan)· Well, if it was, it           24· ·it just didn't turn into a sexual relationship.· It was

                                                       Page 70                                                                    Page 72

  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1· ·would have been captured in minutes of a meeting,              ·1· ·more than a personal that went to the next stage but it
  ·2· ·correct?                                                       ·2· ·wasn't sexual.· So try and answer that one.
  ·3· · · · · · · · ·MR. VAN DYCK:· Objection.· You may               ·3· · · · · Q.· · ·I shutter to think.· Were you, at any
  ·4· · · · · answer.                                                 ·4· ·point, having sex with Mr. Rasetta?
  ·5· · · · · · · · ·THE WITNESS:· Yes.· But as I said                ·5· · · · · A.· · ·I answered that question.· And I said
  ·6· · · · · earlier, back in 2013, during that period of            ·6· ·there were a few times that we went away together after
  ·7· · · · · time, it was just either Bill Ryan and                  ·7· ·he was divorced.· And it was for three months or so
  ·8· · · · · Jack Shaughnessy or Lou and Jack Shaughnessy,           ·8· ·that we were in a personal to sexual relationship.
  ·9· · · · · who approved the increases.· So I'm not sure            ·9· · · · · Q.· · ·So you're saying it was three months not
  10· · · · · whether it was ratified by the full board.              10· ·a matter of years?
  11· · · · · Q.· · ·(By Mr. Gilligan)· And in 2013, it               11· · · · · A.· · ·We've been friends since he was the -- a
  12· ·wouldn't have been Bill Ryan, right; it would have been        12· ·business agent and prior to that.
  13· ·Lou Rasetta?                                                   13· · · · · Q.· · ·And you seem to indicate that -- and I'd
  14· · · · · A.· · ·Yes.· But prior to 2013 it would have            14· ·like to not belabor this but kind of need some clarity
  15· ·been Bill Ryan.· This was a practice that was going on         15· ·on it.· You've indicated that a sexual relationship
  16· ·prior to Lou.                                                  16· ·involved going away to different places.· Would you
  17· · · · · Q.· · ·And Bill Ryan ceased being the business          17· ·also have sex with Mr. Rasetta at your residence?
  18· ·manager of Local 4 approximately when?                         18· · · · · A.· · ·No.
  19· · · · · A.· · ·I don't recall.                                  19· · · · · · · · ·MR. VAN DYCK:· Objection.· These
  20· · · · · Q.· · ·Would it have been around 2004, perhaps?         20· · · · · questions have been asked and answered.· You may
  21· · · · · A.· · ·Now that you said that, I think Lou came         21· · · · · answer again.
  22· ·in in 2005.                                                    22· · · · · · · · ·MR. GILLIGAN:· Okay.
  23· · · · · Q.· · ·Okay.· Just to give you a frame of               23· · · · · · · · ·MR. VAN DYCK:· But I just want the record
  24· ·reference, am I correct you became the executive               24· · · · · to be clear that she's already been through           App.161

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                          Exhibit 10




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                                                                                                                   96
                                                                                                           EXHIBIT 961
                                                                                                           exhibit
                                                                                                              ALONGI
                                                                                                              alongi
From:
From:                   Gina            <galongi@Local4.org>
                              Alongi <galongi@Local4.org>
                        Gina Alongi                                                                         06/22/2022 BG
                                                                                                            06/22/2022BG
Sent:
Sent:                   Friday,  July 25,
                        Friday, July       2003 5:05
                                      25, 2003        PM
                                                 5:05 PM
To:
To:                     Joyce  Mader
                        Joyce Mader                                                             :
Cc:
Cc:                     Mary   Sullivan  \(E-mail\); emanzi@emanziassociates.com; Susan Leblanc
                        Mary Sullivan \(E-mail\); emanzi@emanziassociates.com; Susan Leblanc
Subject:
Subject:                Allocation   Adjustment
                        Allocation Adjustment
Attachments:
Attachments:             ADMIN-ADJ-DOL.XLS
                         ADMIN-ADJ-DOLXLS



Joyce,
Joyce,

   finished our
We finished
We              analysis of
            our analysis        admin allocation
                            the admin
                         of the                  adjustment. Attached
                                      allocation adjustment.                 find the
                                                                      please find
                                                             Attached please          results, before
                                                                                  the results,             is released
                                                                                                      this is
                                                                                               before this             to
                                                                                                              released to
Roberta let's
Roberta       talk about
        let's talk       it.
                   about it.

        was correct
Roberta was
Roberta                      assumption on
                         her assumption
                     in her
            correct in                       day 1
                                          on day          the pension
                                                     that the
                                                  1 that                      was owed
                                                                        plan was
                                                              pension plan                    Sue will
                                                                                        100K. Sue
                                                                                   owed 100K.                with KPMG
                                                                                                       check with
                                                                                                  will check           on
                                                                                                                  KPMG on
whether we
whether    need to
        we need     file amended
                 to file            5500's. We
                          amended 5500's.        will get
                                             We will       KPMG opinion
                                                       get KPMG                writing.
                                                                            in writing.
                                                                   opinion in

      does the
Joyce does
Joyce          DOL plan
           the DOL         assessing any
                        on assessing
                   plan on               penalties for
                                     any penalties         prohibited transaction?
                                                       the prohibited
                                                   for the                         Also, what
                                                                      transaction? Also,            excise tax
                                                                                              about excise
                                                                                         what about            that
                                                                                                           tax that
may    due?
    be due?
may be



Gina M.
Gina M. Alongi
        Alongi
Administrator
Administrator
Local 44 Fund
Local    Fund Office
              Office
Tel: 781-861-1600X11
Tel: 781-861-1600 X11
Fax: 781-863-1719
Fax: 781-863-1719




           This transmission
           This                contains infonriation
                 transmission contains               that may
                                         information that       be confidential
                                                           may be                and privileged.
                                                                    confidential and              Unless you
                                                                                     privileged. Unless        are the
                                                                                                          you are       intended
                                                                                                                    the intended
                     of this
           recipient of
           recipient         message (or
                        this message                   to receive
                                           authorized to
                                       (or authorized             it for
                                                          receive it         intended recipient),
                                                                         the intended
                                                                     for the                      you may
                                                                                      recipient), you            copy, forward,
                                                                                                            not copy,
                                                                                                       may not                   or
                                                                                                                        forward, or
                      use it,
           otherwise use
           otherwise           or disclose
                           it, or               contents to
                                            its contents
                                  disclose its                anyone else.
                                                           to anyone            you have
                                                                             If you
                                                                       else. If          received this
                                                                                    have received                   in error,
                                                                                                       transmission in
                                                                                                  this transmission           please
                                                                                                                       error, please
                     immediately and
                  us immediately
           notify us
           notify                        delete it
                                    and delete       from your
                                                  it from       system.
                                                          your system.




                                                                                                                       App.163
                                                                                                                IUOE4 FED
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                                                                                                                      FED 7604
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                                         H&W             PEN           ANN           A&T          DUES          SAC         CO-OP          FAIR        TCTAL

                         UNROUNDED           47.11%        43.00%         5.44%        0.44%         1.22%         0.44%        1.89%         0.44%     100.00%

                          ROUNDED                47%       43.00%            5%            0%            1%           0%            2%            0%       100%

                             USED                47%           44%           5%            1%            1%           0%            2%            0%       100%

                          Difference           0.11%        1.00%        -0.44%        0.56%        0.22%         -0.44%        0.11%        0.44%        0.00%

Total Common     Exp.    $8,070,727.82    (8,967.48)    80,707.28    (35,869.90)   44,837.38    (17,934.95)   (35,869.90)    8,067.48    (35,869.90)           -

Interest                      26%         (2,286.71)    20,580.36     (9,146.82)   11,433.53     (4,573.41)    (9,146.82)    2,286.71     (9,146.82)           ’

           Grand Total                   (11,254.18)   101,287.63    (45,016.73)   56,270.91    (22,508.36)   (45,016.73)   11,254.18    (45,016.73)           -



Total Interest              $34,300.59




                                                                                                                                               IUOE4 FED 7605




                                                                                                                                              App.164
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IUCE LOCAL 4
SUMMARY OF COMMON     EXPENSES



                                      2002            2001          2000         1999         1998          1997
TOTAL REALLOCATION SALARIES           514,911.03     504,636.67   383,933.23    328,111.27   320,770.98   293,846.79
ALL REALOCATED PAYROLL TAXES ~~ 280,817.71           261,397.54   201,918.38    213,639.85   21877452     170,648.46
GENERAL PENSION REALLOCATED            67,287.87      38,494.50    4468425       6269382       50,42068    56,305.68
FRINGES REALLOCATED                   257,460.85     250,891.17   197,679.48    167,954.77   166,372.43   206,346.32
COMMON EXPENSES                       467,764.50     562,985.98   506,661.00    567,693.00   38534400     311,272.00

GRAND TOTAL                      © 1,588,241.96    1,618,405.95 1,334,876.34 1,340,092.71 1,150,691.61 1,038,419.25      8,070,727.82




                                                                                                                       IUOE4 FED 7606




                                                                                                                       App.165
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                          Exhibit 11




                                                               App.166
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From:
From:                     Gina Alongi
                          Gina Alongi <galongi@Local4.org>
                                      <galongi@Local4.org>                                                                        97
                                                                                                                          EXHIBIT 97
                                                                                                                          exhibit
Sent:
Sent:                     Wednesday, July
                          Wednesday,  July 30,
                                           30, 2003
                                               2003 10:34
                                                    10:34 PM
                                                           PM
To:
To:                       Joyce Mader
                          Joyce Mader                                                                                        ALONGI
                                                                                                                             ALONGI
Cc:
Cc:                       msullivan@segalroitman.com; mtsandfam@aol.com
                          msullivan@segalroitman.com;    mtsandfam@aol.com                                                06/22/2022 BG
                                                                                                                          06/22/2022 BG
Subject:
Subject:                  Allocation Calculations
                          Allocation Calculations with
                                                  with Interest
                                                       Interest
Attachments:
Attachments:              LocaldInterestcalc. XLS
                          Local4interestcalc.XLS



Joyce,
Joyce,

Attached please
Attached please find
                find the
                     the calculations
                         calculations using
                                      using both
                                            both approaches
                                                 approaches Mary
                                                            Mary identified
                                                                 identified earlier.
                                                                            earlier. «Local4lnterestcalc.XLS»
                                                                                     <<Local4Interestcalc.
                                                                                                         XLS>>

The spreadsheet
The spreadsheet named
                named "allocation
                      "allocation adj
                                  adj by
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                                         years (2)",
                                               (2)", appears
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                                                                       best approach.
                                                                            approach. Could
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                                           tomorrow?

Gina
Gina




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                                                                                                  please notify                          delete it
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         your system.
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                                                                                                                                         App.167
                                                                                                                                            7607
                                                                                                                                  IUOE4 FED 7607
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             KPMG   Rounding Applied to all Years

                                H&W           PEN         ANN        A&T          DUES        SAC        CO-OP        FAIR        TOTAL
      1997
             UNROUNDED           47.11%         43.00%       5.44%       0.44%       1.22%       0.44%       1.89%       0.44%    100.00%

              ROUNDED                 47%       43.00%          5%          0%           1%         0%           2%          0%      100%

                 USED                 47%           44%         5%          1%           1%         0%           2%          0%      100%

               Difference          0.11%        -1.00%       0.44%      -0.56%       0.22%       0.44%      0.11%        0.44%      0.00%

Total 1997   $1,038,419.25      1,153.80    (10,384.19)   4,615.20   (5,769.00)   2,307.60    4,615.20   (1,153.80)   4,615.20        -

      1998
             UNROUNDED           47.11%         43.00%       5.44%       0.44%       1.22%       0.44%       1.89%       0.44%    100.00%

              ROUNDED                 47%       43.00%          5%          0%           1%         0%           2%          0%      100%

                 USED                 47%           44%         5%          1%           1%         0%           2%          0%      100%

               Difference          0.11%        1.00%        0.44%      -0.56%       0.22%       0.44%      0.11%        0.44%      0.00%

Total 1998   $1,150,691.61      1,278.55    (11,506.92)   5114.18    (6,392.73)   2,557.09    5,114.18   (1,278.55)   5,114.18        -

      1999
             UNROUNDED           47.11%         43.00%       5.44%       0.44%       1.22%       0.44%       1.89%       0.44%    100.00%

              ROUNDED                 47%       43.00%          5%          0%           1%         0%           2%          0%      100%

                 USED                 47%           44%         5%          1%           1%         0%           2%          0%      100%

               Difference          0.11%        -1.00%       0.44%      -0.56%       0.22%       0.44%      -0.11%       0.44%      0.00%

Total 1999   $1,340,092.71      1,488.99    (13,400.93)   5,955.97   (7,444.96)   2,977.98    5,955.97   (1,488.99)   5,955.97        i




                                                                                                                             IUOE4 FED 7608




                                                                                                                          App.168
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                  KPMG   Rounding Applied to all Years

                                     H&W           PEN           ANN          A&T           DUES          SAC         CO-OP          FAIR     TOTAL
                  UNROUNDED           47.11%         43.00%        5.44%         0.44%         1.22%        0.44%        1.89%          0.44% 100.00%

                   ROUNDED                47%        43.00%            5%            0%            1%           0%           2%            0%      100%

                      USED                47%            44%           5%            1%            1%           0%           2%            0%      100%

                    Difference          0.11%        -1.00%         0.44%        -0.56%         0.22%        0.44%       -0.11%         0.44%     0.00%

     Total 2000   $7,334,876.34      1,483.20    (13,348.76)     5,932.78     (7,415.98)    2,966.39      5,932.78   (1,483.20)      5,932.78       -

           2001
                  UNROUNDED           47.11%         43.00%         5.44%         0.44%         1.22%        0.44%        1.89%         0.44%   100.00%

                   ROUNDED                47%        43.00%            5%            0%            1%           0%           2%            0%      100%

                      USED                47%            44%           5%            1%            1%           0%           2%            0%      100%

                    Difference          0.11%        1.00%          0.44%        -0.56%         0.22%        0.44%       -0.11%         0.44%     0.00%

     Total 2001   $1,678,405.95      1,798.23    (16,184.06)     7,192.92     (8,991.14)     3,596.46     7,192.92   (1,798.23)      7,192.92       -

           2002
                  UNROUNDED           47.11%         43.00%         5.44%         0.44%         1.22%        0.44%        1.89%         0.44%   100.00%

                   ROUNDED                47%        43.00%            5%            0%            1%           0%           2%            0%      100%

                      USED                47%            44%           5%            1%            1%           0%           2%            0%      100%

                    Difference          0.11%        -1.00%         0.44%        -0.56%         0.22%        0.44%       0.11%          0.44%     0.00%

     Total 2002   $7,588,241.96      1,764.71    (15,882.42)     7,058.85     (8,823.57)     3,529.43     7,058.85    (1,764.71)     7,058.85           =

GRAND TOTAL        $8,070,727.82  8,967.48      (80,707.28)    35,869.90    (44,837.38)    17,934.95    35,869.90    (8,967.48)    35,869.90        -
(   ) denotes monies owed to a Fund.




                                                                                                                                           IUOE4 FED 7609




                                                                                                                                         App.169
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KPMG   Rounding Applied to all Years

                   H&W           PEN   ANN   A&T   DUES   SAC   CO-OP   FAIR       TOTAL




                                                                               IUOE4 FED 7610




                                                                           App.170
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Interest Allocation adjustment by Year
KPMG Rounding applied to all years


                                          Haw            PEN         ANN         AT           DUES        SAC         CO-OP          FAIR      TOTAL
1997 principal due                        1,153.80   (10,384 20)   4,615.20    (5,769.00)    2,307.60    461520      (1,153.80)    4,615.20            0.00
     interest                               308.56     2,777.01    1.234.23    (1,542.79)      617.11    1,234.23       308.56)    1.234.23            0.00
     total due                            1,462.36   (13,161.21)   5,849.43    (7,311.79)    2,924.71    5849.43     (1,462.36)    5,849.43            0.00

                                          H&W           PEN          ANN         ART          DUES        SAC         CO-OP          FAIR      TOTAL
1998 principal due                        1,278.55   (11,506.90)   5114.18     (6,392.73)    2,557.09    5,114.18    (1,278.55)    5,114.18            0.00
     interest                               27461     (2,471.46)   1,098.43    (1,373.04)      549.21    1,098.43      (274.61)    1,098.43            0.00
     total due                            1,553.16   (13,978.36)   6,212.61    (7,765.77)    3,106.30    6,212.61    (1,553.16)    6,212.61            0.00


                                          Haw           PEN          ANN         ART          DUES        SAC         CO-OP         FAIR       TOTAL
1999 principal due                        1,488.99   (13,400.93)   5,955.97    (7,444.96)    2,977.98    5,955.97    (1,488.99)    5,955.97            0.00
     interest                               244.67    (2,202.08)     978.70    (1,223.37)      489.35      978.70      (244.67)      978.70            0.00
     total due                            1,733.66   (15,603.01)   6,934.67    (8,668.33)    3,467.33    6,934.67    (1,733.68)    6,934.67            0.00


                                          H&W           PEN          ANN         ART          DUES        SAC         CO-OP         FAIR       TOTAL
2000 principal due                        1,483.20   (13,348.75)   5,932.78    (7,415.98)    2,966.39    5,932.78    (1,483.20)    5,932.78            0.00
     interest                               171.99    (1,547.91)     687.96      (859.95)      343.98      687.96      (171.99)      687.96            0.00
     total due                            1,655.19   (14,896.66)   6,620.74    (8,275.93)    3,310.37    6,620.74    (1,655.19)    6,620.74            0.00


                                          Haw           PEN          ANN         ART          DUES        SAC         CO-OP         FAIR       TOTAL
2001 principal due                        1798.23    (16,184.08)   7,192.92    (8,991.14)    3,696.46    7,192.92    (1,798.23)    7,192.92            0.00
     interest                               125.17    (1,126.48)     500.66      (625.83)      250.33      500.66      (125.17)      500.66            0.00
     total due                            1,923.40   (17,310.56)   7,693.58    (9,616.97)    3,846.79    7,693.58    (1,923.40)    7,693.58            0.00


                                          H&W           PEN          ANN         A&T          DUES        SAC         CO-OP          FAIR      TOTAL
2002 principal due                        1,764.71   (15,862.41)   7,058.85    (8.82357)     3,629.43    7,058.85    (1,764.71)    7,058.85            0.00
     interest                                44.43      (399.85)     177.71      (222.14)       88.86      177.71       (44.43)       177.71           0.00
     total due                            1,809.14   (16,282.26)   7,236.56    (9,045.71)    3618.29     7,236.56    (1,809.14)    7,236.56            0.00



Grand Total P&I to be paid/owed          10,136.91   (57,232.06) 40,547.59 (50,684.50)      20,273.79   40,547.59   (10,136.91)   40,547.59            0.00

         Principal due                    8,967.48   (80,707.27) 35,869.90    (44,837.38)   17,934.95   35,869.90    (8,967.48) 35,869.90              0.00
         Interest Due                     1,169.43    10.524.79) 4,677.69      (5,847.12)    2,338.84    4677.69      (1.16943)  4677.69               0.00
                                         10,136.91   (91,232.06) 40,547.59    (50,684.50)   20,273.79   40,547.59   (10,136.91) 40,547.59              0.00

princ                    (134,512.13)
intere                    (17,541.34)
                         (152,053.47)




                                                                                                                                                              IUOE4 FED 7611




                                                                                                                                                              App.171
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KPMG rounding applied to 1997 to June 2001, SAC and Fair charged 1% each, with monies distributed to all funds.
                                            Haw         PEN           ANN          ABT                       SAC        co-op           FAIR        TOTAL
                   1997
                           UNROUNDED ~~ 4711%             43.00%        5.44%         0.44%       122%         0.44%         189%          0.44% 100.00%
                            ROUNDED             47%       43 00%            5%           0%           1%           0%           2%             0%      100%
                                USED            41%           aa%           5%           1%           1%           0%           2%             0%      100%
                            Difference        011%         -1.00%       0.44%         056%        022%         044%          011%          044%       000%
              Total 1997 $1,038419.25      1,153.80   (10,384.19)    461520       (5,769.00)   230760       4,615.20     (115380)       4,615.20        -

                   1998.
                           UNROUNDED         471%                                                 122%         044%          189%          0.44% 10000%
                            ROUNDED            47%                                                    1%           0%           2%             0%      100%
                               usep             a%                                                    1%           0%           2%             0%      100%
                            Difference        011%         1.00%        044%                      022%         044%          011%          044%       000%
             Total 1998 $1,1.      91.61                             5114.18                   2557.09                                  511418          -

                           UNROUNDED         47.11%       43.00%        544%                      122%         0.44%         189%          0.44% 100.00%
                            ROUNDED             41%       43.00%            5%                        1%           0%           2%             0%      100%
                                USED            47%           a4%           5%                        1%           0%           2%             0%      100%
                            Difference        011%         1.00%        0.44%                     02%          044%          011%          044%       000%
             Total 1999 $1,340,002.71      1.48899    (13,400 93)    5.95597                   207798       595597        (1.48899)     595597
                   2000
                           UNROUNDED         47.11%                     544%                      122%         044%          189%          044%
                            ROUNDED             47%                         5%                        1%           0%           2%             0%      100%
                                USED            7%                          5%                        1%           0%            2%            0%      100%
                            Difference        011%         1.00%        0.44%                     0.22%        044%          011%          044%       000%
             Total 2000    $1,334,876.34                                                                                  (1.48320)     593278          -
JAN~JUNE 2001
                           UNROUNDED         471%         43.00%        5.44%         044%        122%         0.44%         189%          0.44% 10000%
                            ROUNDED             47%       4300%             5%           0%           1%           0%           2%             0%      100%
                                USED           47%            44%           5%           1%           1%           0%           2%             0%      100%
                            Difference        011%         1.00%        044%          056%        02%          044%          011%          044%       0.00%
     Tot Jan ~June 2001    $734,399.66       81600     (7.34400)     326400        (408000)    163200        3.26400       (81600)      3.26400

                             Difference      033%          033%         033%          03%         -033%        100%          033%          100%       000%
Total Jul-Dec 2001         $884,006.29     (294669)     (294669)     (294669)      (294569)    (2.94669)     684005       (294669)      8.84006         -

                            Difference       0.33%         033%         0.33%         033%         -033%        1.00%        0.33%         100%       0.00%
Total 2002                 $1,588241.96    (520414)     (529414)     (529414)      (529414)    (528414)     1588242       (529414)     1588242          -
GRAND TOTAL                3807072782 __ 926.39       (61,278.94)   19,587.99    (36,396.80)   7,146.93    40,764.56    (11,614.67)   40,764.55         -
()      denotes monies owed to a fund




                                                                                                                                                              IUOE4 FED 7612




                                                                                                                                                              App.172
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Interest Allocation adjustment by Year
KPMG Rounding applied to 1997 to June 2001, SAC and Fair charged 1% each

                                                           Ha&W          PEN         ANN            A&T         DUES          SAC       CO-OP           FAIR     TOTAL
                    1997 principal due                   1,153.80     (10,384.20)   4615.20       (5,769.00)   2,307.60     4.61520     (1,153.80)    4,615.20        0.00
                         interest                          308.56      (2,777.01)   1234.23       (1,542.79)     617.11     1234.23       (308.56)    1,234.23       0.00
                         total due                       1,462.36     (13,161.21)   5849.43       (7,311.79)   2,924.71     5849.43     (1,462.36)    5,849.43        0.00

                                                           HaW           PEN          ANN          A&T          DUES           SAC      CO-OP           FAIR     TOTAL
                    1998 principal due                   1,278.55     (11,506.90)   5114.18      (6,392.73)    2,557.09      5114.18    (1,278.55)    5,114.18        0.00
                         interest                          27461       (2471.46)    1,098.43     (1,373.04)      549.21      1,098.43     (27461)     1,098.43        0.00
                         total due                       1,553.16     (13,978.36)   6,212.61     (7,765.77)    3,106.30      6,212.61   (1,553.16)    6,212.61        0.00


                                                           Haw           PEN          ANN           AST         DUES           SAC      CO-OP           FAIR     TOTAL
                    1999 principal due                   1,488.99     (13,400.93)   5095597       (7,444.96)   2977.98       5955.97    (1,488.99)    5,955.97        0.00
                         interest                          24467       (2,202.08)     978.70      (1.223.37)     489.35        978.70     (244.67)      978.70        0.00
                         total due                       1,73366      (15,603.01)   6,934.67      (8,668.33)   3,467.33      6934.67    (1,733.66)    6,934.67        0.00


                                                           Haw           PEN          ANN           AST         DUES          SAC       CO-OP          FAIR      TOTAL
                    2000 principal due                   148320       (13,348.75)   5932.78       (7,415.98)   2,966.39      5932.78    (1,483.20)    5,932.78        0.00
                         interest                          171.99      (1,547.91)     687.96        (859.95)     343.98        687.96     (171.99)      687.96       0.00
                         total due                       1,655.19     (14,896.66)   6,620.74      (8,275.93)   3,310.37      6620.74    (1655.19)     6,620.74        0.00


                                                           Haw           PEN          ANN           A&T         DUES           SAC      CO-OP          FAIR      TOTAL
                    2001 principal due                     816.00      (7,344.00)   3,264.00      (4,080.00)   1,632.00      3,264.00     (816.00)    3,264.00        0.00
Jan-June                 interest                           75.51        (679.59)     302.04        (377.55)     151.02        302.04       (75.51)     302.04        0.00
                         total due                         89151       (8,023.59)   3,566.04      (4,457.55)   1,783.02      3,566.04     (891.51)    3,566.04        0.00


                                                           HaW           PEN          ANN           AT          DUES           SAC      CO-OP          FAIR      TOTAL
                    2001 principal due                   (2.94669)     (2,946.60)   (2,946.69)    (2,046.69)   (2,946.69)    8,840.07   (2,946.69)    8,840.07        0.00
Jul-Dec                  interest                          (205.10)      (205.10)     (205.10)      (205.10)     (205.10)      615.30     (205.10)      615.30        0.00
                         total due                       (3,151.79)    (3,151.79)   (3,151.79)    (3,151.79)   (3,151.79)    9,455.37   (3,151.79)    9,455.37        0.00


                                                           Haw           PEN          ANN           AST         DUES         SAC        CO-OP         FAIR       TOTAL
                    2002 principal due                   (5,294.14)    (5,294.14)   (5,294.14)    (5294.14)    (5,294.14) 15,882.42     (5,294.14) 15,882.42         0.00
                         interest                          (133.29)      (133.29)     (133.29)      (133.29)     (133.29)    399.87       (13329)     399.87         0.00
                         total due                       (5,427.43)    (5,427.43)   (5427.43)     (5427.43)    (5427.43) 16,282.29      (5427.43) 16,282.29           0.00



Grand Total P&l to be paid/owed                          (1,083.34) (74,242.05) 20,604.27        (45,058.59)   6,012.51     54,921.15   (15875.10) 54,921.15          0.00

                          Principal due                  (2,020.29) (64,225.61) 16,641.30        (39,343.50)   4,200.23     49,604.62   (14,461.37) 49,604.62         0.00
                          Interest Due                      736.95 (10,016.44) 3962.97            (5715.09)    1.81228       5316.53     (1.41373) 5,316.53           0.00
                                                         (1,283.34) (74,242.05) 20,604.27        (45,058.59)   6,012.51     54,921.15   (15,875.10) 54,921.15         0.00
princ                                     (120,050.77)
interest                                   (16,408.31)
                                          (136,459.08)
                                                                                                                                                                              IUOE4 FED 7613




                                                                                                                                                                             App.173
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IUCE LOCAL 4
SUMMARY OF COMMON        EXPENSES



                                           2002           2001          2000          1999         1998         1997
TOTAL   REALLOCATION    SALARIES           514,911.03     504,636.67   383,933.23   328,111.27    320,770.98   293,846.79


ALL REALOCATED      PAYROLL   TAXES        280,817.71     261,397.54   201,918.38   213,639.85   218,774.52    170,648.46


GENERAL   PENSION    REALLOCATED            67,287.87      38,494.59    44,684.25    62,693.82     59,429.68    56,305.68


FRINGES   REALLOCATED                      257,460.85     250,891.17   197,679.48   167,954.77    166,372.43   206,346.32


COMMON    EXPENSES                         467,764.50     562,985.98   506,661.00   567,693.00    385,344.00   311,272.00




GRAND TOTAL                           TT 1,588,241.96   1,618,405.95 1,334,876.34 1,340,092.71 1,150,691.61 1,038,419.25      8,070,727.82




                                                                                                                            IUOE4 FED 7614




                                                                                                                        App.174
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                          Exhibit 12




                                                               App.175
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                                                                                                     EXHIBIT 98
                                                                                                     EXHIBIT 98

                                                                                                      ALONGI
                                                                                                      ALONGI
                                                                                                               BG
                                                                                                    06/22/2022 BG
                                                                                                    06/2211021




      Gina Alongi
From: Gina
From:             [mailto:galongi@Local4.org]
           Alongi fmailto:galongi(aLocal4.ore1
Sent: Thursday,
Sent:           July 31,
      Thursday, July     2003 4:34
                     31, 2003      PM
                              4:34 PM
    Joyce Mader
To: Joyce
To:             <jmader@odonoghuelaw.com>
          Mader <imader@odonoghuelaw.com>
    Mary Sullivan \(E-mail\)
Cc: MarySullivan
Cc:                                                           mtsandfam@aol.com
                              <msullivan@segalroitman.com>; mtsandfam(5)aol.com
                   \(E-mail\) <msuliivan(S)segalroitman.com>:
Subject: Admin
Subject:         Calculations
         Admin Calculations

Joyce,
Joyce,

    attached represents
The attached
The                      what Roberta
             represents what           proposed in
                               Roberta proposed   in her July 31,
                                                     her July          letter. Maybe
                                                                  2003 letter.
                                                              31, 2003                we should
                                                                               Maybe we               this tomorrow
                                                                                                 send this
                                                                                         should send                   after
                                                                                                           tomorrow after
Mary gets
Mary      a chance
     gets a            review it.
                    to review
            chance to             The numbers
                              it. The               the Non-Erisa
                                               for the
                                      numbers for       Non-Erisa Funds    have changed
                                                                   Funds have                         since the
                                                                                         considerable since
                                                                                changed considerable             earlier
                                                                                                             the earlier
calculations. The
calculations.     Dues Fund
              The Dues          owes $50,624.45,
                            now owes
                       Fund now                      $44,626.08 and
                                                 SAC $44,626.08
                                     $50,624.45, SAC                     $42,052.32.
                                                                    Fair $42,052.32.
                                                                and Fair

Oh by
Oh by the way, Roberta
      the way,                 the SAC
                       rounded the
               Roberta rounded             the Fair
                                       and the
                                   SAC and             .45% vs
                                                    to .45%
                                               Fair to                 Just for
                                                               .4444%. Just
                                                            vs .4444%.              record, no
                                                                                the record,
                                                                            for the                is perfect.
                                                                                               one is
                                                                                            no one    perfect.




                                                                                                              App.176
                                                                                                        IUOE4 FED
                                                                                                        IUOE4 FED 7432
                                                                                                                  7432
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Gina M. Alongi
Administrator
Local 4 Fund Office
Tel: 781-861-1600 X11
Fax: 781-863-1719



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                                                                                                                        App.177
                                                                                                                IUOE4 FED 7433
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KPMG rounding applied to 1997 to June 2001, SAC and Fair charged 1% each, with monies distributed to all fund
                                           Haw             PEN             ANN             ALT           DUES          SAC         CO-OP           FAIR         TOTAL
                   1997
                          UNROUNDED           4711%           43.00%           5.44%          0.44%          122%         0.44%         1.89%         0.44%      10.00%

                           ROUNDED               47%          43.00%               5%              0%           1%           0%            2%             0%        100%

                              USED               47%              44%              5%              1%           1%           0%            2%             0%        100%

                            Difference         0.11%           1.00%           0.44%         0.56%           0.22%        0.44%        0.11%          044%         0.00%

             Total 1997   $1,035,419.25     115380         (10.384.19)      461520        (576900)        2307.60      461620       (115380)       4,615.20             -

                   1998
                          UNROUNDED           471%           43.00%            5.44%          0.44%          122%         0.44%         1.89%         0.44%      100.00%

                           ROUNDED               41%          43.00%               5%              0%           1%           0%             2%            0%        100%

                              USED               47%              44%              5%              1%           1%           0%             2%            0%        100%

                            Difference         0.11%           -1.00%          0.44%         0.56%           0.22%        0.44%        0.11%          044%         0.00%

             Total 1998   §1,150,691.61     1.278.55      (11.506.92)       511418        (6,392.73)      2857.08      511418       (1.27655       5114.18              -

                   1999
                          UNROUNDED           411%            43.00%           5.44%          0.44%          1.22%        0.44%         1.89%         0.44%      100.0%

                           ROUNDED               47%          43.00%               5%              0%           1%           0%             2%            0%        100%

                              USED               47%              44%              5%              1%           1%           0%             2%            0%        100%

                            Difference         0.11%             1.00%         0.44%         0.56%           0.22%        0.44%        0.11%          044%         0.00%

             Total 1999 $1,340,092.71       1,488.99      (13,400.83)       5,955.97      (7.44496)       2977.98      5,955.97     (1,488.99)     5955.97              -

                   2000
                      ** UNROUNDED        471%              430000% ~~ 544444%             0.44444%        122222%       0.4444%      1.88889%        0.44% 100.000%

                            ROUNDED              47%          43.00%               5%              0%           1%           0%             2%            0%        100%

                              USED               aT%              44%              5%               1%          1%           0%             2%            0%        100%

                            Difference          0.11%            1.00%           0.44%       0.56%           0.22%        0.44%         0.11%         044%         0.00%

             Total 2000 $1,334,876.3¢       1.483.20       (13.348.76)      5832.78       (7.415.98)      2966.38      5832.78       (1.483.20)    5832.78                  -

JAN-JUNE 2001
                          UNROUNDED           47.11%           43.00%            5.44%           0.44%       1.22%        0.44%          189%         0.44%       100.00%

                            ROUNDED               47%              43%              5%              0%          1%           0%             2%            0%        100%

                              USED                47%             44%               5%              1%          1%           0%             2%            0%        100%

                            Difference          0.11%            1.00%           0.44%       0.56%           02%          0.44%         0.11%         044%         000%

   Tot Jan-June 2001       $734,399.66        816.00       (7,344.00)       3264.00       (4.08000)       163200       3264.00         (816.00)     3.264.00                -

                          UNROUNDED           35.70%           34.10%         12.10%             4.20%       5.40%        0.60%          7.40%        0.50%       10.00%

                            ROUNDED              38%               38%              8%              4%          4%           0%             8%            0%        100%

                              USED               38%               38%              8%              4%          4%           0%             8%            0%        100%

                            Difference         2.30%             -3.80%          4.10%           0.20%       1.40%        0.60%         -0.60%        0.50%         0.00%

Total Jul-Dec 2001         $884,006.29     (20,332.14)     (34,476.25)     36.244.26       1768.01       12,376.09     5.304.04      (5304.04)     4.420.03


                          UNROUNDED           35.70%           34.10%         12.10%             4.20%       5.40%        0.60%          7.40%        050%        100.00%

                            ROUNDED              38%               38%              8%              a%          4%            0%            8%             0%       100%

                              USED                38%              38%              8%              4%          4%            0%            8%             0%       100%

                            Difference         2.30%             3.90%           4.10%           0.20%        1.40%       0.60%         0.60%         050%          0.00%

Total 2002                §1,588,241.96    (3652957)        (61.841.44)    6511782         317648        2223538        952045       (952945)       7.84121                     -

GRAND TOTAL                $8,070,727
                                    .82   (50,641.18)    (152,402.48)     126,244.31     (26,168.17)     47,052.54    39,715.62    (21,054.02)    37,243.37                 =z

( ) denotes monies owed to a funa
** Unrounded



                                                                                                                                                                                    IUOE4 FED 7434




                                                                                                                                                                                    App.178
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Interest Allocation adjustment by Year


                                             Haw           PEN          ANN          A&T          DUES         SAC       CO-0P        FAIR   TOTAL
    1997 principal due                      115380      (1038420)      461520      (5769.00)     2,307.60    461520      (1.15380) 4,615.20      0.00
         interest                             308.56      (2777.01)    1,234.23    (154279)        617.11    1,234.23      (308.56) 1,234.23     0.00
           total due                        1.46236     (1316121)      5849.43     (7.31179)     292471      5849.43     (1.46236)     5849.43         0.00

                                             Haw           PEN          ANN          A&T          DUES         SAC       co-op          FAIR    TOTAL
    1998 principal due                      127855      (11,506.90)    5,114.18    (6392.73)     2,557.08    5114.18      (1.2/6.55)   5114.18      0.00
         interest                             27461      (247146)      1,09843     (1.37304)       549.21    1,008.43      (274.61)    1,098.43     0.00
         total due                          155316      (1397836)      621261      (7.76577)     3,106.30    621261      (1,553.16)    621261       0.00


                                             Haw          PEN           ANN          A&T          DUES        SAC        CO-OP          FAIR      TOTAL
    1999 principal due                      148899      (1340093)      5095597     (744406)      207798      595697      (1,488.99)    585697         0.00
           interest                           24467       (2.20208)      978.70    (122337)        489.35      978.70      (244.67)      978.70        0.00
           total due                        173366      (1560301)      6,934.67    (8668.33)     3,467.33    6,934.67    (1.73366)     6,934.67       0.00


                                             Haw           PEN          ANN          ART          DUES         SAC       CO-OP        FAIR   TOTAL
    2000 principal due                      148320      (13,348.75)    593278      (741598)      2966.39     593278      (1,483.20) 503278       0.00
         interest                             171.99     (1547.91)       687.96      (859.95)      34398       687.96      (171.89)   687.96     0.00
         total due                          165519      (14,896.66)    6,620.74    (8275.93)     331037      6,620.74    (1,655.19) 6,620.74     0.00


                                             Haw           PEN          ANN          AST          DUES        SAC        CO-OP          FAIR    TOTAL
    2001 principal due                        816.00     (7,344.00)    326400      (4080.00)     1.63200     3,264.00      (816.00)    3,264.00     0.00
Jan-Juncinterest                               7551         679.59       302.04       377.55)      151.02      302.04       (7551)       302.04     0.00
          total due                           891.51     (802359)      3,566.04    (4457.55)     178302      3,566.04      (89151)     3566.04      0.00

                                             Haw          PEN           ANN          AST          DUES        SAC        Co-op          FAIR    TOTAL
    2001 principal due                    (20,332.14)   (3447625)     36,244.26     176801      12,376.09    530404      (5.30404)     4420.03      0.00
Jul-Dec interest                            141521)      (239972)      252277        12306         86144       369.19      (369.19)      307.66     0.00
           total due                      (21,747.35)   (36,875.97)   38,767.03     1891.07     13,237.53    567323      (567323)      4,727.69       0.00


                                             Haw           PEN          ANN         ABT           DUES         SAC       CO-OP          FAIR    TOTAL
    2002 principal due                    (3652957)     (6194143)     65,117.92    317648       22,235.39    052045      (9.52945)     7941.21      0.00
         interest                             91967)      (155044)     1,639.41       7997         55980       239.91      (239.91)      199.93     0.00
         total due                        (37,449.24)   (6350087)     66,757.33    3256.45      22,795.19    0769.36      (9.769.36)   8141.14      0.00


Grand Total P&I to be paid/owed                   (166,030.67) 134,707.85
                                          57.00.77)                               (31,331.85) 50,624.45     44,626.08   (22./3847) 42,052.32          0.00

           Principal due                  (50,641.17) (152,402.46) 126,244.31     (26,158.18) 47,052.54     39,715.62   (21,054.03) 37,243.37         0.00
           Interest Due                    (1.25954)    (1363721)    846354        (517367) 3,571.91         4.91046     (1.68444) 4808.95            0.00
                                          (51,900.71) (166,039.67) 134,707.85     (31,331.85) 50,624.45     44,626.08   (22,738.47) 42,052.32         0.00
princ                      (250,255 84)
interest                    (21,754.86)
                           (272,010.70)




                                                                                                                                                              IUOE4 FED 7435




                                                                                                                                                              App.179
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IUOE LOCAL 4
SUMMARY OF COMMON     EXPENSES



                                      2002           2001          2000         1999         1998          1997
TOTAL REALLOCATION SALARIES          514,911.03     504,636.67   383,933.23    32811127     320,770.98   293,846.79
ALL REALOCATED PAYROLL TAXES ~~ 280,817.71          261,397.54   20191838      213,639.85   21877452     170,648.46
GENERAL PENSION REALLOCATED           67,287.87      3849459        44,68425 ~~ 6269382      59,420.68    56,305.68
FRINGES REALLOCATED                  257,460.85     250,891.17    197,679.48   167,954.77   166,372.43   206,346.32
COMMON EXPENSES                      467,764.50     562,985.98    506,661.00   567,693.00   385,344.00   311,272.00

GRAND TOTAL                      7 1588,241.96    1,618,405.95 1,334,876.34 1,340,092.71 1,150,691.61 1,038,419.25      8,070,727.82




                                                                                                                      IUOE4 FED 7436




                                                                                                                      App.180
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                          Exhibit 13




                                                               App.181
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                                                                                                        EXHIBIT 99

                                                                                                         ALONGI
From:                Joyce Mader <jmader@odonoghuelaw.com>                                              06/22/2022 BG
Sent:                Friday, August 1, 2003 1:42 PM
To:                  Roberta Muench
Cc:                  galongi@Local4.org; MSullivan@SegalRoitman.conn
Subject:             lUOE Local 4




Roberta,

Gina reminded that the Trustees she has provided to you are the current Trustees. If, in addition, you want the names of
former Trustees, please let her know.

Next week while I am gone, please copy any correspondence to Gina and Mary so that they may start working on it
immediately.

We will be providing you with the results of the reallocation for your review. Gina and Mary are concerned that the
allocation does not take into account the considerable time spent on HIPAA compliance for the welfare fund. They want
you to see and be comfortable with the results of the reallocation before the assets are transferred.

I will be here the rest of the day and will be checking my voice mails next week.

Joyce A. Mader
O'Donoghue & O'Donoghue
4748 Wisconsin Avenue, N.W.
Washington, DC 20016
Phone:    (202) 362-0041
Facsimile: (202) 362-2640
E-Mail: jmader@odonoghuelaw.com




                                                                                                              App.182
                                                                                                        IU0E4 FED 7827
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                          Exhibit 14




                                                               App.183
            Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 189 of 254




                                                              BOnBIT ™»I
                                                                ALONG!
                                                                alongi
                                                                         BG
                                                              06/22/2022 BG
                                                              06/22/2022




From: Gina
From:  Gina Alongi
            Alongi [mailto:galongi@Local4.org1
                    [mailto:galongi@Local4.org]
Sent: IVIonday,
Sent: Monday, August
                August 4,
                        4, 2003
                           2003 6:22
                                6:22 PIVI
                                     PM
    Mary Sullivan
To: IVlary
To:                            <msullivan@segalroitman.com>
                    \(E-mail\) <msullivang)segalroitman.com>
           Sullivan \(E-mail\)
    Joyce Mader
Cc: Joyce
Cc:                                                 emanzi@manziassociates.com
                   <jmader@odonoghuelaw.com>; emanzi@manziassociates.com
           Mader <imader@odonoghuelaw.com>;
Subject: Outstanding
Subject: Outstanding Issues
                     Issues from
                            from DOL
                                 DOL Audit
                                     Audit




                                                                                      App.184
                                                                                 IUOE4 FED
                                                                                 IU0E4 FED 7448
                                                                                           7448
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Mary/Joyce

The following is a list of items we have outstanding to date:


         . Admin Allocation ( Manzi Time Study)
     HH




         . Adjustments to Allocation (How often, Timesheets, Etc)
     CoN,WN




         . 401K Delinquency Issue
         . Interest Calculation and Collection
         . ADP Testing Annuity Plan (Revise all Participation Agreements)
         . DOL Penalties IRS Excise Tax ??
         . Trustee Exp. Reimbursement Policy
         . Admin Sharing Agreement (Common Expenses)
         . Alcohol Policy
       10. American Express Policy
       11. Petty Cash Policy
       12. Admin Budget - Bagels, B-Cakes, Etc.
       13. Review Fiduciary Liability Policy
       14. Sign off on the Financial Statements




Am      I missing anything.




Gina M. Alongi
Administrator
Local 4 Fund            Office
Tel: 781-861-1600 X11
Fax: 781-863-1719




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                                                                                                                      App.185
                                                                                                                 IUOE4 FED 7449
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                          Exhibit 15




                                                               App.186
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                                                                 EXHIBIT 104

                                                                   ALONG!
                                                                   ALONG!
                                                                 06/22/2022
                                                                 06/22/2022 BG
                                                                            BG




From: Gina
From:   Gina Alongi
             Alongi fmailto:gaiongi@Local4.orgl
                    [mailto:galongi@Llocald.org]
Sent: Monday,
Sent:  Monday, December
                 December 29,
                            29, 2003
                                2003 12:33
                                     12:33 PM
                                            PM
To: msullivan@segalroitman.com
To:  msullivan@segalroitman.com
    emanzi@manziassociates.com; Joyce
Cc: emanzi@manziassociates.com:
Cc:                                               <jmader@odonoghuelaw.com>
                                            Mader <imader@odonoghuelaw.com>
                                     Joyce Mader
Subject:
Subject:




Mary,
Mary,

Attached please
Attached         find the
          please find the proposed  time sheet
                          proposed tune   sheet for
                                                for implementation
                                                    implementation Janiiary
                                                                   January 5,5, 2004
                                                                                2004 to
                                                                                     to
record our
record our employees
           employees time.
                       time. II would
                                would appreciate
                                       appreciate yoiu:
                                                   your comments
                                                        comments



Gina


                                                                                               App.187
                                                                                          IUOE4 FED
                                                                                          IU0E4 FED 7452
                                                                                                    7452
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Gina M. Alongi
Administrator
Local 4 Health and Welfare, Pension, and Annuity Funds
177 Bedford Street
Lexington, MA. 02420
781-861-1600 X11




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                                                                                                                   App.188
                                                                 2
                                                                                                             IUOE4 FED 7453
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                                                            Local 4 Fund Office


                                                              Weekly Timesheet

                                                                    By Fund



[Date [Timein.25.50.751   [Brief Description   Enter code - ALLHW, PEN, ANN; AT, CO, SAG, FAIR,DUES
                      ]
                      ]                                                                          |
                      ]
                      [




                                                                                                           App.189
                                                                                                      IUOE4 FED 7454
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                                     Proposed
                            ge        Sheet Soluty,,

                                 Effective January 5, 2004




Starting January 5, 2004, all employees that work on more than one fund must account
for their time. To make this process easy for the employee and to ensure we have
accurate data to report to the auditors, the timesheets must be located in a central file. My
recommendation for this process is as follows:

   A modified version of the timesheet will be created and placed beside each
   employee’s workstation. (Example 1, file attachment) During the day as the employee
   works on different funds, they will be responsible to track their time in .15 minute
   intervals on the “paper” form. At the end of each week it will be up to each employee
   to give their timesheet to Laura-Jean for data entry into the master timesheet database
   (Example 2.) Laura-Jean will hold each employee accountable to turn the timesheet in
   with a reminder e-mail on each Friday. If an individual does not turn in their
   timesheet, Laura-Jean will be instructed to notify the administrator for appropriate
   action.


    Example 2. Online Access database located on Laura-Jean’s desktop

    The Access database will have the attached example 1 timesheet format with the
    exception of the “enter code” field. This field will be a drop down box with each
    fund. This will make it more user friendly to key from the paper timesheet into the
    database. At the end of the week Laura-Jean will be responsible to enter the data into
    the database.

    When Laura- Jean opens the Access database it will give her a menu with the
    following options:

       1.   Enter timesheet data
       2.   Create report by fund
       3.   Create report by name
       4.   etc.
       5.   Exit

Upon request reports will be generated from this database based upon the above.




                                                                                          App.190
                                                                                     IUOE4 FED 7455
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                          Exhibit 16




                                                               App.191
                   Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 197 of 254



                                       SEGAL ROITMAN,                      LLP              Rot1 M. St6MAI (091$-1999)
DoNAtD ]. Sttc+                                  COUNSEL1ORS AT LAW
PAi F Kv                                                                                  HAotp B. Ronw (1913-z01)
                                                33   HAR#IsoN AVENUE
KATNYN      S   SHEA
EIIAMET RIENT St0ANI
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                              MINUTES OF SPECIAL MEETING OF TRUSTEES
                               I.U.O.E. LOCAL 4 HEALTH & WELFARE FUND
                                                                                                     I         23
                                                     July 21, 2020

                A special meeting of the Trustees of the I.U.O.E Local 4 Health and Welfare Fund was
        called to order beginning at 2:00 p.m. These minutes are to be held in confidence unless permission
        is obtained fromthe subcommittee of Trustees.

        Those Trustees present were:

        William D. McLaughlin, Chairman               James Reger
        David Fantini                                 Angelo Colasante
        Paul Diminico                                 David Marr, Jr.

        Also present was:

        Kathryn S. Shea                               Segal Roitman, LLP, Fund Counsel

               A special meeting of the Board of Trustees by videoconference was called to order to
        discuss the work performance of Fund Administrator Gina M. Alongi.

                The Trustees reviewed the Administrator' s work performance and found that it has been
        unsatisfactory. Recent events have disclosed serious problems of which the Trustees had not
        previously been aware.

                Since the start of the shutdown due to the COVID-19 pandemic, Administrator Alongi has
        been working from home. After the Fund Office reopened, some of the Fund staff have continued
        to work remotely. Those employees submit weekly reports of the workthey do at home.
        Administrator Alongi's reports were sent to the Chairman. Her reports included work for the
        Coalition of Taft Hartley Funds ("Coalition"), of which she is a director and receives a salary. She
        is supposed to do that work on her own time, not on the Funds' time.

               The Chairman inquired further and found that Administrator Alongi spends a significant
        portion of the Funds' regular business day on Coalition business, particularly in the weeks leading

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up to Coalition networking events. In particular, she spends a lot of time on the telephone on
Coalition business during regular Fund hours. Administrator Alongi directs staff members to do
Coalition work during regular business hours at the Fund Office, including work on Coalition event
planning, Coalition website, and Coalition financial accounting. Although the Trustees were aware
that Administrator Alongi served as a director of the Coalition and was paid by the Coalition, they
were unaware of the magnitude of Coalition work that was performed by Administrator Alongi and
her staff during regular business hours at the Fund Office. The only payment by the Coalition to the
Funds is a $400 annual "rent."

        The Chairman also learned that Administrator Alongi had committed $30,000 of the Local 4
Health Plan's wellness credit from Blue Cross Blue Shield to a Coalition wellness event to be held
in March 2020. The payment from the Local 4 Health Plan was to help defray the costs of various
tables and vendors that had been invited to the Coalition event. Administrator Alongi did not
inform the Trustees or seek the Trustees' approval of this $30.000 payment. Due to the COVID-19
pandemic shutdown, the Coalition event was cancelled and the payment was not made.

       The Trustees discussed that their meeting materials did not include the check register which
the Administrator had represented was submitted to the Board at each Trustees' meeting.
Administrator Alongi did submit certain expenses to the Trustees for approval, but upon inquiry it
appears that not all expenses were submitted to the Trustees for approval.

        The Trustees also learmed that Administrator Alongi did not fill out daily time sheets, as
every other Fund employee does, to keep track of the amount of time spent on work for the different
funds. These time sheets provide the basis for the Funds' independent auditor to calculate the
allocation of common Fund Office expenses among the different funds. Without any time sheets
from Administrator Alongi, the auditor's allocation of expenses may not have been accurate.
Administrator Alongi's failure to fill out time sheets or account for her time in any other way was
not known to the Trustees until after the COVID-19 pandemic shutdown.

        The Trustees discussed the cyber security problems that arose on May 23, 2020. The Funds'
cyber liability insurer Beazley provided special counsel, forensic experts, and reimbursement of the
Funds' expenses related to the cyber security issues. The forensic experts investigated the issues
and determined that there had been no breach of confidential information of any kind.

       From the outset, special counsel advised everyone to keep the information confidential until
after the forensic investigation to avoid making any inaccurate representations. However, early in
the investigation, Administrator Alongi disclosed details to a Fund administrator of her
acquaintance. In a conference call on May 29, 2020 attended by special counsel, forensic experts,
Fund staff, and Fund counsel, Administrator Alongi said she had a "confession" to make and
admitted that she told her acquaintance that Local 4 Funds had experienced a ransomware attack.
On July 21, 2020, Administrator Alongi made a second unauthorized disclosure of the cyber
security issues.

        The cyber security investigation disclosed Administrator Alongi's lack of oversight of the
Fund Office. Administrator Alongi had hired her sister Rosemarie Alongi to be the Funds' security
officer in 2005 and promoted her to be manager of the Funds' I.T. Department in 2019. In late
2019, Administrator Alongi and her sister were fighting and not speaking. Their fight continued
and they were still not speaking until after the COVID-19 shutdown. As a result, Administrator

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Alongi had essentially no oversight of the Funds' I.T. Department from late 2019 through July 20,
2020. The Trustees were not aware of this situation between Administrator Alongi and her sister.

        The Trustees had approved the expense of using a cyber security monitoring service called
Rapid7. Without any disclosure to or approval by the Trustees, in early 2020, Rosemarie Alongi
changed the Funds' monitoring service from Rapid7 to Managed Engine, a less robust service.
Managed Engine did not detect the threat actor that had entered the system in April 2020 and was
not discovered until the threat actor disabled the system on May 23, 2020.

        During the COVID-19 shutdown, Fund Office staff worked remotely using Fund laptops and
other Fund equipment. Rosemarie Alongi set up everyone's remote access using single factor
authentication (userame and password). Single factor authentication is vulnerable to hacking by
brute force attack and other means.

       In a discussion with the forensic expert and special counsel, the Chairman was informed that
the threat actor's entry into the system would likely have been prevented by multi-factor
authentication and would have been discovered quickly by a more robust monitoring service such as
Carbon Black. On the advice of the forensic experts, multi-factor authentication was implemented
and Carbon Black monitoring service was engaged.

        As it turned out, there was no breach of confidential information. However, the Funds'
computer system was unavailable for approximately four weeks. At the start, Administrator Alongi
told Vitech, the Funds' data service provider, that the Funds had been hit by a ransomware attack
and had all their data encrypted. Vitech immediately cut off the Funds' access to the Funds' data in
Vitech. Remittance reports could not be electronically submitted by employers and eligibility data
had to be obtained by phone calls to Vitech personnel who would perform searches upon request.
There was enormous disruption to Fund operations for approximately four weeks.

        Administrator Alongi had given her sister the responsibility for designing the Funds'
disaster recovery set up. The disaster recovery set up was unavailable and did not provide any
disaster relief.

       Cyber security problems can occur with the best-designed systems. However, the
Administrator's failure to oversee the I.T. Department and request the Trustees' approval of the
change from Rapid7 to Managed Engine demonstrates poor management.

       During the COVID-19 pandemic shutdown, Trustee Fogarty was contacted by a participant
whose daughter needed surgery. The participant had earned his 500 hours towards eligibility under
the Supplemental Plan, but it was five days' short of the first of the month after the month in which
he reached 500 hours and technically the surgery would not be covered. This was brought to the
attention of Associate Administrator Gregory Geiman. Associate Administrator Geiman discussed
various possible solutions with the Administrator and Fund counsel, including an appeal and/or plan
amendment. The Trustees were in favor of a plan amendment to address this situation and any
similar situations. Administrator Alongi became adamant that the participant would have to make
some payment to the Fund. She presented the Trustees with an amendment requiring payment by
the participant. The Trustees were unaware that payment was not a necessary condition and that it
was being required by Administrator Alongi. Upon inquiry, the Chairman learned that no payment
was necessary, and the plan amendment, which had been voted on, was changed and required a

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second vote. Withholding information and not giving the Trustees a chance to review all the options
shows a lack ofjudgment and an incorrect understanding of her role.

        The Trustees discussed their responsibility as fiduciaries of the Fund to make prudent
decisions in the best interests of the Fund's participants and beneficiaries. The Trustees reviewed
Administrator Alongi's work performance, the waste and potential waste of Plan assets ($30,000
wellness credit, Coalition business during regular Fund work hours), mismanagement of the Fund
Office (failure to fill out time sheets for proper expense allocation, failure to oversee I.T.
Department), breach of confidentiality (premature cyber security disclosures), and withholding
information from Trustees (failure to submit check registers, failure to inform Trustees of plan
amendment options). The Trustees agreed that such serious problems mandate termination of
Administrator Alongi's employment and her removal as Fund Administrator.

       A MOTION was made, was seconded, and UNANIMOUSLY carried to terminate the
       employment of Gina Alongi and remove her as Fund Administrator, effective July 21,
       2020, and authorize a subcommittee of the Board of Trustees of the Health & Welfare
       Plan to communicate to Ms. Alongi the Trustees' decision after taking all prudent steps
       to secure Fund assets and systems.

         The Trustees then discussed the best way to ensure proper administration of the Fund. The
Trustees discussed the qualifications and long service of Associate Administrator Gregory A.
Geiman to succeed Ms. Alongi as Fund Administrator. Associate Administrator Geiman is well
known to the Trustees. The Trustees expressed their trust and confidence in his managerial
abilities, his work ethic, his knowledge of the Trust and Plan documents, and the good judgment
and discretion he has shown over his ten years of service to the Funds.

       A MOTION was made, was seconded, and UNANIMOUSLY carried to appoint
       Gregory A. Geiman to be the Fund Administrator, effective immediately, at his current
       salary, which will be reviewed at the next regular meeting of the Health & Welfare
       Plan.

        A MOTION was made, was seconded, and UNANIMOUSLY carried to adjourn the
       meeting.

                                                             Respectfully submitted.



                                                             ls! Kathryn S. Shea
                                                             Kathryn S. Shea
                                                             Segal Roitman, LLP
                                                             33 Harrison Avenue, 7 Floor
                                                             Boston, MA 0211I
                                                             kshea@segalroitman.com
                                                             Cell phone 617-851-4350




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                          Exhibit 17




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                   10       Grants and
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      Expenses




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                   19       Net  assets or
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                                                                                     18 through
                                                                                        through 20
                                                                                                20               «                                                         •        21                                  82,519
                                                                                                                                                                                                                        82,519
      For Paperwork
      For Paperwork Reduction
                     Reduction Act
                                Act Notice, see the
                                    Notice, see  the separate
                                                      separate instructions.
                                                                 instructions.                     Cat No
                                                                                                   Cat    10642]
                                                                                                       No 106421                                                                                  Form 990-EZ
                                                                                                                                                                                                  Form 890-EZ (2016)
                                                                                                                                                                                                              (2016)


                                                                                                                                                                                                   i’ App.197
                                                                                                                                                                                                   A
                                                                                                                                                                                   IUOE4 FED
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                                                                                                                                                                                         FED 4984
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Form 990-EZ (2016)                                                                                                                                                               Page 2
 Part Il |     Balance Sheets (see the instructions for Part Ii)
               Check if the organization used Schedule O to respond to any question in this en in.                                 .                               2:       su         bd
                                                                                                                       A) Beginning of year                    NT) End of year
 22     Cash, savings, and investments . . . . . . . . . . . . . . .. .                                           |
                                                                                                                  117,040]22]                                                    82,519
 23     land and buildings. . .                 Cee                                                               [23]
 24     Other assets (describe in Schediie io) I
 25     Totalassets. . .                           Ce ee ee eo             ooo                                        117,040]25)                                                82,519
 26     Total liabilities Wesonbe n Scheaule 0) Co                             Co .                                   ll
 27     Net assets or fund balances (line 27 of column (B) — agree with ig 21) I                                      117,080]27]                                                82,519
Gclgflll]      Statement of Program Service Accomplishments (see the instructions for Part Ill)
               Check if the organization used Schedule O to respond to any question in this Part Ill.                                       . []                   Expenses
What is the organization's primary exempt purpose?           LOWER MEDICAL COST FOR MEMBERS                                                                  Py             a
Describe the organization's program service accomplishments for each of its three largest program services, | organizations, optional for
as measured by expenses. In a clear and concise manner, describe the services provided, the number of | others)
persons benefited, and other relevant information for each program title.




                                                                                                                                                         28a




                                                                                                                                                         29a




      (Grants $                        ) If this amount includes foreign grants, check here                       .    . . . B»                 []       [30a
 31   Other program services (describe in Schedule O)              .                                                   Lee.
       Grants $                               If this amount includes tole gn grants, high lrg                    ..       .   .       bp                |31a
 32 Total program service expenses (add lines 28a through 31a) . .                    .      .    .   |           oo...                         b> | 32]
Part IV        List of Officers, Directors, Trustees, and Key Employees (list each one even 7 not PrE                                           the instructions for Part IV)
               Check if the organization used Schedule O to respond to any questioninthisPartlv.                                   .        .        .   .     .   .    .   .    .     [J]
                                                                                                 (c) Reportable
                       (a) Name and title                         I                              compensation        contributions to employee] (e) Estimated amount of
                                                                                          (Forms W-2/1093-MISC)          benefit plans, and        other compensation
                                                                devoted t0 position        (if not paid, enter -0-} | deferred compensation

Tn          A                                 —
EXECUTIVE DIRECTOR
LOUISMALZONE eee
PRESIDENT
YE DYE                             its asta msamans th
               ree setomrsuionsiemsitnunsminis
VICE PRESIDENT
CAROLBLANCHARD een
SECRETARY
ROGER GILL




                                                                                                                                                                       App.198
                                                                                                                                                             Form 990-EZ             (2016)
                                                                                                                                                IUOE4 FED 4985
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Form S80-EZ (2016)                                                                                                                                                              Page 3
ZR             Other Information (Note the Schedule A and personal benefit contract statement requirements in the
               instructions for Part V) Check if the organization used Schedule O to respond to any question in this Part VV.                                                   .    [J]

        Did the organization engage In any significant activity not roviaiely reported to the IRS? If “Yes,” provide a
        detailed    description of each activity in Schedule O .              PR        Coe              Lo.           Cee
        Were any significant changes made to the organizing or governing documents? If “Yes,” attach a conformed
        copy of the amended documents if they reflect a suenget to the organization's name. Otherwise, explain the
        change on Schedule O (see instructions)                                                                              x #
        Did the organization have unrelated business gross income6 of $1, 000. or more Sonny the year “from business
        activities (such as those reported on lines 2, 6a, and 7a, among others)? .                  Lo.
        If “Yes,” to line 35a, has the organizationfiled a Form 990-T for the year? If “No,” provide an explanation in Schedule (0)
        Was the organization a section 501(c)(4), 501(c)(5), or 501(c)(6) organization subject to section 6033(e) notice,
        reporting, and proxy tax requirements during the year? If “Yes,” complete Schedule C, Part lil .
        Did the organization undergo a liquidation, dissolution, termination, or significant disposition of net assets
        during the year? If “Yes,” complete applicable parts of Schedule N                         Lo.
        Enter amount of political expenditures, direct or indirect, as described in the instructions »
        Did the organization file Form 1120-POL for this year?.
        Did the organization borrow from, or make any loans to, any officer, dwector, Tastes, or* hay employee or were
        any such loans made in a prior year and still outstanding at the end of the tax year covered by this return?
        If “Yes,” complete Schedule L, Part Il and enter the total amount involved
        Section 501(c)(7) organizations. Enter:
        Initiation fees and capital contributions included on line 9
        Gross receipts, included on line 9, for public use of club facilities
        Section 501(c)(3) organizations. Enter amount of tax imposed on the organization dng the year under:
        section 4911 bp                        ; section 4912 b>                   ; section 4955 p>
        Section 501(c)(3), 501(c)(4), and 501(c)(29) organizations. Did the organization engage in any section 4958
        excess benefit transaction during the year, or did it engage in an excess benefit transaction in a prior year
        that has not been reported on any of its prior Forms 920 or 990-EZ? If “Yes,” complete Schedule L, Part |
        Section 501(c)(3), 501(c)(4), and 501(c)(29) organizations Enter amount of tax imposed
        on organization managers or disqualified persons during the year under sections 4912,
        4085,8nN048588     .   .   .   .   4   wn   +   4   ow   wos     §       ow     om    os     ok   ow   suo     oe   x   x
        Section 501(c)(3), 501(c)(4), and 501(c)(29) SgaNISterS:                                   Enter amount of tax on line
        40c reimbursed by the organization . . .                  .   .   .       EN
        All organizations. At any time during the tax year, was the NE      a party to a prohibited tax shelter |
        transaction? If “Yes,” complete Form 8886-T .               Cee eee            v         . =
        List the states with which a copy of this return is filed
 42a    The organization's books are in care of » GINA ALONG                             Telephone no. »        508-533-1400
        Located at » 16 TROTTER DRIVE, MEDWAY MA                                                                                              ZIP+4      bp           C
        At any time during the calendar year, did the organization have an interest In or a signature or other authority over
        a financial account in a foreign country (such as a bank account, securities account, or other financial                                    account)?
        If “Yes,” enter the name of the foreign country: b>
        See the instructions for exceptions and filing requirements for FINCEN Form 114, Report of Foreign Bank and
        Financial Accounts (FBAR).
        At any time during the calendar year, did the organization maintain an office outside the United States?
        If “Yes,” enter the name of the foreign country: b>
        Section 4947(a)(1) nonexempt charitable trusts filing Form 990-EZ in lieu of Form 1041—Check here
        and enter the amount of tax-exempt interest received or accrued during the tax year .

        Did the organization maintain any               donor     advised             funds         wi         the year?    If “Yes,”       Form   990    must   be
        completed instead of Form 990-EZ                                                                                                .
         Did the organization operate one or more hospital “Sects dons                                          the year? If “Yes,” Form 990 ou                  be
        completed instead of Form 990-EZ                                     I                                       Ce.
         Did the organization receive any payments for indoor tanning services dung the _—
        If "Yes" to line 44c, has the rgenizn                    filed   a Form              720 to report these pRymanis?                  If "No, " pride an
        explanation in Schedule O                                                                                                       Cee
         Did the organization have a controlled antty within the meaning of section \ 512()(1 a
         Did the organization receive any payment from or engage in any transaction with a controlled entity wilin the
         meaning of section 512(b)(13)? If “Yes,” Form 990 and Schedule R may need to be completed instead of
         Form 990-EZ (see instructions) .        Lo.                                    Lo.
                                                                                                                                                                      App.199
                                                                                                                                                                  Form 990-EZ       (2016)
                                                                                                                                                          IUOE4 FED 4986
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Form 990-EZ (2016)
              r.

 46                Did the organization engage, directly or indirectly, in political campaign activities on behalf of or In opposition
                   to candidates for public office? If “Yes,” complete Schedule C, Part |
                        Section 501(c)(3) organizations only
                        All section 501(c)(3) organizations must answer questions 47-49b and 52, and complete the tables for lines
                         50 and 51.
                         Check if the org anization used Schedule
                                                               O to respond to any                   question in thisPartVI               .           .        .           .       .   .    .        . Od
                                                                                                                                                                                                [Yes] No

                                                                                                                                                                                       AR
 47                Did the organization engage In lobbying activities or have a section 501 is election in effect during the tax
                   year? If “Yes,” complete Schedule C, Part Il
 48                Is the organization a school as described in section 17000)(1)AN? If "Yes," I      Sevens E
 49a               Did the organization make any transfers to an exempt non-charitable related organization? .
      b            If “Yes,” was the related organization a section 527 organization?                                                                                                  nL
 50                Complete this table for the organization's five highest compensated employees (other than officers, directors, trustees, and key
                   employees) who each received more than $100,000 of compensation from the organization. If there is none, enter “None.”
                                                                                                                               {d) Health benefits,
                                                                            (b) Average           {c) Reportable
                      (a) Name and title of each employee                 hours per week
                                                                                                                          contributions to employee | (e) Estimated amount of
                                                                                                  compensation
                                                                                                                          benefit plans, and deferred    other compensation
                                                                        devoted to position   (Forms W-2/1099-MISC)
                                                                                                                                compensation




          f        Total number of other employees paid over $100,000      . . . . »
 51                Complete this table for the organization's five highest compensated independent contractors who each received more than
                   $100,000 of compensation from the organization. If there 1s none, enter “None.”

                      (a) Name and business address of each independent contractor                     (b} Type of service                                             (c) Compensation




       d           Total number of other independent contractors each receiving over $100,000 . .»
 52                Did the organization complete Schedule A? Note: All section 501d) organizations                                   must             attach a
                   completed ScheduleA      . . . . . . . . . . .                       ev.     «oo . .                              . .              . . PCYes                                  [INo
Under penalties of perjury, | declare that | have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it Is
true, correct, and complete Declaration of preparer (other than officer) is based on all information of which preparer has any knowledge


Sig n                         Signaturs of officer                                                                                 Date
Here                         GINA ALONG] EXECUTIVE           DIRECTOR                                                                     Z                    /
                             Type or pnnt name and title
                                                                       Preparer's signature                            Date                       I                    0       "
Paid                      Pnnt/Type preparer's name

Preparer                                                                                                                                          self-employed
UseOnly|fmsname ~~
                »                                                                                                                  Trmeens
                                                                                                                                   Phone no
May the IRS discuss this return with the preparer shown above? See instructions                               .    .                          .           .        .       >       [Yes           [No
                                                                                                                                                                                   Form 890-EZ (2016)
                                                                                                                                                                                           App.200
                                                                                                                                                              IUOE4 FED 4987
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SCHEDULE 0                               Supplemental Information to Form 990 or 990-EZ                                               OMB No 1545-0047
{Forma 990 or 890-EZ)                   Complete to provide information for responses to specific questions on                          2 0
                                              Form 990 or 990-EZ or to provide any additional information.                                        1    6
Department of the Treasury                                  » Attach to Form 990 or 990-EZ.                                                           o} {To}
                                                                                                                                      (0707301 (oT 2101
Intemal Revenue Service      » Information about Schedule O (Form 990 or 990-EZ) and its instructions is at www.irs.gov/form890.      [9] o]=Tea (Tel p}
Name of the organization                                                                                         Employer identification number
MASSACHUSETTS COALITION OF TAFT-HARTLEY TRUST FUNDS                                                                             XX-XXXXXXX

PART 1 LINE 16:




For Paperwork Reduction Act Notice, see the Instructions for Form 890 or 990-EZ.                 Cat No 51056K                               App.201
                                                                                                                      Schedule © (Form 830 or 930-EZ) (2016)


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Case
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                          Exhibit 18




                                                               App.209
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                      Time Study
          September 2014- November 2014
      To be Allocated Jan 1, 2015- Dec 31, 2015

International Union of Operating Engineers Local 4 Health and Welfare, Pension, and Annuity Funds
Percentage of time spent on common task weighted based on salaries

                                           H&W           Pension       Annuity        A&T        Coop           SAC       Dues
Alongi, Gina                                29.0000%     48.7776%      12.4667%      4.3686%     4.2457%       0.0440%    1.0974%    100.0000%
Alongi, Rosemarie                           33.4142%     15.5125%      15.5055%     11.9598%    11.9527%       0.0000%   11 .6553%   100.0000%
Christy, Don                                38.7074%     36.9162%      16.2310%      2.4083%     1.5161%       0.1459%    4.0751%    100.0000%
Fontes, Rebecca                              0.1102%      0.8776%      98.6818%      0.1102%     0.1101%       0.0000%    0.1102%    100.0000%
Geiman, Greg                                38.1449%     33.5958%      21.6266%      1.9855%     1.3297%       0.1072%    3.2104%    100.0000%
Hickey, Laura-Jean                          34.5746%     22.6801%      29.7807%      5.4187%     4.0692%       0.0122%    3.4643%    100.0000%
Koufas, Alan                                22.7086%     31 .5715%     11.8712%     11.2711%    11 .2253%      0.0061%   11 .3461%   100.0000%




                                                   PY
Kurtz, Alice                                 0.5141%     46.8295%      52.5278%      0.0428%     0.0428%       0.0000%    0.0428%    100.0000%
Lynch, Laurie                               31.2991%     30.7884%      14.6633%      5.6400%     7.2864%       1.9515%    8.3713%    100.0000%
McGoldrick, Sheila                           0.0000%     98.5615%       1.4385%      0.0000%     0.0000%       0.0000%    0.0000%    100.0000%
Ortega, Rosemary                            38.6588%     24.5500%      20.4685%      5.3123%     4.9915%       0.1548%    5.8641%    100.0000%
Rivera, Yerania                             13.2655%     63.2218%      14.1156%      3.0654%     2.8762%       0.0295%    3.4260%    100.0000%
Zaccardi, Rebecca                           35.6761%     33.0339%      19.3588%      3.6150%     3.8273%       0.0821%    4.4069%    100.0000%
Dow, Jennifer                              100.0000%      0.0000%       0.0000%      0.0000%     0.0000%       0.0000%    0.0000%    100.0000%
Kasprzyk, Malle                            100.0000%      0.0000%       0.0000%      0.0000%     0.0000%       0.0000%    0.0000%    100.0000%
Trefry, Bettyann
Vachon, Jennifer


% of time spent on common tasks
                                                  O
                                            89.2969%
                                            46.5362%

                                           651.9067%
                                            38.3475%
                                                          5.0867%
                                                         23.3255%
                                                                        5.0866%
                                                                       11.2732%

                                                         515.3284% 345.0959%
                                                          30.3134%     20.2998%
                                                                                     0.1698%
                                                                                     5.2849%

                                                                                   60.6524%
                                                                                     3.5678%
                                                                                                 0.1655%
                                                                                                 4.1150%

                                                                                                57.7536%
                                                                                                    3.3973%
                                                                                                               0.0164%
                                                                                                               3.1333%

                                                                                                               5.6831%
                                                                                                               0.3343%
                                                                                                                          0.1781%
                                                                                                                          6.3320%


                                                                                                                          3.7400%
                                                                                                                                     100.0000%
                                                                                                                                     100.0000%

                                                                                                                         63.5799% 1700.0000%
                                                                                                                                     100.0000%
                                      C
Final Common Overhead Expense              H&W            Pension      Annuity       A&T         Coop           SAC        Dues        Total
Allocation Percent~ge                    32.3939%        34.7769%     20.4113%     4.1400%      3.9540%       0.2655%    4.0584%     100.0000%




                                                                                                                                            App.210
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                                                                                    !
                  I    Time Study
              April 2015 -September 2015
       To be Allocated Jan 1, 2016- Dec 31,2016

International Union of Operating Engineers Local 4 Health and Welfare, Pension, and Annuity Funds
Percentage of time spent on common task weighted based on salaries

                                             H&W           Pension      Annuity          A&T        Coop         SAC       Dues
Alongi, Gina J                               19.0000%      58.7776%      12.4667%        3.0919%   4.2457%      0.4440%    1.9741%   100.0000%
Alongi, Rosemarie J                          23.0008%      19.1452%      19.1377%       13.0812% 13.0736%       0.0000%   12.5614%   100.0000%
Berardi, Terri ...If                         40.6192%      20.5629%      15.6489%        8.5872%   6.4363%      0.9693%    7.1763%   100.0000%
Christy, Don ,;                              36.7129%      37.8610%      15.9789%        2.8540%   2.0073%      0.1362%    4.4497%   100.0000%
Dow, Jennifer ~                             100.0000%       0.0000%       0.0000%        0.0000% ' 0.0000%      0.0000%    0.0000%   100.0000%
Fontes, Rebecca                               0.0377%       0.0377%      99.8115%        0.0377%   0.0377%      0.0000%    0.0377%   100.0000%
Geiman, Greg /                               39.1725%      37.3035%      15.7900%        1.8460%   2.1955%      0.0957%    3.5967%




                                                     PY
                                                                                                                                     100.0000%
Hickey, Laura-Jean J                         50.7387%      23.2482%      15.0211%        3.7631%   3.6359%      0.0012%    3.5917%   100.0000%
Kasprzyk, Malle ,                           100.0000%       0.0000%       0.0000%        0.0000%   0.0000%      0.0000%    0.0000%   100.0000%
Koufas, Alan J
Kurtz, Alice       J!
                   v
                      "'""     \
                                             25.4637%
                                              5.7704%
                                                           28.4139%
                                                           61 .0109%
                                                                         12.0713%
                                                                         32.5958%
                                                                                        11.3359% 11.2813%
                                                                                         0.2077%   0.2075%
                                                                                                                0.0077%
                                                                                                                0.0000%
                                                                                                                          11.4261%
                                                                                                                           0.2077%
                                                                                                                                     100.0000%
                                                                                                                                     100.0000%
Lynch, Laurie                      \         32.2814%      33.2379%      15.0505%        4.0782%   7.2906%      0.3062%    7.7552%   100.0000%!
McGoldrick, Sheila /J              I          0.0766%      96.7060%       2.9875%        0.0766%   0.0766%      0.0000%    0.0766%   100.0000%
Ortega, Rosemary~              I             40.2337%      25.5202%      18.0354%        5.2951%   4.9827%      0.0498%    5.8831%   100.0000%!
Rivera, Yerania J          /                  3.1369%      58.1572%      34.6986%        1.3201%   1.2740%      0.0073%    1.4058%   100.0000%i
Trefry, Bettyann
Vachon, Jennifer .r,
Zaccardi, Rebecca I
                      ,/




                                                    O
                                             98.9328%
                                             52.5239%
                                             32.0757%

                                            699.7771%
                                                            0.2135%
                                                           25.7134%
                                                           33.6272%

                                                          559.5364%
                                                                          0.2134%
                                                                         10.8155%
                                                                         16.2514%

                                                                       336.5741%
                                                                                         0.2135%
                                                                                         2.9011%
                                                                                         5.1 786%

                                                                                        63.8679%
                                                                                                   0.2134%
                                                                                                   2.1190%
                                                                                                   4.9447%

                                                                                                   64.0219%
                                                                                                                0.0000%
                                                                                                                1.1468%
                                                                                                                0.3834%

                                                                                                                3.5477%
                                                                                                                           0.2135%
                                                                                                                           4.7803%
                                                                                                                           7.5389%
                                                                                                                                     100.0000%1
                                                                                                                                     100.0000%
                                                                                                                                     100.0000%

                                                                                                                          72.6749% 1800.0000%1
                                        C
% of time spent on common tasks               38.8765%     31.0854%      18.6986%        3.548Z%    3.5568%     0.1971%    4.0375%   100.0000%



Final Common Overhead Expense               H&W            Pension       Annuity          A&T        Coop        SAC        Dues       Total
Allocation Percentage                     32.9383%        36.7503%      17.5199%        3.9952%    4.1522%     0.1853%    4.4588%    100.0000%

The first section of this charl details the percentage of time spent on common task broken out by employee by Fund.

The Final Common Overhead Expense Allocation Percentage is derived by taking the percentage of time spent on common task
   and applying these percerJtages to the total salary package per employee per Fund.                             -I

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                      Time Study
                 June 2016- Oct 2016
      To be Allocated Jan 1, 2017- Dec 31,2017

International Union of Operating Engineers Local 4 Health and Welfare, Pension, and Annuity Funds
Percentage of time spent on common task weighted based on salaries

                                                      H&W         Pension    Annuity            A&T       Coop        SAC       Dues
Alongi, Gina                                           19.0000%   58.7776%   12.4667%          3.0919%    4.2457%    0.4440%    1.9741%   100.0000%
Alongi, Rosemarie                                      17.4516%   16.9679%   16.9044%         16.2476%   16.2379%    0.0000%   16.1905%   100.0000%
Batchelder Wendy                                       32.9332%   33.8647%   16.1074%          5.4595%    4.7705%    0.1105%    6.7542%   100.0000%
Berardi, Terri                                         33.3195%   31.0614%   13.9545%          6.0687%    4.7253%    3.5980%    7.2727%   100.0000%
Boisvert, Amy                                          52.4371%   17.1681%   15.8266%          4.8508%    4.8404%    0.0012%    4.8758%   100.0000%
Christy, Don                                           37.2700%   38.4500%   15.9600%          2.4700%    1.6000%    0.1400%    4.1100%   100.0000%
Dow, Jennifer                                         100.0000%    0.0000%    0.0000%          0.0000%    0.0000%    0.0000%    0.0000%   100.0000%




                                                             PY
Geiman, Greg                                           37.9475%   33.4937%   18.3911%          2.8750%    3.2795%    0.0895%    3.9237%   100.0000%
Hickey, Laura-Jean                                     42.5731%   24.8476%   22.5739%          3.3131%    3.4064%    0.0000%    3.2859%   100.0000%
Koufas, Alan                                           29.7735%   19.8310%   13.5519%         12.2542%   12.1629%    0.0135%   12.4129%   100.0000%
Kurtz, Alice                                            0.5013%   54.6989%   43.2960%          0.5013%    0.5010%    0.0000%    0.5013%   100.0000%
Lynch, Laurie                                          33.5358%   34.5391%   15.4288%          3.9766%    6.3281%    0.1281%    6.0636%   100.0000%
McGoldrick, Sheila                                      0.0254%   98.1952%    1.7031%          0.0254%    0.0254%    0.0000%    0.0254%   100.0000%
Ortega, Rosemary                                       34.2985%   26.1655%   20.5377%          6.2563%    6.0339%    0.0352%    6.6729%   100.0000%
Rivera, Yerania                                         3.9096%   23.9916%   70.4956%          0.5345%    0.5342%    0.0000%    0.5345%   100.0000%
Vachon, Jennifer                                      100.0000%    0.0000%    0.0000%          0.0000%    0.0000%    0.0000%    0.0000%   100.0000%
Zaccardi, Rebecca


% of time spent on common tasks
                                                            O
                                                       34.1728%

                                                      609.1488%
                                                       35.8323%
                                                                  31.3370%


                                                                   31.9641%
                                                                             15.8378%

                                                                  543.3894% 313.0355%
                                                                             18.4139%
                                                                                               5.4300%

                                                                                              73.3550%
                                                                                               4.3150%
                                                                                                          5.6119%

                                                                                                         74.3031%
                                                                                                          4.3708%
                                                                                                                     0.2165%

                                                                                                                     4.7766%
                                                                                                                     0.2810%
                                                                                                                                7.3940%   100.0000%

                                                                                                                               81.9915% 1700.0000%
                                                                                                                                4.8230% 100.0000%
                                                   C
Final Common Overhead Expense                          H&W         Pension    Annuity           A&T        Coop       SAC        Dues       Total
Allocation Percentage                                32.5141%     35.1416%   17.9106%         4.5395%    4.7370%    0.2271%    4.9301%    100.0000%

The first section of this chart details the percentage of time spent on common task broken out by employee by Fund.

The Final Common Overhead Expense Allocation Percentage is derived by taking the percentage of time spent on common task
   and applying these percentages to the total salary package per employee per Fund.



                                                                                                                                                      App.212
Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 218 of 254




                          Exhibit 19




                                                               App.213
               Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 219 of 254




From:
From:                 Laura-Jean        <LHickey@local4funds.org>
                                 Hickey <LHickey@local4funds.org>
                      Laura-Jean Hickey
Sent:
Sent:                 Wednesday,    August 28,
                      Wednesday, August          2013 1:44
                                            28, 2013        PM
                                                       1:44 PM
To:
To:                   Gina  Alongi
                      Gina Alongi
Subject:
Subject:              RE:           expenses.xlsx
                          Coalition expenses.xisx
                      RE: Coalition
Attachments:
Attachments:                 Agreement_2007-2010.pdf; GMA
                      GMA Agreement_2007-2010.pdf;
                      GMA                                  GMA ExEx Director Agmt 10-2010.pdf;
                                                                    Director Agmt              GMA Ex
                                                                                  10-2010.pdf; GMA             Agmt
                                                                                                      Director Agmt
                                                                                                   Ex Director
                      10-2012.pdf; GMA
                      10-2012.pdf;        Ex Dir
                                     GMA Ex       Retro lncreases_Oct
                                              Dir Retro                 2012.pdf
                                                         Increases_Oct 2012.pdf



Attached:
Attached:
    e    10/2007-9/2010
         10/2007-9/2010 Agreement
                        Agreement                                                  | tXHlBlT
    eo   10/2010-9/2012 Agreement
         10/2010-9/2012 Agreement                                                  I          n
    e    10/2012-9/2015
         10/2012-9/2015 Agreement
                         Agreement                                                I ALONG!
                                                                                       ALONGI
    e    10/2012
         10/2012 Retro
                 Retro Increase
                       Increase document
                                document                                            06/22/2022 BG
                                                                                  f O6/22/202P BG

From: Gina
From:   Gina Alongi
              Alongi
Sent: Wednesday,
Sent:                 August 28,
       Wednesday, August          2013 1:33
                              28, 2013       PM
                                        1:33 PM
To:  Laura-Jean   Hickey
To: Laura-Jean Hickey
           Re: Coalition
Subject: Re:
Subject:                  expenses.xIsx
                Coalition expenses.xisx

    you send
Can you
Can          me aa copy
        send me         of my
                   copy of    agreement.
                           my agreement.

Sent from
Sent from my
          my iPhone
             iPhone




                                                                                                           App.214
                                                                                                     IUOE4 FED
                                                                                                     IU0E4 FED 8852
                                                                                                               8852
       Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 220 of 254




                                          AGREEMENT

                                   EXECUTIVE DIRECTOR

       MASSACHUSETTS COALITION OF TAFT-HARTLEY TRUST FUNDS, INC.


            AGREEMENT made this 1% day of October, 2007, by and between the
     Massachusetts Coalition of Taft-Hartley Trust Funds, Inc. (the “Coalition”) and Gina M.
     Alongi (“Alongi”).
             In consideration of the mutual covenants herein contained, the Coalition does
     hereby retain Alongi, and Alongi agrees to provide services to the Coalition upon the
     following terms and conditions:

     i       Alongi is hereby engaged to provide consulting services to the Coalition. Alongi
     shall perform these services as an independent contractor and Alongi shall be paid by the
     Coalition as an independent contractor. In said capacity, Alongi shall perform the
     following services:

            a.      Prepare an agenda of the meetings of the Executive Board and Regular
                    Meeting;
0)




            b.      Advise the members of the Coalition of legislation, events and issues of
                    importance to them;

            d.      To educate legislative and executive federal and state governments on
                    matters of importance to the Coalition members;

            e.      Arrange for the schedule speakers to discuss topics of interest to Coalition
                    members;

            f.      Represent the Coalition on all matters requested by the Executive Board;

            g.      Maintain the records of the Coalition;

            h.      File required reports with regulatory agencies;

            (A      To develop and propose better methods of providing and paying for health
                    care, including investigation of possible arrangements with providers and
                    other groups with a view to negotiating favorable rates for the Coalition -
                    members for such provider services or insurance and evaluate and develop
                    the same for defined benefit and defined contribution plans.



                                                                                             App.215
                                                                                       IUOE4 FED 8853
 Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 221 of 254




And to perform such other reasonable services as may be requested by the President or
Executive Board from time to time.

2.       Alongi shall perform the services contemplated to be performed by the
Agreement during the duration of the Agreement. This Agreement between the parties
shall terminate on A «f Fo,20/@mless renewed by mutual agreement between the
parties.

3.      During the term of this Agreement, Alongi shall devote so much of her time, skill
and attention to providing the services required by this Agreement as may be necessary to
perform properly such services.

4."                                                                   for such
      ~ During the term of this Agreement, the Coalition shall pay Alongi
services, effective October 1, 2007, $20,000.00 annually, payable monthly. Such
payment shall constitute the sole and exclusive amount payable by the Coalition to
Alongi for such consulting services.

5.      The Coalition shall also reimburse Alongi for all reasonable and necessary
expenses incurred in the performance of her services with approval and upon submission
of approved documentation and receipts.

6.      The Coalition shall have the right with or without cause to terminate this
Agreement prior to            0, 20/0   by giving written notice to Along at least thirty (30)
days in advance of thé termination date. Alongi shall have the right, with or without
cause, to terminate this Agreement prior to,                      y giving written notice to
the Coalition at least thirty (30) days in advance of the termination date. In the event this
Agreement is terminated by either party, Alongi shall not be eligible to receive any
amount payable after the effective date of termination, except any amount or expenses
accrued prior to the effective date of termination shall be paid to Alongi for services
rendered to the Coalition prior to the effective date of termination.

7.      This contract constitutes the entire Agreement between the parties and contains all
the Agreements between them with respect to the subject matter hereof. It also supersedes
any and all other agreements or contract, either oral or written, between the parties with
respect to the subject matter hereof.

8.      Except as otherwise specifically provided, the terms and conditions of this
contract may be amended at any time by mutual agreement of the parties, provided that
before any amendment shall be valid or effective it shall have been reduced to writing
and signed by the parties to this Agreement.

9.       The invalidity or unenforceability of any particular provision of this Agreement
shall not affect its other provisions, and this Agreement shall be construed in all respects
as if such invalid or unenforceable provision has been omitted.




                                                                                          App.216
                                                                                    IUOE4 FED 8854
       Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 222 of 254




     10.     This Agreement shall be construed and enforced under an in accordance with the
     laws of the Commonwealth of Massachusetts.

     11.     This Agreement shall be binding upon the parties hereto and their heirs,
     successors and assigns.

             IN WITNESS WHREOF the Coalition and Alongi have hereunto set their hands
     and seals to this instrument in duplicate on the day and year first above written.


     MASSACHUSETTS COALITION OF TAFT-HARTLEY FUNDS, INC.


     BY:
            President



     BY:
              reasurer




     saga
     GINA M. ALONGI

BY




                                                                                              App.217
                                                                                        IUOE4 FED 8855
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                                      AGREEMENT

                               EXECUTIVE DIRECTOR

  MASSACHUSETTS           COALITION OF TAFT-HARTLEY TRUST FUNDS,                      INC.


        AGREEMENT made this 1™ day of October, 2010, by and between the
Massachusetts Coalition of Taft-Hartley Trust Funds, Inc. (the “Coalition”) and Gina M.
Alongi (“Alongi™).

        In consideration of the mutual covenants herein contained, the Coalition does
hereby retain Alongi, and Alongi agrees to provide services to the Coalition upon the
following terms and conditions:

1       Alongi is hereby engaged to provide consulting services to the Coalition. Alongi
shall perform these services as an independent contractor and Alongi shall be paid by the
Coalition as an independent contractor. In said capacity, Alongi shall perform the
following services:

       a.      Prepare an agenda of the meetings of the Executive Board and Regular
               Meeting;

       b.      Advise the members of the Coalition of legislation, events and issues of
               importance to them;

       d.      To educate legislative and executive federal and state governments on
               matters of importance to the Coalition members;

       e.      Arrange for the schedule speakers to discuss topics of interest to Coalition
               members;

       f.      Represent the Coalition on all matters requested by the Executive Board;

       g.      Maintain the records of the Coalition;

       bh.     File required reports with regulatory agencies;

       i.      To develop and propose better methods of providing and paying for health
               care, including investigation of possible arrangements with providers and
               other groups with a view to negotiating favorable rates for the Coalition
               members for such provider services or insurance and evaluate and develop
               the same for defined benefit and defined contribution plans.



                                                                                             App.218
                                                                                     IUOE4 FED 8856
     Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 224 of 254




And to perform such other reasonable services as may be requested by the President or
Executive Board from time to time.

2.       Alongi shall perform the services contemplated to be performed by the
Agreement during the duration of the Agreement. This Agreement between the parties
shall terminate on September 30, 2013 unless renewed by mutual agreement between the
parties.

3       During the term of this Agreement, Alongi shall devote so much of her time, skill
and attention to providing the services required by this Agreement as may be necessary to
perform properly such services.

4.      During the term of this Agreement, the Coalition shall pay Alongi for such
services, effective October 1, 2010, $24,000.00 and October 1, 2011, $25,000 annually,
payable monthly. The increase for October 1, 2012 will be review by the Executive
Board.

 Such payment shall constitute the sole and exclusive amount payable by the Coalition to
Alongi for such consulting services.

..      The Coalition shall also reimburse Alongi for all reasonable and necessary
expenses incurred in the performance of her services with approval and upon submission
of approved documentation and receipts.

6.      The Coalition shall have the right with or without cause to terminate this
Agreement prior to September 30, 2012 by giving written notice to Alongi at least thirty
(30) days in advance of the termination date. Alongi shall have the right, with or without
cause, to terminate this Agreement prior to September 30, 2012 by giving written notice
to the Coalition at least thirty (30) days in advance of the termination date. In the event
this Agreement is terminated by either party, Alongi shall not be eligible to receive any
amount payable after the effective date of termination, except any amount or expenses
accrued prior to the effective date of termination shall be paid to Alongi for services
rendered to the Coalition prior to the effective date of termination.

7.     This contract constitutes the entire Agreement between the parties and contains all
the Agreements between them with respect to the subject matter hereof. It also supersedes
any and all other agreements or contract, either oral or written, between the parties with
respect to the subject matter hereof.

8.      Except as otherwise specifically provided, the terms and conditions of this
contract may be amended at any time by mutual agreement of the parties, provided that
before any amendment shall be valid or effective it shall have been reduced to writing
and signed by the parties to this Agreement.




                                                                                             App.219
                                                                                    IUOE4 FED 8857
  Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 225 of 254




S.       The invalidity or unenforceability of any particular provision of this Agreement
shall not affect its other provisions, and this Agreement shall be construed in all respects
as if such invalid or unenforceable provision has been omitted.

10.     This Agreement shall be construed and enforced under an in accordance with the
laws of the Commonwealth of Massachusetts.

11.     This Agreement shall be binding upon the parties hereto and their heirs,
successors and assigns.

        IN WITNESS WHREQF the Coalition and Alongi have hereunto set their hands
and seals to this instrument in duplicate on the day and year first above written.


MASSACHUSETAS          COALITION OF TAFT-HARTLEY FUNDS, INC.




                                                                                           App.220
                                                                                     IUOE4 FED 8858
   Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 226 of 254




                                     AGREEMENT

                               EXECUTIVE DIRECTOR

 MASSACHUSETTS COALITION OF TAFT-HARTLEY TRUST FUNDS, INC,


       AGREEMENT made this 1* day of October, 2012, by and between the
Massachusetts Coalition of Taft-Hartley Trust Funds, Inc. (the “Coalition™) and Gina M.
Alongi (“Alongi™).

        In consideration of the mutual covenants herein contained, the Coalition does
hereby retain Alongi, and Alongi agrees to provide services to the Coalition upon the
following terms and conditions:

LW      Alongi is hereby engaged to provide consulting services to the Coalition. Alongi
shall perform these services as an independent contractor and Alongi shall be paid by the
Coalition as an independent contractor. In said capacity, Alongi shall perform the
following services:

       a.      Prepare an agenda of the meetings of the Executive Board and Regular
               Meeting;

       b.      Advise the members of the Coalition of legislation, events and issues of
               importance to them;

       d.      To educate legislative and executive federal and state governments on
               matters of importance to the Coalition members;

       e       Arrange for the schedule speakers to discuss topics of interest to Coalition
               members;

       f.      Represent the Coalition on all matters requested by the Executive Board;

       'g.     Maintain the records of the Coalition;

       h.      File required reports with regulatory agencies;

       i.      To develop and propose better methods of providing and paying for health
               care, including investigation of possible arrangements with providers and
               other groups with a view to negotiating favorable rates for the Coalition
               members for such provider services or insurance and evaluate and develop
               the same for defined benefit and defined contribution plans.



                                                                                          App.221
                                                                                    IUOE4 FED 8859
     Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 227 of 254




And to perform such other reasonable services as may be requested by the President or
Executive Board from time to time.

2        Alongi shall perform the services contemplated to be performed by the
Agreement during the duration of the Agreement. This Agreement between the parties
shall terminate on September 30, 2015 unless renewed by mutual agreement between the
parties.

3.      During the term of this Agreement, Alongi shall devote so much of her time, skill
and attention to providing the services required by this Aggement as may} 7 necessary to
p erform properly
          properly   such services.                   pyA Tart                     4 200%
4.      During the term of this Agreement, the Coalition shall pay Alongi for such            Heo & 12
services, effective October 1, 2012, $30,000.00thru September 30, 2014. Any increase
for the remainder of the agreement beginning October 1, 2014 will be reviewed by the
Executive Board.

 Such payment shall constitute the sole and exclusive amount payable by the Coalition to
Alongi for such consulting services.

5       The Coalition shall also reimburse Alongi for all reasonable and necessary
expenses incurred in the performance of her services with approval and upon submission
of approved documentation and receipts.

6.      The Coalition shall have the right with or without cause to terminate this
Agreement prior to September 30, 2015 by giving written notice to Alongi at least thirty
(30) days in advance of the termination date. Alongi shall have the right, with or without
cause, to terminate this Agreement prior to September 30, 2015 by giving written notice
to the Coalition at least thirty (30) days in advance of the termination date. In the event
this Agreement is terminated by either party, Alongi shall not be eligible to receive any
amount payable after the effective date of termination, except any amount or expenses
accrued prior to the effective date of termination shall be paid to Alongi for services
rendered to the Coalition prior to the effective date of termination.

1.      This contract constitutes the entire Agreement between the parties and contains all
the Agreements between them with respect to the subject matter hereof. It also supersedes
any and all other agreements or contract, either oral or written, between the parties with
respect to the subject matter hereof.

8.      Except as otherwise specifically provided, the terms and conditions of this
contract may be amended at any time by mutual agreement of the parties, provided that
before any amendment shall be valid or effective it shall have been reduced to writing
and signed by the parties to this Agreement.




                                                                                           App.222
                                                                                     IUOE4 FED 8860
   Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 228 of 254




9.       The invalidity or unenforceability of any particular provision of this Agreement
shall not affect its other provisions, and this Agreement shall be construed in all respects
as if such invalid or unenforceable provision has been omitted.

10.     This Agreement shall be construed and enforced under an in accordance with the
laws of the Commonwealth of Massachusetts.

11.     This Agreement shall be binding upon the parties hereto and their heirs,
successors and assigns.

        IN WITNESS WHREOF the Coalition and Alongi have hereunto set their hands
and seals to this instrument in duplicate on the day and year first above written.


MASSACHUSETTS COALITION OF TAFT-HARTLEY FUNDS, INC.




       Treasurer



GINA M. ALONGI
                  >
              -                                 adi       .        4




        gre           -   5   2   ii   ws   5         =       ht




                                                                                               App.223
                                                                                      IUOE4 FED 8861
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October 3,2012

Executive Board voted to increase Executive Director Alongi’s compensation from $25,000 to
$30,000/yr for the next two years. The third year will be discussed at a later date.

October 1, 2012 — September 30, 2012       $30,000/yr or $2,500/month
October 1, 2013 — September 30, 2014       $30,000/yr or $2,500/month
October 1, 2014 — September 30, 2015       compensation TBD

Retro increases to be completed:

October 1, 2012 payment done 8/1/12 at $2,083.34 — Retro increase of $416.66 done 10/5/12

November 1, 2012 payment done 9/4/12 at $2,083.34 — Retro increase of $416.66 done 10/31/12

December 1, 2012 payment done 10/1/12 at $2,083.34 — Retro increase of $416.66 done 10/31/12




                                                                                            App.224
                                                                                     IUOE4 FED 8862
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                          Exhibit 20




                                                               App.225
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                 Massachusetts Coalition
                 Massachusetts            of Taft-Hartley
                                Coalition of                    Funds
                                                          Trust Funds
                                             Taft-Hartley Trust
                                   Schedule of
                             2017 Schedule
                             2017               Meetings
                                             of Meetings


Regular Member Meetings
ay.      Day                Tem
                              Date      TT       me
                                                Time       1         TocdioniBund
                                                                     Location / Fund            |
     Wednesday            January 11, 2017     10:00 AM           lUOE Local 4: Medway
     Wednesday            March 8, 2017        10:00 AM         NE Carpenters: Wilmington
       Monday                  12, 2017
                          June 12,2017
                          June                 11:00 AM
                                               11:00 AM           Wequassett:      Chatham
                                                                  Wequassett: Chatham
     Wednesday
     Wednesday         September       2017
                                   20, 2017
                       September 20,           10:00  AM
                                               [10:00 AM        Teamsters           Worcester
                                                                            170: Worcester
                                                                Teamsters 170:
     Wednesday          November 8,
                        November      2017 |
                                   8, 2017     10:00 AM
                                               10:00 AM           IUOE
                                                                  lUOE  Local
                                                                        Local   4:
                                                                                4:  Medway
                                                                                    Medway



aDay y Bee
       Date                                      Time
                                                 Time                    Location
     Wednesday             March 8, 2017       1:00 PM          NE Carpenters: Wilmington
     Wednesday           August 23, 2017       11:30 AM          Venezia: Dorchester, MA
     Wednesday                       2017
                        November8,8, 2017
                        November               11:30 AM           lUOE Local 4:
                                                                  IUOE Local    Medway
                                                                             4: Medway

Associate / Regular Member Meetings
TW Day              TEE        Date          me
                                        TL Time                         kdedten
                                                                         Location
       Tuesday            June 13, 2017   12:30 PM
                                          12:30 PM             Wequassett: Chatham, MA
      Wednesday           June 14, 2017    7-9 AM              Wequassett (Breakfast Only)
      Wednesday         December 6, 2017 12:00 PM              Cafe Escadrille: Burlington, MA



                 View up-to-date
                 View            info on
                      up-to-date info    our website:
                                      on our          www.macoalthtf.org
                                             website: www.macoalthtf.org




                                                                         EXHIBIT 11
                                                                         EXHIBIT

                                                                          ALONGI
                                                                          ALONGI
                                                                                   BG
                                                                        06/22/2022 BG
                                                                        06/22/2022




                                                                                            App.226
                                                                                  IUOE4 FED
                                                                                  IU0E4     $2122022
                                                                                        FED %t22022
      Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 232 of 254
                 Massachusetts Coalition of Taft-Hartley Trust Funds
                             2018 Schedule of Meetings


Regular Member Meetings
tw                            mT                 we       l   TocetonTRung        |
                           January10, 2018



Executive Board Meetings
HERE                   aR              ee        eT       CR       TT




Misc. Meetings
by.                    hag                   1   Time}          tecaton      TN
Wellness Event Subcommittee            |           [|          |




[Pension Reform __ |__|                               |             [|




                                                                               App.227
                                                                        IUOE4 FED $@13022
      Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 233 of 254
                 Massachusetts Coalition of Taft-Hartley Trust Funds
                           2019 SCHEDULE OF MEETINGS


Regular Member Meetings
er         yg      ro                       | Te          1         Tocaten/Fund |__|


                       September 18, 2019

Executive Board Meetings




                       November 12, 2019
Associate / Regular Member   Meeting
     es
   TET
Thym   iocdton

                                             12:00 PM

Misc. Meetings
[by               rm                        Thwmel                 Location
Thursday                    [12:00P
                 | April25,2019
                                                     =<




                       November12, 2019      [11:00 AM] Burlin            MA___|
                                                         MA Laborers: gton,
                                                              Lombardo's: Randolph, MA/Legal
Wednesda                    April 3, 2019    11:30   AM            Seafood, Braintree, MA
Wednesday                  August 7, 2019    11:30   AM        Legal Seafood: Braintree, MA
                                             10:00   AM               Conference Call
                                             10:00   AM               Conference Call




                                                                                         App.228
                                                                                IUOE4 FED $@142022
     Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 234 of 254
                Massachusetts Coalition of Taft-Hartley Trust Funds
                          2020 SCHEDULE OF MEETINGS


Regular Member Meetings
Bey               I         Pes           UF Wime |          ToconiBung            |



                       November 4, 2020
Executive Board Meetings
Ba           RR       as                   NR           RE            Ee         a



Associate / Regular Member Networking Events
Ba           agi       ms        EER EE            ERIE          Te
                        June9, 2020                            CANCELLED




                                                                              App.229
                                                                      IUOE4 FED 5015
Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 235 of 254




                          Exhibit 21




                                                               App.230
                 Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 236 of 254


                                                                                                   EXHIBIT 181

                                                                                                     ALONGI
From:                      Laura-Jean Hickey <LHickey@local4funds.org >                              07/14/2022 BG
Sent:                      Thursday, January 30, 2020 3:34 PM
To:                        Gina Alongi
Subject:                   FW: Mass. Coalition Labor Health & Financial Wellness Fair Committee Call


MassMutual = Silver Sponsor!!!

From: Carmignani, Joseph <jcarmignani@massmutual.com>
Sent: Thursday, January 30, 2020 3:33 PM
To: Laura-Jean Hickey <Ihickey@macoalthtf.org>
Subject: RE: Mass. Coalition Labor Health & Financial Wellness Fair Committee Call



Warning: External Sender

Hi Laura-Jean,

As of right now I'm open between 11 AM-1 PM and 1 :30-3PM on Tuesday, 2/4.

                                                                                       °
AIso, Mas$Mutual will be contributing $10,000 towards the event on March 22n (Silver Sponsor).

Please let me know if you have any questions.

Thanks,

Joe

Joseph C. Carmignani
Head of Mid & Institutional Relationship Management, Taft-Hartley and Government
Client Management I Workplace Solutions

T: (413) 744-0315
C: (508) 440-9978


MassMutual
100 Bright Meadow Blvd     I   MIP M354   I   Enfield, CT 06082

MossMutuol.com I RetireSmart I Facebook I Twitter I Linkedln




From: Laura-Jean Hickey <lhickey@macoalthtf.org>
Sent: Thursday, January 30, 2020 2:43 PM
To: Laura-Jean Hickey <lhickey@macoalthtf.org>
Subject: [EXTERNAL]Mass. Coalition Labor Health & Financial Wellness Fair Committee Call                    App.231
                                                                  1
                                                                                                      IUOE4 FED 8231
              Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 237 of 254



Good Afternoon,

Gina and I have a lot to update everyone on regarding the March 22nd Fair. We have been very busy with
securing sponsorship, lining up exhibitors and getting the word out. I've attached the updated poster that
6 l 7MediaGroup has prepared for the event.

I will be meeting with our Diamond Sponsor - Blue Cross Blue Shield of Massachusetts - along with the Red
Cross and Carol Blanchard (Teamsters 25) at Lombardo's for a walk-though on Monday afternoon. Later today
I will also be sending out a message to those that have not yet responded with respect to their intentions to
support the fair.

We would like to have a conference call on Tuesday, February 4th to bring everyone up to speed and to discuss
where we need assistance. Please let me know if any of these times on Tuesday, February 4th work for your
schedule. I will confirm a call with a calendar invite based upon availability. Thank you in advance for your
help!

10am
10:30am
11am
11 :30am
12pm
12:30pm
1pm
1 :30pm
2pm
2:30pm
3pm
3:30pm

Thank you so very much!
Laura-Jean



Laura-Jean Hickey
Coalition Coordinator
Massachusetts Coalition of Taft-Hartley Trust Funds, Inc.         I   P.O. Box 680   I   Medway, MA 02053-0680
Phn: 508.533.1400 x116 I Fax: 508.533.1425
lhickey@macoalthtf.org
Visit us: http://www.rnacoalthtf.org




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                                                                                                             App.232
                                                              2
                                                                                                      IUOE4 FED 8232
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                                                                                                     App.233
                                                        3
                                                                                             IUOE4 FED 8233
                    Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 239 of 254
  Message
  From:           Gina Alongi [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=223FA34EA3164842A1CC55A2AAC89790-GINA ALONGI]
  Sent:           1/7/2020 7:30:36 PM
  To:             Clark, Lynn [Lynn.Clark@bcbsma.com]; Laura-Jean Hickey [/o=ExchangeLabs/ou=Exchange Administrative Group
                  (FYDIBOHF23SPDLT)/cn=Recipients/cn=7e79e0a81ab44203a2e69e5177a75cc7-Laura-Jean]
  CC:             Conte, Maureen [Maureen.Conte@bcbsma.com]
  Subject:        RE: Mass Labor Coalition Event - planning discussion


  Lynn,

  Happy New Year!

  We're available Thursday or Friday of this week. Do you have a specific time that works?

  Thank you,
  Gina


  From: Clark, Lynn <Lynn.Clark@bcbsma.com>
  Sent: Tuesday, January 7, 2020 2:23 PM
  To: Gina Alongi <GAIongi@local4funds.org>; Laura-Jean Hickey <LHickey@local4funds.org>
  Cc: Conte, Maureen <Maureen.Conte@bcbsma.com>
  Subject: Mass Labor Coalition Event - planning discussion


  Warning;      External Sender
  Hi Gina and Laura-Jean

  Happy New Year!

  I work in the Health Engagement department of Blue Cross Blue Shield of Massachusetts and have been participating on
  committee calls for planning the Labor Coalition Event. Maureen and I were hoping to find a time later this week that we
  could talk through some of the logistics of the event, ideas we have and sponsorship. Would you be able to provide
  some times that you are free?

  Thank you and we look forward to talking with you.
  Lynn



  Lynn Clark, M.S. [Manager, Health Engagement] Blue Cross Blue Shield of AAA
  101 Huntington Avenue j Suite 1300 j Mail Stop 01/10 j Boston, AAA 02199
  phone 617-246-48651 fax 617-246-4486 j email: lvnn.clark@bcbsma.com


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                                                                                                                             App.234



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  Message

  From:          Gina Alongi [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=223FA34EA3164842A1CC55A2AAC89790-GINA ALONGI]
  Sent:          10/18/2016 3:32:17 PM
  To:            Heather Gasser [hgasser@swiftmd.com]
  Subject:       RE: MA Coalition of Taft-Hartley Trust Funds



  Talk soon.


  From: Heather Gasser [mailto:hgasser@swiftmd.com]
  Sent: Tuesday, October 18, 2016 11:30 AM
  To: Gina Alongi <GAIongi@local4funds.org>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  Absolutely! We will call you at 2:30 on the number provided.

  Thank you so much for your flexibility - it is much appreciated!

  Heather L. Gasser, Sales Consultant
  Connect with me on Linkedin




                         smnMD
  801 Springdale Drive
  Exton, PA 19341
  484.875.3085 (Office)
  610.283.1681 (Mobile)
  hgasser@swiftmd.com
  www.swiftmd.com

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  875-3085.



  From: Gina Alongi [mailto:GAIongi@local4funds.org]
  Sent: Tuesday, October 18, 2016 11:27 AM
  To: Heather Gasser <hgasser@swiftmd.com>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  Heather,

  No problem. Can you talk tomorrow at 2:30?

                                                                                                                    App.235



CONFIDENTIAL                                                                                                                FUNDS012832
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  From: Heather Gasser [mailto:hgasser@swiftmd.com]
  Sent: Tuesday, October 18, 2016 9:17 AM
  To: Gina Alongi <GAIongi@local4funds.org>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  Gina,

  I am so sorry to ask this but is there any way we can re-schedule for another day this week? I am unexpectedly out of
  the office today! I sincerely apologize.

  We can do tomorrow between 9 and 10:30 or from 2:30 to 5. Or any time Thursday or Friday at this point.

  Heather L. Gasser, Sales Consultant
  Connect with me on Linkedin




                         smnMD
  801 Springdale Drive
  Exton, PA 19341
  484.875.3085 (Office)
  610.283.1681 (Mobile)
  hgasser@swiftmd.com
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  From: Gina Alongi [mailto:GAIongi@local4funds.org]
  Sent: Monday, October 17, 2016 3:58 PM
  To: Heather Gasser <hgasser@swiftmd.com>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  1-508-533-1400 Xlll


  From: Heather Gasser [mailto:hgasser@swiftmd.com]
  Sent: Monday, October 17, 2016 3:51 PM
  To: Gina Alongi <GAIongi@local4funds.org>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  Great! Thank you! What is best number to call you?

  Heather L. Gasser, Sales Consultant
  Connect with me on Linkedin
                                                                                                                    App.236



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                         smnMD
  801 Springdale Drive
  Exton, PA 19341
  484.875.3085 (Office)
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  hgasser@swiftmd.com
  www.swiftmd.com

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  From: Gina Alongi [mailto:GAIongi@local4funds.org]
  5ent: Monday, October 17, 2016 3:47 PM
  To: Heather Gasser <hgasser@swiftmd.com>
  5ubject: RE: MA Coalition of Taft-Hartley Trust Funds

  Sure.


  From: Heather Gasser [mailto:hgasser@swiftmd.com]
  5ent: Monday, October 17, 2016 3:40 PM
  To: Gina Alongi <GAIongi@local4funds.org>
  5ubject: RE: MA Coalition of Taft-Hartley Trust Funds

  Any chance we can do a 12:00? I have an 11:00 and I am afraid it won't end in 30 minutes.

  Heather L. Gasser, 5ales Consultant
  Connect with me on Linkedin




                         smnMD
  801 5pringdale Drive
  Exton, PA 19341
  484.875.3085 (Office)
  610.283.1681 (Mobile)
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  www.swiftmd.com

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  875-3085.



  From: Gina Alongi [mailto:GAIongi(S)local4funds.org]
  Sent: Monday, October 17, 2016 2:59 PM
  To: Heather Gasser <hgasser@swiftmd.com>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  Does 11:30 work?


  From: Heather Gasser [mailto:hgasser@swiftmd.com]
  Sent: Monday, October 17, 2016 2:56 PM
  To: Gina Alongi <GAIongi@local4funds.org>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  Hi, Gina. I definitely have some flexibility tomorrow. What time is good for you?

  Heather L. Gasser, Sales Consultant
  Connect with me on Linkedin




                         smnm
  801 Springdale Drive
  Exton, PA 19341
  484.875.3085 (Office)
  610.283.1681 (Mobile)
  hgasser@swiftmd.com
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  From: Gina Alongi [mailto:GAIongi@local4funds.org]
  Sent: Monday, October 17, 2016 2:52 PM
  To: Heather Gasser <hgasser@swiftmd.com>
  Subject: RE: MA Coalition of Taft-Hartley Trust Funds

  Heather,

  Are you available to talk tomorrow?

  Gina                                                                                                               App.238



CONFIDENTIAL                                                                                                                 FUNDS012835
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  From: Heather Gasser [mailto:hgasser@swiftmd.com]
  Sent: Friday, October 14, 2016 1:57 PM
  To: Gina Alongi <GAIongi@local4funds.org>
  Subject: MA Coalition of Taft-Hartley Trust Funds

  Gina,

  Hope this finds you well!


  I wanted to know if you and I could set up a time to talk about your role on the Executive Board of the
  Massachusetts Coalition of Taft-Hartley Trust Funds. I know that lUEO Local 4 has tele-medicine but I would
  love an opportunity to learn more about the group and where SwiftMD can fit in.

  I am making wonderful strides with the Taft-Hartley market and would love to tell you about it!

  I look forward to hearing from you!

  Heather

  Heather L. Gasser, Sales Consultant
  Connect with me on Linkedin




                         SWIFTMD
  801 Springdale Drive
  Exton, PA 19341
  484.875.3085 (Office)
  610.283.1681 (Mobile)
  hgasser@swiftmd.com
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                                                                                                     App.240



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                  Case 1:21-cv-10163-FDS Document 54 Filed 11/07/22 Page 246 of 254
  Message


  From:         Gina Alongi [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=223FA34EA3164842A1CC55A2AAC89790-GINA ALONGI]
  Sent:         11/1/2016 6:27:18 PM
  To:           Charles Gustafson [cgustafson@bestdoctors.com]
  Subject:      RE: Best Doctors / Mass Coalition



  I thought we were talking on the phone?


  From: Charles Gustafson [mailto:cgustafson@bestdoctors.com]
  Sent: Tuesday, November 01, 2016 2:26 PM
  To: Gina Alongi <GAIongi@local4funds.org>
  Cc: Laura-Jean Hickey <LHickey@local4funds.org>
  Subject: RE: Best Doctors / Mass Coalition

  Excellent. I will see you then. Thanks, Charlie

  Charles Gustafson | Vice President, Business Development


  Best Doctors
  M: 860-983-5025 j 60 State Street, Suite 600, Boston, MA 02109
  www.BestDoctors.com


  From: Gina Alongi rmailto:GAIonqi(ailocal4funds.orq1
  Sent: Tuesday, November 01, 2016 2:14 PM
  To: Charles Gustafson
  Cc: Laura-Jean Hickey
  Subject: RE: Best Doctors / Mass Coalition

  The lO^'^ at 11:00 works for me.

  Gina


  From: Charles Gustafson [mailto:cgustafson@bestdoctors.com]
  Sent: Monday, October 31, 2016 4:00 PM
  To: Gina Alongi <GAIongi@local4funds.org>
  Cc: Laura-Jean Hickey <LHickev@local4funds.org>
  Subject: RE: Best Doctors / Mass Coalition

  Gina, great. 11/9, 10 or 11 will work great. Say 11:00 am on any of those days? Thanks, Charlie

  Charles Gustafson | Vice President, Business Development


  Best Doctors
  M: 860-983-5025 j 60 State Street, Suite 600, Boston, MA 02109
  www.BestDoctors.com


  From: Gina Alongi rmailto:GAIonqi(ailocal4funds.orq1
  Sent: Monday, October 31, 2016 1:56 PM
  To: Charles Gustafson
  Cc: Laura-Jean Hickey                                                                             App.241
  Subject: RE: Best Doctors / Mass Coalition



CONFIDENTIAL                                                                                            FUNDS013695
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  Charles,

  Thank you for the email.

  Please send me some dates that you're available to talk over the next few weeks.



  Thank you,
  Gina




  From: Charles Gustafson [mailto:cgustafson(S)bestdoctors.com]
  Sent: Monday, October 24, 2016 1:55 PM
  To: galongi(S)macoalthtf.org
  Subject: Best Doctors

  Gina, hope all is well. It has been a while since I touched base. As you know we are now an endorsed vendor of the
  National Labor Alliance and have negotiated fees and a defined product set that you and your Funds, I believe, will find
  of interest. Also, for members with a Cancer diagnosis we now have an exclusive arrangement with IBM Watson for their
  Oncology Tools (Watson Oncology Advisor, Watson Clinical Trials and Watson Genomics). Because we are an eco-system
  partner I was thinking that you and the major Funds of the Mass.Coaltion might find it interesting to take a tour of the
  Watson Flealth headquarters in Cambridge, Ma. We can take groups of 10-15 at a time. It is fascinating to see how this
  Artificial Intelligence/Cognitive Technology will change health care delivery and costs.

  In any event, love to get together in the coming weeks and talk in more detail about the changes here at Best Doctors. I
  recognize that coverage for Local 4 members has or is about to lapse and it would be helpful to get your feedback.

  Thanks again and please let me know about getting together. I can be reached at (860) 983-5025 (or e-mail is fine as
  well) when you get chance. Thanks, Charlie

  Charles Gustafson | Vice President, Business Development


  Best Doctors
  M: 860-983-5025 160 State Street, Suite 600, Boston, MA 02109
  www.BestDoctors.com


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  Message
  From:           Gina Alongi [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                   (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=223FA34EA3164842A1CC55A2AAC89790-GINA ALONGI]
  Sent:           11/30/2018 7:43:27 PM
  To:             Barilotti, Joe [barilotti@chartwellip.com]
  Subject:        RE: Next week



  Joe,

  Hope you are well and had a wonderful Thanksgiving also.

  Does 12:30 on Tuesday work for you?

  Gina




  Gina M. Alongi
  Administrator
  Local 4 Benefit Funds
  16 Trotter Drive
  Medway, MA 02053
  Tel: (508) 533-1400 ext.lll
  www.local4funds.org


  From: Barilotti, Joe <barilotti@chartwellip.com>
  Sent: Friday, November 30, 2018 10:28 AM
  To: Gina Alongi <GAIongi@local4funds.org>
  Subject: Next week

  Hi Gina,

  I hope you are well, and had a great Thanksgiving. I'm looking forward to seeing everyone at the Coalition Holiday party
  next week. I am coming up to Boston on Tuesday, and was hoping I could stop by and say hello if you're available. Are
  you around on Tuesday afternoon, for a few minutes?

  Best regards,

  Joe Barilotti




                                    Joseph A. Barilotti, Jr.
  CHARTWELL Jaf ClientPresident
                       Services & Marketing
         iNVT;srMi;Nr p.\riivi;rs
                                    1205 WMtIakes Drlv« | Svke lOD
                                    Berwyn. PA 19J1Z
                                    T: 610-407-rtBZ2
                                    F; 610-296-1430
                                    C: 610-247-3900
                                    £; bflriieiUi [ieh^rtweilifi.eisiiri




                                                                                                        App.243



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                                                                                                  App.244



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  Message
  From:          Gina Alongi [/0=FIRST ORGANIZATION/OU=FIRST ADMINISTRATIVE GROUP/CN=RECIPIENTS/CN=GALONGI]
  Sent:          6/15/2016 3:20:16 PM
  To:            Adam Ain [adam@iorahealth.com]
  Subject:       RE: Next steps from Wednesday's meeting



  Adam,

  Sounds good.

  Thank you,
  Gina

  From: Adam Ain [mailto:adam@iorahealth.com]
  Sent: Wednesday, June 15, 2016 12:07 AM
  To: Gina Alongi <GAIongi@local4funds.org>
  Subject: Re: Next steps from Wednesday's meeting


  Hi Gina,

  Great. I just sent an invite for Monday, June 27 from 2-3 pm.

  Based on our emails, it seems like the agenda is;
  1) Hear Taft Hartley Fund's current thinking around healthcare for pensioners
  2) Share lora care / recruitment approach to Carpenters pensioners

  Please let me know if there are additional items you'd like to cover.

  Looking forward to talking,

  Adam




  Adam Ain    Northeast Market Operations Director for lora Health
  p. 617.651.2120 adam@iorahealth.com www.iorahealth.com

  On Tue, Jun 14, 2016 at 1:52 PM, Gina Alongi <GAlongi@local4funds.org> wrote;
   Adam,


   The 27^'' or the 30^'' works for me.



   Gina


   From: Adam Ain [mailto:adam@iorahealth.com]
   Sent: Tuesday, June 14, 2016 8:49 AM


   To: Gina Alongi <GAlongi@local4funds.org>
                                                                                                   App.245
   Subject: Re; Next steps from Wednesday's meeting



CONFIDENTIAL                                                                                              FUNDS015383
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   Hi Gina,


   Do any of the following times work for a call? I may make the trip out to Medway, but Jeff will not;


   24th between 10-1 lam or 2-3pm
   27th; 2-3pm
   28th; 9-10am
   29th; the morning is opened
   30th; 10am-12pm


   Thanks,


   Adam




   Adam Ain    Northeast Market Operations Director for lora Health
   p. 617.651.2120   adam@iorahealth.com    www.iorahealth.com



   On Fri, Jun 10, 2016 at 11;33 AM, Adam Ain <adam@iorahealth.com> wrote;
    Oh wow, Gina. I'm so sorry to hear that. Is it feeling any better now? I had a pinched nerve back in high
    school but it only periodically pinched. That would be so painful if it was constant


    I'll talk w Jeff and share our availability for later this month. Should we plan to come to Medway for an in
    person meeting or are you ever closer to Boston? An initial call may also make sense


    I'll get back to you. Best,


    Adam

    Sent from my iPhone

    On Jun 9, 2016, at 12;32 PM, Gina Alongi <GAlongi@local4funds.org> wrote;

    Adam,


    I'm sorry for not responding to your email. I pinched a nerve in my neck two weeks ago and have been in agony ever
    since. I'm just returning back to the office.


    What does your schedule look like towards the end of the month.                                  App.246



CONFIDENTIAL                                                                                                FUNDS015384
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    Thank you,
    Gina


    From: Adam Ain [mailto:adam@iorahealth.com]
    Sent: Monday, May 30, 2016 7:52 PM
    To: Gina Alongi <GAIongi@local4funds.org>
    Subject: Re: Next steps from Wednesday's meeting



    Hi Gina,


    I hope you've had a nice long weekend.


    Do you have any availability on Wednesday, 6/8 in the morning? I need to be in the city by 1 pm, but Jeff and
    I are available to come out to Medway before then.


    Alternatively, do you have any days you already have planned to be in the Boston or Wilmington areas?


    Thanks,


    Adam




    Adam Ain • Northeast Market Operations Director for lora Health
    p. 617.651.2120   adam@iorahealth.com    www.iorahealth.com



    On Tue, May 24, 2016 at 4:35 PM, Gina Alongi <GAlongi@local4funds.org> wrote;
     Hi Adam,


     Definitely lets schedule a day to re-open the conversation. Over the past several months we have been doing our
     due diligence with respect to interviewing other firms. I'm not sure we made any progress.


     When are you and Jeff available?


     Thank you,
     Gina


     From: Adam Ain [mailto:adam@iorahealth.com1
     Sent: Monday, May 23, 2016 3:01 PM
                                                                                                     App.247



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     To: Gina Alongi <GAIongi@local4funds.org>
     Cc: Jeff Werner <iwerner(S)carpentersfund.org>; Duncan Reece <duncan(S)iorahealth.com>
     Subject: Re: Next steps from Wednesday's meeting



     Hi Gina,


     I hope all is well with you and that you're enjoying the warmer weather.


     I wanted to follow-up after our conversation with the Taft Hartley coalition back in January. As a refresher, I
     think we all left that meeting with a shared interest in exploring how our new lora practices could benefit the
     coalition's retired constituents. However, there was an interest in seeing how it works with the Carpenters
     pensioners first.


     Jeff and I thought now might be a good time to re-open the conversation. Since that meeting, we have widely
     disseminated information about the practices, hosted some open houses, enrolled some members, and
     explored ways to use lora to help support members as they age out of Fund benefits.


     Jeff and I thought a good next step might be to set up a meeting with the three of us to discuss what we did in
     more details and to hear what's currently of interest to the coalition. Does that make sense to you, Gina? If
     so, when in the next few weeks would work for you to talk?


     Best,


     Adam




     Adam Ain    Northeast Market Operations Director for lora Health
     p. 617.651.2120   adam@iorahealth.com   www.iorahealth.com



     On Thu, Jan 21, 2016 at 5:29 PM, Adam Ain <adam@iorahealth.com> wrote;
      Hi Gina,


      Thank you again for inviting us to attend Wednesday's coalition meeting. Our impression was it was a good
      meeting overall and people were fairly engaged in the process and intrigued by the idea of communicating
      this new opportunity to their members.


      The clearest next step we tracked was for us to share the communication materials we're creating with Jeff
      this week and next for the Carpenters population to see if people would be interested in doing something
      similar as a coalition. Do you think it makes sense to set up another call with you in ~2 weeks once that
      work is final and continue from there? Would love to hear your thoughts.
                                                                                                   App.248



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      Thanks,


      Adam




      Adam Ain   Northeast Market Operations Director for lora Health
      p. 617.651.2120   adam@iorahealth.com   www.iorahealth.com



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